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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



EL PUENTE, et al.,

              Plaintiffs,                 Case No.: 1:22-cv-02430-CJN

       v.

U.S. ARMY CORPS OF ENGINEERS, et al.,
              Defendants.




                  JOINT APPENDIX IN SUPPORT OF PARTIES’
            MOTIONS AND CROSS-MOTIONS FOR SUMMARY JUDGMENT

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Dated: May 5, 2023                        Respectfully submitted,

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2.1 Project Location

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2.2 Authority and Purpose

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“WATER RESOURCES SURVEY RESOLUTIONS APPROVED BY THE COMMITTEE ON
TRANSPORTATION AND INFRASTRUCTURE Mr. Fortuno: San Juan Harbor, PR, Docket
number: 2764, Date filed: February
23, 2006 (navigation project). September 20, 2006. Resolution adopted by the Committee on
Transportation and Infrastructure.”

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3.1 Quantity of Dredged Materials

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3.2 Sediment Characteristics

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3.3 Description of the Proposed Discharge Site

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3.4 Description of the Placement Method




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3.5 Anticipated Schedule

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4.1 Physical Substrate Determinations

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   ?       ?        ?                    ?
 >

? N         ?       ?  /  / ?
    ?      >     /   ? X`      N 

                                              X

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   ?       ?  > ?       ?   N 
N           >  ? ?  ?  N ?  
\           ?    ? / / N /
L  /   ?  > ?       / N /   ?
          ?      /    {  }``X|>
  ?      ?   \     ?     #  
   ?    ~  ?     ? {~  W }`__| ?  
\   ?  ? /    ??  / >   
  N /        ?     N   ? L 
/    >   L  N /            {
 ?  `>}_Q`>Z| N  > ?         
               ?  `>}_Q`>Z N 
 >

?         ?             ?
              }>_        { 
   /|>   ?     /     ?   ?   
     > N/  /   ?     
    > ?         ?   ?    
 ? \ # Y #      ^    ? N  ?     
* > ?   ? / L     ?         ?
   ? \ # Y #      ^  [ }` }``X>

\ }  ;  >

 ??    ? /     ?  ? #  ?   ?
    N     ? L  ~ [ >      ? ~ [  
 N       N   /  ?  /     
/ N ? ? ~ [     {# }`__|> ?   
     /     ?    ?  N   
    N ? ? ?     /         ?
 /   ?   > [      ?   
  ^      N N /            
    ?  `>}_Q`>Z ? / > ? \ # Y __WX ^
 / ?       >

4.1.3.1 Physical Effects on Benthos

   N    ? N ? ?      ?   /  ?
   /> N/ ?      ^    
  N         Y ?    > ]?
  /  ?   Y   ?  N ?    ?  
  {>> N    >| ? /  ?      ? /  ?  N
/ / ?     ?  ? /     > [   
   /      ?    ? > ?  ?           ?
~ [           N    ?      

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 ?          / > N/ ?    
  Y   ^    ?   L     ?  >

4.1.3.2 Physical Effects on Water Column Species

]    N ?    / ?      
     N    ?       
         > ?    ? ?  
   /       / ?    >

4.1.3.3 Actions Taken to Minimize Impacts

   /       ?     N ? /  L `>}_Q`>Z
   N  > = ? ~ [       N   
   N ?         ? N        
  Y           > ~/   ?     
   / N ?      /            
 ?              N          ?  
   ? /  ?  >              N 
   ?                 
/ {   ?   >|   ?  ?     ?   
 ?  ?          /> <    ? ? 
N     L    >

<   | ;  |        }

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         ?  ?     >

5.1 Water

^      /  N      N ?
N  ?     N      > <   N ? ?    
[     N  ?   /N N        ? 
     ?    > ? N  ?      N ? ?
   ? ? ^    N ? ?     ?   
   [              }`_>

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  ?     ?     ~      >    ?  
         /  ??>

<  Z =[ ? %



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?   / ^          ? N    
?N     ?   N   > ?   /  N  
    ? N   N ? ? N        > ~
  ?       ^  ? /       
L > *  ?          N ?    ? #
           /     N    
    ?      ~ [       
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]?  N     ?   ?       
         ?       > ? N    
   ?   ?     ~   N      N  
 >

5.2 Current Flow and Water Circulation

       ? ~ [         N     
 N  N     ?    ?    ?   ?  
  N ? ?    > N/ /   ? N   
N ?              ? ? N    ?   >

<       

        ?  ?    /   N 
              ?      >
? ?   ?      /  {`  |  N   
    > ?   /           N N ?
 ?     N   L N         
  ? / ?   ? >

< !    q

?   ?  N ? /     ? ?      
N   ? ^  >

< [  *> ;  

] ? ?  ?                    ?  
 ?   /      L >

5.3 Actions That Will Be Taken to Minimize Impacts

      N ? /  /  Y    N    
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6.1 Particulate/Turbidity Effects

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6.2 Actions taken to Minimize Impacts

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7.1 Effects of Ecosystems and Organisms

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7.2 Actions to Minimize Impacts

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8.1 Summary

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8.2 Determination of Compliance with Applicable Water Quality Standards

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8.3 Stormwater Runoff Determinations

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8.4 Potential Effects of Human Use Characteristic



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8.5 Determination of Cumulative Effects on the Aquatic Ecosystem

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8.6 Determination of Secondary Effects on the Aquatic Ecosystem




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9.1 Determinations

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9.2 Findings

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 Final Integrated  Report 
      Environmental Assessment


              APPENDIX 
       Pertinent Correspondence
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     *UFN                                                                                                                    1BHF/P

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                               DEPARTMENT OF THE ARMY
                          JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                    701 San Marco Boulevard
                               JACKSONVIL.LE, FLORIDA 32207·8115




. Planning Division                     OCT U I 2Dli
  Environmental Branch




To Whom it May Concern:

     This office is starting a Feasibility Study and Environmental Impact Statement
concerning navigational improvements to San Juan Harbor in San Juan, Puerto Rico.
One alternative is to widen the main channels by 50 feet and deepen them up to 50
feet. Lesser increments of widening and deepening would also be evaluated (see
enclosed figure) , The dredged material is expected to be suitable for placement in the
Ocean Dredged Material Disposal Site located a few rniles from the harbor entrance.
Some material may be suitable for placement in dredged holes and for other purposes.

    This letter initiates the seoping process for the Environmental Impact Statement.
The scoping process starts prior to preparation of the Environmental Impact Staternent
and is intended to aid in determining the scope of the analysis and significant issues.
This process is also intended to help identify alternatives and information needed to
evaluate alternatives.

     We welcome your views, comments and information about environmental and
cultural resources, study objectives and irnportant features within the desclibed study
area, as well as any suggested improvements. Letters of cornment or inquiry should be
addressed to the letterhead address to the attention of the Planning Division,
Environmental Branch and received by this office within 30 days of the date of this
letter.




                                                                        USACE_001129
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    Prior to a public scoping meeting, a Planning Charette with the sponsor and the
resource agencies will be held on November 4, 2015, in the Puerto Rico Convention
Center, 100 Convention Boulevard, San Juan, Puerto Rico at 9:00 am in Sal6n Las
Olas.

    A public scoping meeting will be held on November 5, 2015, in the Puerto Rico
Convention Center, 100 Convention Boulevard, San Juan , Puerto Rico at 9:00 am in
Room 101. Additional information is available on our Environmental Documents Web
Page at
<http://www.saj.usace.army.miVAbouVDivisionsOffices/PlanningIEnvironmentalBranchl
EnvironmentaIDocuments.aspX#SJH>.

    If you have any questions, contact Mr. Paul DeMarco at 904 232-1897 or at
paul.m.demarco@usace.army.mil.




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Enclosure




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                 Planning Division
                 Environmental Branch                     '1 orr   lOl5



                 A quien corresponda:


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                     Esta oficina se propone iniciar ... Esludio de VoabiIidad e Impacto         I       ,
                 mejoras a los canales de navegaci6n de Ia Bahia de San Juan. Una 8           . es Ia
                 de ensanchar los canales prioc!pales hasta 50 pies adicionales Y de Ilevar10s hasta-5It
                 pies de profundidad. Una ampfoaci6n menor _           ""'" evaluada, ver anejos. B
                 malerial d~ Be espera sea apropiado pam ser deposiIado en el "Silio Maritima de
                 Disposid6n de Material Dragado", a p _ pam este usa Y locaIizado a varias millas
                 de dislancia de la enbada de Ia bahla. Parte del material puede ser apropiado pata eI
                 dep6sito en cavidades de otros fondos acuaticos y otros usos.

                     Esta carta inicia el proceso de consulla pUblica, pJeVio a Ia preparaci6n del Esludio
                 de Impaclo Arnbiental y liene eI pr0p6silo de asistir en Ia delennlnaci6n del enfoque de
                 an3Iisis yasuntos significativos. Tambi6n es1e proceso 1iene Ia i-.ci6n de ayudar a
                 idenlificar altemativas e informaci6n necesaria pam au adecuada evaluaci6n.

                      Apreciamos sus comentarios, peropeclivas e informaci6n sabre recur80S
                 ambientales y culturales, objetivos de -.dio y delalles sobre eI area de -.dio
                 d_.       Tambkln sugerencias sobre oJras mejoras necesarias. Los comen1arios 0
                 petlciones deben ser enviadas 8 Ia dire0ci6n postal inpresa 81 timbre de esta carta, con
                 atenci6n a la Divisl6n de Planificaci6n de Ia Rama Arnbiental y deben ser !eclbidos
                 dentro de 30 dlas posteriores a Ia fecha de esta carta.




                                                               OCT 05 2015
                                                                          :r.lTADORA
                                                                      IIICACIONES




                                                                                           USACE_001132
 Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 36 of 285




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    La reuni6n de consulta publica sero~ el jueves, 5 de noviembre de 2015 en el Sal6n
101 del Centro de Conveneiones de Puerto Rico, 100 Convention Boulevard, San Juan,
Puerto Rico de 9:00 am a 12:00 pm.

    Puede aeceder infonnaci6n adicional en nuestra pagina web de Documentos
Ambientales en
<http://www.saj .usace.army.mil/AbouVOivisionsOfficeslPlanning/EnvironmentalBranchl
EnvironmentaIDocuments.aspX#SJH :>.

    Para cualquier otro detalle puede comunicarse con el Sr, Milan A. Mora, P.E. al
904-232-1454 a enviar correo electr6nico a millan.a.mora@usace.army.mil.




Anejos




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Allision La Princesa ATM Ferry
        -Date: 08MAY2015
        -Location: Pier #2 ATM Facility San Juan side
        Passenger Ferry LA PRINCESA had an allision with pier 2 in San Juan Harbor.
The Captain stated that he was coming into dock and when he put the engines in neutral
the starboard side engine did not respond causing the vessel to hit the pier causing minor
damage. Final report indicates that the cause of the casualty was a few faulty sensors
(gear harness, gear temperature and gear oil pressure sensors). All sensors were replaced
and tested. Sea trials were conducted. All pressures and temperature of the transmissions
were within the parameters of the manufacture specifications.
        LA PRINCESA: Passenger Ferry, Length: 70 feet, gross tons: 74 Year: 2009 Hull
Material: Aluminum, Propulsion: Diesel

Collision V.I. Pride – Sabre Spirit (Both are freight vessels)
       -Date: 01SEPT2010
       -Location: In the vicinity of Pier 10 in San Juan Harbor
       -The M/V VI PRIDE during cargo maneuvering operations (shifting berths) in
San Juan Harbor collied with the M/V Sabre Spirit that was moored in Pier #10. The
M/V Sabre Spirit received est. damages of 45,000.00. Noticeable damage to the
starboard bow was seen. No injuries and pollution reports.
       V.I PRIDE: Freight Vessel (RO/RO), length: 165 feet, Gross tons: 646, Year:
1977, Propulsion: Diesel Hull Material: Steel
       SABRE SPIRIT: Freight Vessel (RO/RO), length: 178 feet, Gross tons: 684,
Year: 1981, Propulsion: Diesel Hull Material: Steel

Collision S/S El Morro (container RO/RO) – UTV Honcho
        Date: 19MAR2012
        Location: San Juan Harbor Graving Channel around buoy #4
        UTV HONCHO collided with S/S EL MORRO. UTV HONCHO was assisting
the S/S EL MORRO outbound from San Juan Harbor when the tug captain placed both
engines ahead to clear of the vessel. While making the already mentioned maneuver the
UTV HONCHO made contact with S/S EL MORRO, damaging its bow. After a
thorough assessment, it was determined that UTV HONCHO was too close to the S/S EL
MORRO, creating a Venture effect (suction). This hazardous condition touched the S/S
EL MORRO's hull and damaged its starboard engine transmission coupling and
propeller.

       EL MORRO: Container RO/RO, gross tons: 28137, year: 1974, propulsion:
steam, hull material: steel
       HONCHO: Towing vessel, gross tons: 180, length: 96 feet, year: 1975,
Propulsion: Diesel, Hull Material: Steel

Allision Amelia with USCG Buoy #2
       Date: 01JAN2011
       Location: San Juan Harbor Graving Channel around buoy #2 (USCG)




                                                                             USACE_001136
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       Ferry allied with USCG Bouy #2 on the starboard side of the ferry.

        AMELIA: Passenger Ferry, Length: 75, gross tons: 87, Year: 1990, Propulsion:
Diesel, Hull Material: Aluminum.

Allision ATM Ferry La Decima with a wooden log
        Date: 10OCT2010
        Location: Entering Martin Peña Canal
        P/V LA DECIMA allided with a floating wooden log, 10 feet in length (1/2 feet in
diameter), during the transit from San Juan into Martin Pena Canal (Catano). The
incident caused vessel's starboard propeller to noticeably vibrate.
        LA DECIMA: Passenger Ferry, Length: 45, gross tons: 28, year built: 2009,
Propulsion: Diesel, Hull Material: Aluminum

Allision STI Battery (Chemical Tanker) with Cataño Oil Dock northern fender
        Date: 08AUG2015
        Location: Cataño Oil Dock northern fender
        08AUG2015: M/V STI BATTERY allied with Cataño Oil Dock during berthing
operations. Vessel allied with mooring dock not with the facility pier. There is not
damage to the vessel other than paint scrapings.
        STI BATTERY: Chemical Tanker, length: 183 feet, gross tons: 29,785, year:
2014, Propulsion: Diesel, Hull Material: Steel

Collision MV Elandra Lion – M/V Arcturus Both vessels are Oil/Chem tankers
       Date: 13JUN2014
       Location: Cataño Oil Dock Terminal #1
       During outbound transit M/V ELANDRA LION made contact with M/V MR.
ARCTURUS. The pilot and the tug captains stated that the contact caused only paint
damage. Investigators on scene did not see any obvious damage other than minor scrapes
and a cut mooring line. Factor: Wind took place: E/SE 20-25 knots
       ELANDRA LION: Oil/Chem Tanker, gross tons: 29, 727, length: 183, year:
2014, propulsion: diesel, hull material: steel.
       ARCTURUS: Oil/Chem Tankers, length; 183, gross tons: 30,092, year: 2006,
Propulsion: diesel, Hull Material: Steel

Grounding UTV McAllister
        Date: 22JAN2010
        Location: Army Terminal Channel Buoy #5
        The UTV JANE McALLISTER ran aground while assisting the tug
CENTURION with the deck barge JAX-SAN JUAN BRIDGE outbound from Army
Terminal Pier west. The JANE McALLISTER stayed close to buoy # 5 of the Army
Terminal Channel while assisting the barge when the tug grounded and the working line
attached to the barge parted. Master of JANE McALLISTER went full astern in an
attempt to refloat the vessel. After approximately 20 seconds, the Master was able to free
vessel from grounding situation and continued assisting the barge.




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       MCALLISTER: Towing Vessel, length: 106 feet, gross tons: 292, Year: 1968,
Propulsion: Diesel, Hull Material: Steel

Grounding UTV McAllister
      Date: 04MAR2010
      Location: Army Terminal Channel Buoy #5
      The UTV JANE McALLISTER ran aground in the vicinity of the Army Terminal
Channel buoy #5 while assisting M/V COLOMBIAN STAR.

       MCALLISTER: Towing Vessel, length: 106 feet, gross tons: 292, Year: 1968,
Propulsion: Diesel, Hull Material: Steel

Allision Amelia ATM Ferry
        Date: 26AUG2015
        Location: Cataño Dock, Ferry Terminal
        At approximately 1520 on August 26, 2015, the ferry AMELIA was approaching
the Cataño dock in order to moor and disembark 33 passengers that were on board.
Vessel experience engines problems and vessel ran up on the dock. Engineer had to go
down into the engine room to manually turn off the starboard engine and place the port
engine in neutral. Handrails on the pier were damaged. Vessel was attended by CG
personnel immediately following the incident for investigation, and damage assessment,
and the following day for more thorough examination of vessel hull for damage.
Approximately $10000 in damage was done to the Cataño dock. Two dents were noted
in vessel hull but a requirement was not issued for their repair.
        AMELIA: Passenger Ferry, Length: 75, gross tons: 87, Year: 1990, Propulsion:
Diesel, Hull Material: Aluminum.

Allision Covadonga ATM Ferry
        Date: 01JAN2010
        Location: Cataño Dock, Ferry Terminal
        M/V COVADONGA allided with the east side of the Catano Pier. Vessel's
Master was waiting for the waves to clear when the chains on the tire fendering at the
pier detached a piece of the rub rail on the starboard side stern of the vessel. Factor:
Medium waves and windy (12 knots)
        COVADONGA: Passenger Ferry, Length: 75, gross tons: 87, year: 1990,
Propulsion: Diesel, Hull Material: Aluminum

Grounding UTV Handy Three
       Date: 13OCT2015
       Location: Puerto Nuevo Channel near Buoy #3, San Juan, PR
       Vessel was transiting from Puma Pier to Puerto Nuevo when they ran soft
aground on a mud bottom. They did not become restricted and sustained no hull damage
and continued to dock at Puerto Nuevo. No reports of taking on water, pollution or
personnel injuries.
       HANDY THREE: Towing Vessel, length: 70, gross tons: 90, year: 2012, hull
material: steel.




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 9 de OCIUbre de 2015



 Mr. Eric P. Summa
 Planning Division
 au.fEnviroomeoIaI Branch
 Deparlmeot of the Army
 Jacbonville Dislrict Corps of Enginee~
 #701 San Marco Boulevard
 Jacboavilk, ROOda 32207-8175

 T'PO de ExpaIiaJIe: REA·EotudIo de Viahilidad elmpacto Ambieotal
 Asunto:             En.sanc::bes Canales de NnegadOO
                     Bahia de San Juan

 La Junta Reglamcntadora de Telecomunicaciones de Puerto Rico (JRTPR) evalu6 eJ documento
 en referencia. Tal delegacion surge de la Ley 416 - 2004, scgUn enmendada. y 13 Ley 161 -
 2009. SCgUR enmc:ndada. Tambien se consideraron los articulos aplicables del Reglamento
 ConjuntD para la EvaJuaci6n y Expedicion de Pemlisos Relaciooados a1 Desarrollo y Usa de
 Terrenos; yel Reglamenlo de EvaIuaci6n y Troimite de Documentos Ambientales de 13 Junta de
 Calida<! Ambiental (leA).

  La JRTPR evallia aspectos ambientales propios de los poderes estatutarios. delegados de acuerdo
  a ouestra experiencia., Y cODocimic:nto ~cDico. Como pane de c:se deber. para todo proyecto
  evalu.a la necesaria interconexi6n a la red de tclecomunicaciones y televisi6n por cable.
  disponible para nuestro territorio. La acci6n propuesta no debe rcpresentar un impacto que
  requiera modificaciones a la planta extema de telecomunicacioDes.

  Desde el puDto de vista ambiental, la JRTPR no tiene comentacios al proyecto propuesto.
  Confonnc a su solicitud para que ofrecicramos nuestros comcotacios, Ie informamos que de
  acuerdo a nuestro conocimiento y experiencia eo eI campo de las teiecomunicaciones. por el iirea
  donlSe se sugien:n los Ensanches de Canales para Navegaci6n de la Bahia de San Juan no
  discurren facilidades de telecomunicaciones. por ellecbo marino.




SOD Ave. Roberto H. Todd (Parada 18 - Santurce)
~n Juan, Puerto Rico 00907-3941
Tt l: (781) 756-080-4 Fax: (781) 999-6132
www.Jrtpr".oblel1lo.pr


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 ~ Canales de Na\-cpa&a
 IbbCa de San luaa
 8 de octIItn de lOIS
 P;igiaa 2


 No obstante, en cuanto al impacto del proyecto, eo relaci6n a cuaJquier idcntmcaciOo., remoci6n.
 modiftcaei6n y reloc3l.izaci6n de las iosr.alacioncs de reJcc.onwnicaciooes existeDtes (te~fooo 0
 televisi6n por cable). debed ser coordinada coo los proveedores de eslOS servicWs.
 Estas compaiifas procedcrio, .. g6n dispooe Ia S=i6n 3.09 del Reglamenlo para el Endoso de
 Planos de Infraestructura y ServidumbJes para Facilidades de Telecomunicaciones y Televisioo
 par Cable (Reglamento Numero 7393, seg6n revisado), donde se indican los requ<rimientos,
 para proyectos de relocalizaci60 de planra

 Con la urgencia que amerire. el Proponeote se comunicar.1 con los siguiente5 proveedotes de
 servicio, para. de esta manera.. obleDer cualquier informaci6n necesaria:

             Ing. David CoI6n Cruz                        Sr. Juan E. Orellana
             Gercnte de Ingenieria                        Gerenre de Construcci6n
             Claro                                        Liberty CableVision
             P. O. Box 360998                             P. O. Box 719
             San Juan, P.R. 00936-0998                    Luquillo, P.R. OOn3
             787-782-8282                                 (787) 444-2071
             dcolon@ciaropr.com                           juanore@libertypr.com

             Sr. Arnaldo Acos~                             Ing. Juan Medero
             Project Coordinator Wortd Net                 Director de Ingenieria de
             90 Carr. E<;l. PR-165. Suile 201              RedesdeATI
             Centro Intemacional de Men:adeo               P. O. Box 71514
             Guaynabo, P.R. 00968                          San Juan, P.R. 00936
             787-705-7014                                  787-641-8841
             aacosta@worldnetw.com                         dl-pr-att-irtpr@att.com

 Una vez se incorporen los comcntarios de los proveedores a los planos, la Parte Proponente
 preparara un plano final con 1a infraestruC1Ura de tclecomunicaciones. En esta etapa, se impooe
 la obligaci6n de lramilar una Solicitud de Endoso a Proyectos de Relocalizaci6n de
 Infraestructura propiedad de las compaiUas de telecomunicaciones y televisi6n per cable a travis
 de ta Divisi6n de InfraeslruclUra de ta Oficina de Gerencia de Permisos (OGPE), medianre ta
 forma IRTPR F-I04, que est4 disponible en nuestra pjgina de Internet, accediendo a:
 bttp:/lwww.jrtpr.gobiemo.pr/download.asp7cn_id=1373. secci6n de Endosos.

  En el ejercicio del poder de fiscalizaci6n. la Junta recibirn el plano final de infraestructura de
  telecomunicaciones y los documenlos complementarios. Este tnimite, ante la IRTPR. es de


500 Ave. Roberto H. Todd (Par-uta 18 -Sallturu)
San Juan. Puerto Rico 00907-3941
Tel: (787) 756-()804 Fax: (787) 999·6U2
www.jnpr.goblemo.pr


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 EnSilnches Canales de Navegaci6n
 Bahfa de San Juan
 8 d\! octubre d\! 2015
 Piigina 3



 esrricto CUmplimiealO Y COIlStituye un requisito mandatorio. para que la Parte Propooeme pueda
 obtener un Pmniso de Conslrucci6n. Para agilizar el proceso de evalU3ci6n, la Parte Proponmle
 podri presenlM en la JRTPR, de manera concurrenCe, evidencia de Ia radicaci60 anle et Sistema
 Integrado de Permisos (SIP) de la OGPE. de la SoIicitud de Servicios para Recomendaciones.
 Memorial y Plano Final de lnfraestroctUGl de Telecomunicaciones.. en formato electr6nico, con
 ceJtificaci6n suficiente para demosuar que es capia fiel y cucta del plano radicado an1e las
 agencias coocemidas.

 En eI des.cargue de los deberes delegados. la JRTPR pasaci juicio en IOrnO a la veracidad de los
 bechos qur: suJjan de: los expedientcs adminislrativos. ~ adelaote. a solicilUci de parte. con la
 previa inspecci6n. ceJtificara la obra construida. Se notificar.in las 3IXiones admini..tIativas que
 correspondan. de acuerdo a cada etap.a del proyecto cn rcfereocia.

 Cualquier duda el ~to. sc puede comunicar a DUesttas oficinas. aJ (787) 756-0804. CIUS.
 305603047. durante el horatio de operaciones. de lunes a viemes. de 7:30 a.. m.. a 12:00 m_ y de
 1:00 p_ m.. a 4:00 p. m_


 Cordialmente.




  c: Secretaria
     Lcdo. Migue l Reyes
     Arq. Hector Barriera
     lng. David Col6n
     Sr. Arnalda Acosta
     Sr. Iuan E. Orellana
     lng. Juan Medero

  Anejos




500 Ave. Roberto H. Todd (Parada 16 - Sanrurce)
Sanluan. Puerto Rico 00907· 3941
Tel: (797) 756·0B{)4 Fax: (787) 756-OS14
www.jrtpr.goblemo.pr

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15 deoctubre de 2015



Junia Reglamentadora de Telecomunicaciones de Puerto Rico
500 ave . Roberto H . T odd (Pda. 18-Santurce)
San Juan PR 00907· 3941



Asunto : Recomendaci6n Esludio d e impaclo, proyecto de ensanche de canales de navegaci6n en 1.11 bahla de
San Juan
 Proyetto; Estudio de impacto, proyecto de ensanche de nnales de navegaci6n en la bahia de San Juan
 Caso ml mero:

Estimados Senores (as):

    Adjunto acompaiiamos la copia del plaoo ( Site Plan) s umirllS trada poT la JRTPR v{a elel.:tr6nica para la orienloci6n
81 proponente en relacio n a 1.11 localiza::i6n de nucslra infraestnrtura existente acrea y/o soterrllda.

  Segun los pIanos enviados, nueSlIa campania no liene 'tnfraes tTuctu ra en el area a Irabajarse. Para estc proyeclo en
particular no [enemos rccomendaci6n alguna

Quedo a su disposici6n para cualquier duda 0 detalle soble ISte particular.




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                        UNITED STATES ENVIRONMENTAL PROTEcnON AGENCY
                                                        REGION 2
                                                      290 BROADWAY
                                              NEW YORK, NY 10007-1866



           ocr 1 6 2D15
David A. Tipple
Interim Chief, Planning and Policy Division
Jacksonville District Corps of Engineers
Department of the Anny
701 San Marco Boulevard
Jacksonville, FL 32207-8175

Re:    San Juan Harbor Navigation Project

Dear Mr. Tipple:

This is in response to an October 8, 2015 letter requesting that the Environmental Protection
Agency (EPA) serve as a cooperating agency for the San Juan Harbor Navigation Project . EPA
is pleased to accept the Jacksonville District Corps of Engineers' invitation. Please note that due
to resource constraints, EPA will be limited in our ability to physically attend project meetings.
If conference lines are made availaiJle, we would be happy to participate by telephone or
webinar.

We would like to remind you that OUI participation does not preclude our review under
the National Environmental Policy Act and comment authority under Section 309 of the
Clean Air Act. We look forward to working wi th you on thi s project, and to reviewing
any preliminary environmental documents.

If you have any questions, please contact me at (212) 637-3738 or
musumeci.grace@epa.gov.

Sincerely yours,




Grace Musumeci, Chief
Environmental Review Section

cc:    Kenneth Dugger, USACE




                                        Internet Address (URL) • http://www.epa.gov
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                                               UNITED STATES DEPARTMENT OF COMMERCE
                                               National Oceanic and Atmospheric Administration
                                               NATIONAL MARINE FISHERIES SERVICE
                                               Southeast Regional Office
                                               2631311l Avanue South
                                               5t. Petersburg. Florida 33701-5505
                                               htlp://sero.rmfs,noaa.gov


                                                                                                 P/SER:NS


Mr. David A. Tipple
Deputy Chief, Planning and Policy Division                         OCT 28 20\5
Department of the Army
Jacksonville District Corps of Engineers
701 San Marco Boulevard
Jacksonville, FL 32207-8175

Dear Mr. Tipple,

Thank you for inviting the National Oceanic and Atmospheric Administration's National Marine
Fisheries Service Southeast Region (SERO) to participate as a cooperating agency in the
development of the Environmental lmpact Statement (EIS) for the San Juan Harbor Navigation
Project. We accept your invilation and look forward to working with the US Anny Corps of
Engineers on this project. We expect we will be able to provide technical assistance for the
project. Qur involvement will be limited to reviewing early drafts of the document and
participating in meetings and conference calls. We hope that our involvement will help to avoid
and minimize impacts to natural marine resources at the project site.

When available, please send background materials and a project timeline, so that we can manage
our office's workload for this project. Thank you for inviting SERQ to participate in the EIS
development. SERO's points of contact for this project will be Dr. Lisamarie Carrubba,
lisamaric.carrubba@noaa.gov (787) 85 1-3700 for Endangered Species Act related assistance;
and, Jose Rivera, jose.a.rivera@noaa.gov (787) 405-3605 for Essential Fish Habitat related
assitancc.




                                                                       E. Crabtree, Ph.D.
                                                                    egional Administrator



cc: FISER-Blough, Silverman, Strelcheck
    F/SER3-Bemhart
    F/SER4-Fay, Wilber
    F-Leathery
    PPI-Kokkinakis. Krasna



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28 de octubre de 2015


Sr. Eric P. Summa
Cuerpo de Ing enieros del Ejl!rcito de las Estadas Unidos
701 San Marco Boulevard
Jacksonville, FI32207-8175


Estudlo de Vlabilidad a Impacto Amblental sobre majoras a los canales de navegaci6n de
la Bahia de San Juan

Estimado sefior Summa:

Haeemos referencia a la carta recibida en la Autoridad de Aeueductos y Aleantarillados de
Puerto Rico (MA) el 1 de octubre de 2015, solicitando eomentarios 0 informaci6n que pueda
ser pertinente para la evaluaci6n del proyecto propuesto.

En esta carta adjuntamos das imagenes con la infraestruetura de agua potable y alcantarillado
existente en el area de estudio. Actualmente, no tenemas infraestruetura nueslra en la zona
demarcada a ser impactada por el proyeclo propuesto. Sin embargo, de modificarse el ambito
del proyecto, 0 si fuera neeesaria la intervenci6n en un area donde nuestra infraestruetura
pueda verse impactada direeta 0 indirectamente sera necesario que se realiee la coordinaci6n
neeesaria para proteger la infraestructura impaclada; eslo a cosio del dueno del proyecto.

Esperamos que la informaci6n provista Ie sea de utilidad. De requerir informaci6n adicional,
favor de comunicarse can la Ing. Lourdes M. Morales, Directora de Planificaci6n, al (787) 999-
1717 extensi6n 1125.


Cordialmente,



~y'1(,~te~M~.R~a~~~rx/~
   ectora Ejecutiva de Infraestructura



Cc:    Ing. Lourdes Morales, MA




                                                                                USACE_001150
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Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 56 of 285




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         Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 57 of 285

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     2 de noviembre de 2015



     Mr. Eric P Summa
     Planning Di vision
     Chief Environmental B ranch
     Department of the Army
     Jacksonville District Corps of Engineers
     #701 San Marco Boulevard
     Jacksonville, Florida 32207-8 175



     RE: Estudio de Viabilidad e Jmpacto Ambiental Ensanches Canales de Navegaci6n Bahia
         de San Juan.

     Estimado senor Summa:


     Basado en [a informaci6n rec ibida de 1a Junta Reglamentadora de Telecomunicaciones de P uerto
     Rico (JRPR) para In evaluaci6n de 1a existencia de infraestructura telef6nica en el area que se
     realizani el ensanche de los canales de navegaci6n de 1a Bahra de San Juan, Ie notificamos que
     luego de rev isar nuestros records no encontramas infraeSlructura telef6nica e n e[ area que sera
     impactada.

     Cordialmente.



P~/,e.s:~
     Gerente
     Ingenierfa de Pl anta Extema

     cc : Ing. Jose Vazquez Maldonado




                              PO Box 360998 San Juan, Puerto Rico 00936-0998             USACE_001154
Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 58 of 285




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                     United States Department of the Interior
                                  NATIONAL PARK SERVICE
                                    Southeast Regional Office
                                     Atlanta Federal Center
IN REPLY REFER TO:
                                          1924 Building
ER 15/0561
                                      100 Alabama St., SW.
                                     Atlanta, Georgia 30303



                                                              November 3,20]5

Paul DeMarco
U.S. Anny Corps of Engineers
Plmming Division. Environmental Branch
P.O. Box 4970
Jacksonville, FL 32232-00 19

Dear Mr. DeMarco:

The National Park Service has reviewed the U.S. Anny Corps of Engineers (USACE) Notice of
Intent to Prepare a Draft Feasibility Study and Environmental Impact Statement (ErS) for
Navigational Improvements to San Juan Harbor in San Juan, Puerto Rico, and offers comments
for consideration in the ElS.

The USACE proposed navigational improvements to San Juan Harbor include deepening the
main channels up to minus 50 feet and widening main channels up to an additional 50 feet. The
USACE is the lead federal agency responsible for preparing the E1S along with the non-federal
sponsor Puerto Rico Ports Authority.

The San Juan National Historic Site is a unit of the National Park Service as well as a World
Heritage Site and includes forts San Cristobal, San Felipe del Morro, and San Juan de la Cruz
(also known as EI Canuelo), Paseo del Morro National Recreation Trail, plus bastions, powder
houses, and three fourths of the city wall and Isla de Cabras. All these fortifications surround the
old, colonial portion or San Juan, Puerto Rico. Fort San Juan de la Cruz is located at Isla de
Cabras at the western end of the entrance to San Juan Bay.

The NPS reconunends that the EIS include analysis of the potential for the proposed undertaking
to adversely affect San Juan National Historic Site and affiliated areas. In particular we are
concerned about potential impacts from increased wave energy and erosion from changed
channel configurations and increased shipping traffic to the existing structural integrity and
current riprap which protects the sites. The proposed undertaking could result in changes in
shipping traffic due to the deeper channel, as well as sediment transport. The NPS is concerned
that sediment transport changes will result in increased erosion and potential effects on the long-
term structural integrity ofNPS resources. The NPS requests that the USACE initiate modeling
with NPS involvement in the development and review of model output as well as a monitoring
plan and program to evaluate changes in the wave climate in San Juan Harbor before and after



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      Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 60 of 285

the proposed undertaking. The NPS also recommends that the modeling address the extent to
which climate-change associated parameters (e.g. , sea level rise, stann surge) impact NPS
resources at San Juan National Historic Site in combination with the proposed deepening project.
The ElS should also include potential effects to cruise ship traffic and visitation to Old San Juan
from the undertaking.

We recommend coordinating with the Puerto Rico historic preservation office to have a qualified
archeologist formally survey underwater archeological resources and to include a commitment to
monitor during the dredging activities in the vicinity.

Thank you for the opportunity to provide comments concerning the recognition and protection of
the San Juan National Historic Site in the development of the EIS. For additional information or
for clarification about our comments, please contact Anita Barnett, Environmental Protection
Specialist, National Park Service Southeast Regional Office, 404-407-5706; Felix J. L6pez,
Chief of Cultural Resources, San Juan National Historic Site, 787-729-6777, ext. 267; Eric
Lopez, Park Historian, San Juan National Historic Site, 787-729-6777, ext. 243.



fj'Y'     I::T-ff----
Ben West
Chief, Planning and Compliance Division

cc:    Superintendent, San Juan National Historic Site




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Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 61 of 285




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                        Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 62 of 285




                          ASOCIACION DE NAVIEROS DE PUERTO RICO
                          PUERTO RICO SHIPPING ASSOCIATION

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Heman F. Ayula Rubio
Presidellle
                          November 5, 2015
Eduardo Pagan
V/cepre!,idellte

Ramoo Umpiem::
                          Eng. Milan A. Mora, P.E
Director Ejecutivo        Project Manager
Michael Latimer           Programs & Project
Secretur;o                Management Division
Jose A. Vazquez           Department of the Army
Tesortro
                          Jacksonville District Corps of Engineers
Jose o. Busto             PO Box 4970
PUSUllu Pr~·ldelffe
hllllediu(o               Jacksonville, FL 32232-0019

Miembros Asodado-s a:     RE:      Public Hearing - Dredging 2015
Caribbean Shipping
Association

Camara de Cvmercio de
                          Dear Eng. Mora:
Puerto Rico
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Industriales de PRo                The Puerto Rico Shipping Association thanks the USACE the invitation
Floriril' Caribbeall
Cmise Assaciatioll        for attending the public hearing. Our Association represent the 80% of the
Coalidon del Sectvr
Prlmdo                    stakeholders of Port of San Juan. We understand that dredging of Port of

                          San Juan of fifty feet of deep is in the best interest of our industry. The

                          main reason of this is the expected increase of vessels in the next couple

                          year due in part to the expansion of Cana l of Panama. We have seen

                          during the last ten years that vessels that use to work as feeder vessel have

                          been replaced by larger ocean going vessels, and that trend wil l continue.

                          Also the necessity of the Island of Puerto Rico to bring alternative type of

                          fuels such as LNG and others, which require deeper draft.
                                                           PO Box 9022714, San Juan, PR 00902
                                              Tel : 787.722.1105 I ."ax: 787 .724.42341 Mobile: (787) 510.6085
                                                                   bfayalajr@ayacol.com
                                                        Email :PRSA@prtc.netl www.oavierospr.org          USACE_001159
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     Hon . Eduardo Bhatia, Presidente Senado
     Hon. J ose Nadal Power
     Hon . Rafael "Tatito" Hernandez
     16 de septiembre de 20 15
     Pagina 2




       We respectfully request additional time to present the evidence of this

necessities and th e data corresponding to validate our request. For this data we

have to communicate to the shipping line that some of us operate and/ or

repre sent and also w ith our fuels providers in order to have their input.

       The PRSA is avai lable to cooperate and help to this process. Thank again

for the invitation .




     an F. Ayala
President




                                                                      USACE_001160
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Estado Libre Asociado de Puerto Rico
Gobiemo Municipal de Catallo
Jose A. Rosario Melendez, Alcalde

                                                                     O licina de Planilicaci6n



                        COMENTARIOS ESTUDIO DE NAVEGACION
                         PUERTO DE SAN JUAN, PUERTO RICO
                             12 DE NOVIEMBRE DE 2015



E      I Municipio de Catano participo en la reunion y vista publica del Estudio de Navegaci6n y
       rnejoras propuestas para el Puerto de San Juan presentado par el Cuerpo de Ingenieros
       de los Estados Unidos.

EI Municipio se localiza en la parte sur y parte este del sistema de canales de la Bahia de San
Juan. Nuestras preocupaciones van dirigidas a los siguientes aspectos:

    • Las rnejoras a realizarse deben considerar los usos alrededor de la Bahia, que no solo se
      circunscriben a transporte de mercancias, turismo, sino a que tambil~n existen usos
      residenciales como es en el Seetor La Puntilla en el Municipio de Catano que ya esta
      conlrontando problemas por el aumento en el oleaje y aumento del nivel del mar.

    • Toda rnejora a realizarse debe considerar y deberia pres tar especial atencion a que toda
      alteraci6n de las condiciones de calado, ampliaci6n, mejoras generales, podria tener un
      eleeto en las costas. Esto incluye que en eI Municipio de Catano tiene residencias
      adyacentes a la costa. Recomendamos que los estudios deben considerar el cambio
      climatico y ios efeetos que ha tenido en la costa en ios ultimos anos y los que se
      proyeetarian, la subida del nivel del mar, aumento en la fuerza del mar a las costas,
      erosion costanera ya prevaleeientes y como podria 0 no promoverse otras situaciones
      relacionadas por las rnejoras a ser realizadas.

    • Los contaminantes que podrlan removerse por eI metodo a utilizarse para el dragado y el
      eleeto en la calidad de las aguas, pudiendo aleetar la pesca, asi como que lIegue a las
      costas basura generada par el movimiento y obras a realizarse.
      Cordialmente,


       Hon. Jose A. Rosario Melendez
       Alcalde
       Municipio de Catano


PO Box 428 Catar\o, PR 00963-0428                                       (787) 788-0404, ext. 4061 y4188
                                                                               USACE_001162
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             TOTAL
               COMMITTED TO BETTER ENERGY


 TOTAL PETROLEUM PUERTO RICO CORP.




                                                     November 16, 2015

         Mr. Paul DeMarco
         Mr. Milan Mora
         U.S. Army Corps of Engineers
         Jacksonville District
         P.O. Box 4970
         Jacksonville, Florida 32232-0019


                                                     RE: San Juan Harbor Navigation Project


         Dear Mister DeMarco and Mister Mora:


                For your information, Catano Oil Dock, known as COD, is situated between the
         TRAILER BRIDGE's Army Terminal and the dock of PREPA, in the area of the Army Terminal
         Turning Basin.

               COD is owned by Puerto Rico Land Authority. That governmental agency through a
         Lease Agreement allows to the oil related companies to use COD. Those companies are
         TROPIGAS. BTB PLACCO. PUMA ENERGY. PUMA CARl BE and TOTAL PETROLEUM
         PUERTO RICO CORP. (TPPRC). PUMA and TPPRC are bringing barges and ships up to MR
         class ships handling gasoline, jet fuels and diesels. TROPIGAS and BTB PLACCO are bringing
         in smaller ships Propane and Bitumen, respectively.

                 TPPRC is designated by contract between those companies as the Administrator of the
         dock. As Administrator, TPPRC is in charge of security, maintenance, finance management,
         permitting and establishing operation procedures for COD on behalf of the users.

                COD is designed to handle ships up to MR class type. Currently, the draft limitation of
         the COD and San Juan Port does not allow the entrance of fully loaded ships, leading to 5% to
         10% dead freight. In order to solve this issue, the alternative is to dredge the COD and the Port
         down to 44 feet, considering and including a 2 feet under keel clearance. To dredge COD from
         the current 38 ft to such objective, geological data is requested to asses that the integrity of
         current structure, when receiving fully loaded MR ships, will remain the same

                  Moreover, current mooring patterns need to be improved including a mooring buoy or a
         new dolphin as showed in the sketch attached as Exhibit A. This modification should allow
         having full MR ship better moored and able to operate with less meteorological constrains. But
         installing this new dolphin or mooring buoy would require letting sufficient space in the Army
         Terminal turning channel. As consequence, we request that the Harbor Navigation Project

City View Plaza Torre 1.
Carr. PR· 165, Km 12, #48 , Suite 803, Guaynabo, PR 00968
                                                                                        ;1tS'   1/2

P.D Box 362916. San Juan, PR 00936-2916
Tel. (787) 783-4625 • (787) 792-2920
www.total .com.pr
                                                                                       USACE_001165
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                                     o     TOTAL
includes this new mooring equipment. We are at your entire disposal to explain more in detail
our comments.

       Should you have any questions, please do not hesitate to contact the undersigned.




                                           Sincerely,




                                                    fendiantz
                                           Operations Director




c:     Vivian Suarez, GBT Terminal Manager
       Daniel Perez, Technical Manager
       Denise Rodriguez Flores , Legal Manager




                                                                                           212

                                                                             USACE_001166
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                                    EXHIBIT A

                        Current mooring patterns



                                     55.000 OWT Tanker



                                              -,.
                                                !
                                       2 Port Spring   2 Port       .. Port S!tin
                        1 PortBow
                                       lirws           Spril'lQ UI'IH linH
                        "'"



                     Future required mooring patterns


                              55.000 OWl Tanker
                                      .,.

              JPonBow

              "'"'
                ."""
                "'"
                       ...                                                    N_ dolph'n Dr
                                                                              moori"1l bl.lO)' with
                                                                              Pori Slern linu




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CN 078-04495                           COMMONWEALTH OF PUERTO RICO
REV. 01113                   PUERTO RICO ELECTRI C POWER AUT HORITY

                                                  SAN JUAN , PUERTO RICO



                                                                                                                  GPO BOX 364267
www.prepa.com                                                                                                     SAN JUAN, PR 00936-4267


November 23, 2015



Mr. Eric P. Summa, Chief
Environmental Branch
Department of the Army
Jacksonville District Corps of Engineers
701 San Marco Boulevard
Jacksonville, FL 32207-8175

Dear Mr. Summa:

RE:       San Juan Harbor Navigational Improvements Project
          Request for Information

On October 8, 2015, the Puerto Rico Electric Power Authority (PREPA) received your
letter regarding the above mentioned project. As a result of the evaluation of the
information submitted by the US Army Corps of Engineers (CaE), PREPA submits the
following information regarding the impact of the proposed Project, as presented , in
PREPA's operations and infrastructure.

PREPA is fully supportive of the proposed Project, since for the efficient and reliable
operation of the electric system of Puerto Rico, some of the generating units on the
north coast of the Island must use natural gas instead of the oil fuels used today. This
requires the construction of an LN G receiving , storage and re-gasifying infrastructure,
and the dredge of the navigational channels within the San Juan Harbor, in order for it
to have the required depth for the LNG Carriers. Notwithstanding its support for the
Project, PREPA also has some concerns that will require the Corps' attention during the
dredging activities.

The electrical system in Puerto Rico is operated by PREPA, a public corporation
created by Law No. 83 of 1941. To supply the electrical system demand of the Island,
PREPA operates several generating units located at different geographical areas.
Among them are th e Palo Seco and San Juan Complexes, located on the north coast of
the Island, specifically in the Toa Baja and San Juan municipalities, respectively . Palo
Seco has a total generation capacity of 722 megawatts (MW), while San Juan has 840
MW. These units are essential in ensuring the reliable and stable operation of the
electric system, and therefore, critical for its operation.

To supply the fuel (Bunker C and Diesel) demand of both power complexes, PREPA
contracts suppliers to ship the fuel in vessels that dock in the Puerto Rico Port
  'W e are an equal op port unity employer and do not discriminate on Ihe basis of race, co lor, gender, age, national or soda l origin,
          social statu s, political ideas or affilialion, religion; for being 0 perceived to be a vidin of domestic viole nce, sexual
violence, sexual aggression or harassment, regard less of marilal staills, sexual orientation, gend er idenlity or immigration sta tus; for
                                    physica l or menIal disability, for veleran slatus or genetic inform ation"
                                                                                                                        USACE_001169
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Mr. Eric P. Summa
Page 2
November 4, 2015


Authority's (PRPA) Terminal-ABC in order to transfer it to PREPA's onshore storage
tanks located at each facility. Therefore, special consideration shall be taken during the
Project's planning and execution to avoid any fuel supply disruption to these power
stations. Otherwise, it may result in an adverse impact on the electrical system
operation and reliability, as well as the people of Puerto Rico's wellbeing and national
security stability.

The San Juan Complex seawater intake structures are located near the proposed
Project's area. During the proposed dredging activities, there is the potential of impacts
to the quality of the seawater pumped into the condensers circulation water system,
which may affect the power stations compliance with the regulatory agencies water
quality requirements. Also, it may limit the generating units' thermal efficiency, reducing
their maximum generation capacity and availability, and increasing the maintenance
costs associated to additional condensers cleaning activities. Therefore, the
implementation of best management practices during the Project execution are required
to prevent and reduce the impact of the proposed dredging activities to PREPA's
operations and infrastructure at the San Juan Complex.

Regarding PREPA's future plans, in order to provide natural gas to some of its
generating units in Palo Seco and San Juan, PREPA has performed a Feasibility and
Option Study through which it preliminarily concluded that there are two feasible
options. The preferred feasible option is a Storage and Vaporization Infrastructure at
the San Juan Complex, which includes a shore side LNG receiving terminal with
storage and vaporization ashore and ca rgo provided through LNG carrier. The LNG
carriers are expected to require a depth of up to 40.2 feet through the Army Terminal
Channel and the Turning Basin. The required width of the channel is 400 fl. Due to the
need of this infrastructure, it is important that these specifications are co nsidered for the
proposed Project.

For additional information, please contact engineer Rafael Marrero Carrasquillo,
Environmental Protection and Quality Assurance Division Head , at (787) 521-4960.

Cordially,

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Planning and Environmental Protection Director




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                United States Department of the Interior

                            FISH AND WILDLIFE SERVICE
                                  Caribbean Ecological Services
                                          Field Office
                                           P.O. Box 491
                                       Boqucron, PR 00622
In Reply Refer To:
FWS/R4/C ESF0I7:21 J:7~OO J:             DEC 01 1015


Mr. Davi d A. T ipp le
Inte rim C hi c r. Plann ing and Po liC) Divisio n
US Army Corps of Engineers
Jacksonville District
70 1 San Marco Bo uleva rd
Jacksomi lle. Fl orida 32207~8 1 75

                                          Rc: Feasibili ty Study for the San J uan I lmbor
                                          Na\igation Project. San J ua n. Puerto Rico

Dear Mr. I ipple:

This is in reply to your October 15. 1015. Notice of 111Ie11l to carry out a dredging project
in San Juan lI arbor. and your leller dated October 8. 1015. imit ing the Serv ice to become
a cooperating agency for an Em ironmentallmpact Statement (E IS) associated \. . ith a
feasibility study for the San JUilrll larbor Na\ igation Project. Ou r comments are provided
in accordance to the Enda ngered Spec ies Act (87 Stat. 884. as amended: 16 United
States Code [53 I £.! ~.) and the Fish and Wi ldlife Coordi nation Act (48 Stat. -WI. as
amended: 16 U.S.c. 661 et~.). rhe Sen ice has been coordinating with the Corps for
dredging actions in San Juan Ray since 1993.

As we discussed during the project scoping meeting. Our comments arc focused on the
need to assc,:>:s po<;:sible elTects of the dredging and future di:spo:sal of dredged materials to
aquatic resource') and the Antillean manatee.

Ocean Disposal:
.\1 present timt'. the Corps ,\ill examine Illeasures to improve ntwigation in the San Juan
llarbor b) deepening and \\ \dcning eertOlin c1mllll!.!ls and anchorage areas \\ \thin the
harbor. Specitic dredging arca~ and ho\.\ much mato::rial "ill be dro::dged han: not yet
bl.!cn dctt.:rmined. The dredged matl'rial i') expected to be suitable for placement in tht.:
Ocean Dredged ~Ialerial Disposal Site (ODMIJS) located a ft:\\ miles from tht:" harbor's
entrance. Based on the prdiminar) information in your communication. som!.! material
ma) be suitable for piace1111.:"nt in dn.'dgcd holes and for other mitigation purpo:-;cs.

In addi tion. the n('\\· dredging being contemplated in the inner harbor may re~suspend or
expose hl)CrS of conl<lminateJ sediments current!) nol a ... ailable to marine organisms.




                                                                                   USACE_001172
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Mr. Tipple                                                                                  2


The qualit) oflhe sediments to be dredged needs to be c\uluatcd for potential impacts
and suitability for disposal in the San Juan ODMDS.

Antillcanl11anatcc:
The San Juan I larbor is located within the range of the Antillean manatee. Although
qual it) of manatee habitat \yithinlhe San Juan Bay has decreased oyer time, manatees
continue to use the San Juan Bay. Due 10 the high turbidit) of the \\atcrs of San Juan
Ra). manatee counts duriog aerial suncys ar~ 10\\ . 1I00\c\er. the U'iC of till! San Juan
Ua) area b) Illanat~cs has been documented b) public reports. dredging and comtruction
project reports. mOl1alil) reports and L'SCU anccdotal report;;, from their dock area.
Manatees hme been rcported at the entrance \0 San Juan Bu). Condmllliagoon. Coast
Guard station. and in the Rio Puerto Nue\o. and arc nntlimitcd to these areas.

In 2012. the Service. under contract. completed the stud) ti tled Scit:nct: Summary in
Su pport of Manatee Protection A rea Des ign in Puerto Rico (Drew et al 2012). Th is st udy
iden tified areas and characterized the three key ecological att ributes (i.e. scagrass.
freshwater. shelter) necessary to support manatee populations and identified areas \\here
take can be reduced from \\utcrcraft related threats. The San Juan IJa) area \\as
described to pro\idc a high shelter \alue for manatees. having at least one or more
fresh\\ater sources. having a high motorized watercraft threat. and was not associated
with a scagrass hotspot.

 Ihe onl) Illass manatee mortal it) e\enl that has occurred in Puerto Rico took place
\\ ith in tht: SJl1 Juan Harbor Sa) area. On /\ugust 16 to \ugust 18. :2006. four malt:s <Jnd
one Jemale adult Antillean m3n:ltces \\ere found deud in the Sun Juan Itarborlla) area.
 I h.: cause of death for th\!sc animals \\3S determined to b.: human r.:latcd due to a
\\ ..lIcreraft impact. Carcasse~ sho\\t:J siglb of blunt trauma and large hoat propclh.:r
scars. It is hdic\ed thesc manatees v.e~ ii.ml1ing a mating hero and the accident could
have been prc\emed b) follo\\ing idle ~pced zones \\ithin the S,ll1 Juan HarborHa~
and 'or having ohservers on board "hilc tran:.itillg in that area.

Both the Service and the Corps have de . . eloped manatee conservation measureS to avoid
and minimize potential in-water project eITects on the manatee. These conservation
measures can he ust:d for the proposed project as appropriate. Some example measures
include: manatee observers before and during construction. manatee awareness. and
appropriate sigmlge. among others.

As pre\ iOllsl) mentioned. the Service is interested on collahorHting \\ ith the Corps for the
designing and implementing of proacti\e consen'ation measures for the Antillean
manatee in accordance "ith Section 7(a)( 1) of the Act. Some examples of Section
7(a)(l) opportunities for the consen.-ation of the manatee that could be implemented on
this projt:ct include:
    • DI!\'elop and implement ana, igational aids plan for the San Juan Ba~ focused on
        3\oiding and minimizing \\atercrnft thrcals olllhe manatec.
    • Support ongoing efforts to stud) manatee usc \\ithin the San Juan Bay. The
        Senicc has a projCl:l \\jth the PR \t1anatce COllscf\ation Center and thc DNER to



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Mr. lipple                                                                                   3

        assess the health of manatees \\ ithin the San Juan Ba) and track manatees to slUd)
        movement patterns and habitat usc witilln the San Juan Bay.
    •   De\ dap a manatee spec ific t!ducation f.:3mpa ign using c\isting and nc\\
        alternatives and media sources.

The San Juan Ba) also harbors in-water habitat for the fedemll ) listed hawksbill
(£rermnchely~' imhriw/a) and green (Chelonia mydas) sea turtles.      There is al so the
potential fo r a ha"ksbill nesting in the area of the Palo Seco peninsula that needs to be
considcred \\ hen evaluating potential effects of the proposed project. In addition. as for
the manatee. there are a number of already desc ribed meas ures for 11\ oiding and
minimizing effects 011 sea turtles in the water lor the proposed project. Pl ease contact the
NOAA Fisheries Caribbean Field Officc rega rding possib le efTccts on sea turt les in the
waler.

Aquat ic reso urces:
While San Juan lIarbor has been extensively 1110dilied as a cOllllllcrcial port. there arc
patches of aqua tie \egetat ion and other habitats that remain in the area. The proposed
channel widening and expansion of the Ann) Termi nal turning basi n has the potential of
impacting remaining sea grasses and hardgrounds \",ithin thc San Juan Oayarea. Based
on our preliminary asses,\ment of the NOAA ben thic hahitat Illaps (200 I) and the
drm\-mgs arthe proposed actions. the expansion ofthc tllming basin ma) impact a 69
acre area of sea grasses. Seagmss beds provide famging opportuniti es for the Antillean
manatee \\ithin Sun Juan Ba). in addition the) sen e as important habitats for
commercially important fish species and other marine organ isms.

Ilo\\e\er. the distribution and extent of seagrass and other benthic habitats \\ ithin San
J uan Bay are not we ll documented because of the turbidity of the \,aler" or outdated
infonnation. T hus. there is a need to better document the ex tent of marine habitats \.\ ithin
San Juan Ba) to be affected by the project. As part of the feasibility study. benthic
surveys along the proposed project site ,>hould be conducted to quantify the project
impacts on manne habitats. Once project impacts arc ident lli es. appropriate mitigation
measures shau ld be developed to compensate far thase impacts.

The Carr" and the Service ha\c fOnllal1) cammiut'd to \\ork together to eon,>er\'c.
protect. and restore fish and wi ldlife resources while ensu ring environmental
sustainabilit) of our Nation's water resources under thl! January 1:!. 2003. Partnership
Agreemcnt for Water Resources and Fish and Wildlifc\ccordingly. the Sef\ ice would
be pleased to servc as a cooperating agency in developing the bn ironmcnlal Impact
Statement (I-:IS) for the proposed project in accordance \\ith applicable \itPtVCouncil on
rl1\ ironmcntal Qualit) guidance. Our participation \\ill he srccificaU) limited 1ll:
         (I) partiCipating in meetings and field trips ttl ontrun l'IJsclinc infom1atu,)11 on
project-area lish and wildlifc rcsourccs~
         (2) e\aluating the proposed projcrt's impal.:b to \~etlalltb
,md associated fish ;,md wildlife resources. and assisting in Ihe dc\elopmcnt of measures
to avoid. minimi/e. and.'or compensate for thosc impacts (induding project ahemati\'cs):
and.



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Mr. Tipple


        (3) pro\viding technical assistance in the development ora Biological Assessment
describing the impacts orthe proposed acti ... it) to federal!) listed threatened or
endangered species and /or their critical habitat.

Agreeing to be a cooperating agenc) does not preclude the Service rrom providing
comments on the draft and final NEPA documents and does not cnsure Ollr support of the
final selected plan.

If yOll have any quest ions regarding our comments please reel free to con tact Marelisa
Rivera at 787 851-7297 x 206.

                                             Since rely yours.


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                                          ~X)cUII\
                                              Ed\\in E. 'Iuniz
                                                                    "')
                                              Field SlIpcniso

cc:
COF. Planning. Jacksonville
DNLR. San Juan
LPA. Nc" York
NMFS. Boqucr6n
NMrS. San Juan




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Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 79 of 285




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                                DEPARTMENT DF THE ARMY
                           JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                     701 Sail MarGo 6 0ulevard
                               JACKSONVILLE, FLORIDA 32207-8175


                                          DEC 17 20\5
Planning and Policy Division




Puerto Rico Ports Authority
Executive Director
AnN: Ms. Ingrid C. Colberg-Rodriguez
Post Office Box 362829
San Juan, Puerto Rico 00936-2829

Dear Executive Director:

     Pursuant to the requirements of Section 1002 of the Water Resources Reform and
Development Act of 2014, enclosed please find a copy of the San Juan Harbor
Improvement Study draft project schedule. This schedule was compiled based upon
the best available information, however, due to unforeseen or unanticipated future
circumstances, th is schequle may requ ire modification . We request your written
concurrence on the enclosed schedule and look forward to working closely with you to
complete this important study.

    If you have any questions or need clarification, please contact the project manager,
Milan Mora, at 904-232-1454.

                                            Sincerely,




                                               on A. Kirk , P.E.
                                             alone I, U.S. Army
                                            District Commander

Enclosures




                                                                        USACE_001177
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U.S. Oepartment of                        Commander                          5 Calle La Puntilla
Hom eland Security                        U.S. Coast Guard Sector San Juan   San Juan, PR 00901-1819
                                          Prevention Department              Phone: (787) 729-2376
United St ates                                                               Fax: (787) 729-2377
Coast Guard
                                                                             16610
                                                                             December 24, 2015

Department ofthe Army
Jacksonville District CORPS of Engineers
Planning and Policy Division-Environmen tal Branch
Attn: Mr. David A. Tipple
70 I San Marco Boulevard
Jacksonville, FL 32207-8175

Dear Mr. Tipple,

This is in response to your lelte~ dated December 7, 20 15 requesting U. S. Coast Guard
participation in the Environmental lmpact Statement (EIS) study fo r the San Juan Harbor
Navigation Project.

Your letter states there is a strict lime frame for developi ng the feas ibility study and EIS
(WRRDA 2014) and in order to comply with your request, tam appointil1g as the primary point
of contact Mr. Efratn Lopez from Preventions and Water.'1ays Division. Mr. Lopez can be
reached at 787-289-2097 or by email at Efrain.lopezl@Uscg.mil. The alternate point of contact
will be LCDR M. Randolph, Waterways Division Chiefwitb phone number 787-729-2374 or by
email atMarc.a.randoiph@uscg.mi l.

                                      Sincerely,

                                Ifi L:j/fj/~-
                                      M. 8. Zamperini
                                      Captain, U.S. Coast Guard
                                      Acting Commander, Sector San Juan

Copy: Unit file
      Chief, Preventions and Waterways Division




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                                                         USACE_001180
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From:               Powell, Richard B SAJ
To:                 Antoine Effendiantz
Subject:            Re: [EXTERNAL] RE: San Juan Harbor - Potential Widening and Deepening Measures
Date:               Tuesday, May 31, 2016 7:42:34 AM
Attachments:        image001.png
                    image002.png
                    image003.png
                    image004.png
                    image005.png
                    image006.png
                    image007.png
                    image008.png
                    image009.jpg
                    image010.jpg




Yes, we will integrate the 150-foot limit to the stern of the LNG tanker shown.

Sent from my BlackBerry 10 smartphone.
From: Antoine Effendiantz
Sent: Saturday, May 28, 2016 4:08 PM
To: Powell, Richard B SAJ
Cc: Daniel PEREZ CRUZ; Denise RODRIGUEZ
Subject: [EXTERNAL] RE: San Juan Harbor - Potential Widening and Deepening Measures


Dear Mr. Powell,



I starting evaluated the document you summated, but I would need an additional information to properly answer.

On the plan, I see the "orange line" representing the exclusion zone, but without any limit when it comes to COD.



Could you integrate this "west" limit as per following example if

1- vessel berth as proposed

2- rigourously at point A and detail distance of this limit to our berthing line in COD East?




For COD user, it is highly critical we keep having access to CODEast at every time, and we want to formalize our
answer that way. Having this required info would help modulate the answer.




thanks




                                                                                                     USACE_001181
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Antoine EFFENDIANTZ
Operations Director

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Cel: +1(787) 567-0706
Fax: +1(787) 793-4754
Email: antoine.effendiantz@tpprc.com <mailto:antoine.effendiantz@tpprc.com>




Total Petroleum Puerto Rico Corp.

 City View Plaza Tower#1,

 #48, Road PR-165
 Suite803, Guaynabo, PR 00968




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inmediatamente.



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recipient, please delete it and notify the sender immediately.



-----Original Message-----
From: Powell, Richard B SAJ [mailto:Richard.B.Powell@usace.army.mil]
Sent: Thursday, May 26, 2016 6:02 PM
To: Antoine Effendiantz
Subject: San Juan Harbor - Potential Widening and Deepening Measures



Dear Mr. Antoine Effendiantz,



The U.S. Army Corps of Engineers (USACE), Jacksonville District, requests


                                                                                                    USACE_001182
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your review of the enclosed drawing, which contains proposed widening and

deepening measures for San Juan Harbor, Puerto Rico. Please provide a

response by 3 Jun 2016.



The USACE received the initial recommendation for the attached widening

measures from the Puerto Rico Ports Authority, the San Juan Bay Pilots, and

U.S. Coast Guard representatives at a Planning Charrette on 4 Nov 2015 for

the San Juan Harbor Improvements study at the Puerto Rico Convention Center.

Subsequent coordination with terminal operators and the U.S. Coast Guard San

Juan Sector resulted in the enclosed drawing. We plan to use this drawing

as the with-project condition for ship simulation testing pending your

comments.



The location of the Liquefied Natural Gas (LNG) tanker shown southwest of

point "A" with the pipeline extending from the mid-ship section of the

docked vessel, based on the location taken from the 29 May 2015 Puerto Rico

Electric Power Authority report, would probably eliminate the need for

widening Army Terminal Turning Basin. Locating the LNG tanker's bow at

point "B" would require widening the Army Terminal Turning Basin using

either widening measure "1" or "2". The orange line around the docked LNG

tanker represents a 50 yard or 150-foot safety zone required by the U.S.

Coast Guard.



We appreciate your letter of November 16, 2015, outlining the draft

constraints experienced by your Medium Range (MR) class tankers and the

requested new mooring dolphin in the area of the Army Terminal Turning

Basin. Our staff will continue to evaluate your concerns and will contact

you with requests for additional information concerning the location of the



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collisions are caused by large ships rather than small vessels.”27 For instance, most large ship
strikes to whales result in death.28

         Ship strikes pose a serious threat to marine mammals, such as the Puerto Rico population
of Antillean manatees. The U.S. Fish and Wildlife Service (USFWS) has estimated that, over
the past thirty years in in Puerto Rico, “37% of manatees died of natural causes, 26% die[d] of
human-related causes, and 36% of [unknown] causes.”29 USFWS lists boat strikes as the
primary cause of human-caused manatee deaths in Puerto Rico.30 Naturally, the number of ship
strikes is related to the number of ships navigating in Puerto Rico’s waters. A busier harbor will
increase the likelihood that Puerto Rico manatees will suffer ship-related injury or death.
Because the Puerto Rico manatee population is small and geographically isolated, any increase in
impacts to this population is significant, and the Corps must mitigate these impacts accordingly.


        As part of its environmental review, the Corps must consider how lowering the speed of
ships entering into the Harbor may reduce the likelihood of fatal and injurious ship strikes. In
addition, the Corps should require marine observers to search for manatees within any of the
shipping channels. In addition, the Corps should recommend that, once a manatee sighted, ships
should take precautions, such as stopping their vessel to allow the manatee to pass, stopping the
vessel’s propellers, and taking any necessary steps to avoid colliding with manatees.
        .
III.The Corps Must Account for the Risk of Coral-Smothering Sedimentation Arising from
    Navigation Improvements
       San Juan Harbor is near at least two large coral communities, one off the coast of the
Puerta de Tierra beach, and another off of the coast of the Parque Nacional Isla de Cabras.31




27
   Laist et al., Collisions Between Ships and Whales, 17 MARINE MAMMAL SCI. 35, 54 (2001); Silber et al.,
Hydrodynamics of a Ship/Whale Collision, 391 J. EXPERIMENTAL MARINE BIOLOGY & ECOLOGY 11, 18-19 (2010).
28
   A.S. Jansen & G.K. Silber, Large Whale Ship Strike Database, NOAA Technical Memorandum, NMFS-OPR-25,
U.S. DEP’T COMMERCE 9, fig. 4 (2004).
29
   USFWS, Antillean Manatee Fact Sheet (Apr. 2, 2013), http://www.fws.gov/caribbean/es/manatee_factsheet.html.
30
   Id.
31
   Location of Coral Reefs—Reef Basemap, Reefbase, http://reefgis.reefbase.org/ (last accessed May 4, 2016).

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                                                                                           USACE_001205
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Figure 1-Coral Presence near San Juan Harbor



         Before approving any Harbor improvements that may involve blasting, dredging, or
offshore disposal of dredged materials, the Corps must first conduct a thorough survey of corals
in the areas that any Harbor improvements stand to directly or indirectly impact. If these studies
reveal that ESA-listed corals are present in or near the Harbor, the Corps must initiate formal
ESA consultation with the National Marine Fisheries Service and receive an Incidental Take
Statement prior to authorizing any Harbor-improvement activities.32 In addition, the Corps must
analyze and mitigate any indirect impacts to nearby corals arising from dredging-related
sedimentation. As the Corps learned during the deepening and widening of the port channels at
the Port of Miami, sedimentation from harbor improvement projects can spread great distances
away from the dredging locations, harming corals and other marine species. At the Port of
Miami, dredged material migrated hundreds of meters away from the dredging and blasting
sites.33 This sedimentation smothered corals, causing widespread total and partial coral mortality
by preventing photosynthesis, filtering, and increasing the risk of stress-related diseases.34 If the

32
   See 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(a). The Corps should also initiate section 7 consultation
regarding potential impacts to manatee populations and any other ESA-listed species the Project may harm.
33
   Dial Cordy Delineation of Potential Sedimentation Effect Area Within Middle and Outer Reef Habitats at 42
(August 2015) (sedimentation-related mortality occurred in excess of 650 meters from construction activities);
NMFS, Examination of Sedimentation Impacts to Coral Reef along the Port of Miami Entrance Channel, December
2015, Final Report at 35, 47 (April 2016) (noting sedimentation impacts in excess of 700 meters north of the port
channel).
34
   Dial Cordy Delineation of Potential Sediment Effect Area Within Middle and Outer Reef Habitats at 3 (August
2015); FDEP Report on Sites Visited in Port of Miami Expansion Project February 9, 2015; June 17, 2015, NOAA
Port of Miami Field Observations from May 19, 2015; NMFS, Examination of Sedimentation Impacts to Coral Reef
along the Port of Miami Entrance Channel, December 2015, Final Report at 8 (April 2016); Pollock, F. J., Larnb, J.

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                                                                                              USACE_001206
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the significance of the project “must be analyzed in several contexts such as society as a whole
(human, national), the affected region, the affected interests, and the locality.” Id. § 1508.27(a).
Intensity of the action is determined by considering the following ten factors: (1) impacts that
may be both beneficial and adverse. A significant effect may exist even if the Federal agency
believes that on balance the effect will be beneficial; (2) the degree to which the proposed action
affects public health or safety; (3) unique characteristics of the geographic area such as proximity
to ecologically critical areas; (4) the degree to which the effects on the quality of the human
environment are likely to be highly controversial; (5) the degree to which the possible effects on
the human environment are highly uncertain or involve unique or unknown risks; (6) the degree
to which the action may establish a precedent for future actions with significant effects or
represents a decision in principle about a future consideration; (7) whether the action is related to
other actions with individually insignificant but cumulatively significant impacts; (8) the degree
to which the action may adversely affect districts, sites, highways, structures, or objects listed in
or eligible for listing in the National Register of Historic Places or may cause loss or destruction
of significant scientific, cultural, or historical resources; (9) the degree to which the action may
adversely affect an endangered or threatened species or its habitat that has been determined to be
critical under the federal Endangered Species Act; (10) whether the action threatens a violation
of Federal, State, or local law or requirements imposed for the protection of the environment. 40
C.F.R. § 1508.27(b)(1)-(10).

In the case of the Feasibility Study to widen and deepen San Juan Harbor, the applicability of at
least two of the significance factors (impacts to a species listed under the ESA and cumulatively
significant impacts) indicates that the Corps must prepare an EIS. The presence of one or more
significant effects can trigger the need for a full EIS. See, e.g. Nat’l Parks & Conserv. Ass’n. v.
Babbitt, 241 F.3d 722, 731 (9th Cir. 2001) (either of two significance factors considered by the
court “may be sufficient to require preparation of an EIS in appropriate circumstances”);
Anderson v. Evans, 350 F.3d 815, 835 (9th Cir. 2003) (presence of one or more factors can
necessitate preparation of a full EIS). If the Crops does not prepare an EA or EIS for this permit,
the agency has abrogated its duty to fully analyze the impacts of, alternatives to, and mitigation
measures for the action. 40 C.F.R. §§ 1502.14, 1502.16, 1508.7, 1508.8.

The Center strongly urges the Corps to prepare an EIS for this project, which would include
complete scientific substantiation for the project, a thorough analysis of all direct, indirect, and
cumulative environmental impacts, and consideration of a full range of alternatives to the
project. Moreover, to meet its NEPA obligations, the NEPA document must be made available
for public review and comment. See, e.g. Anderson v. Evans, 314 F.3d 1006, 1016 (9th Cir.
2002) (“the public must be given an opportunity to comment on draft EAs and EISs”). Following
is a description of some, but not all, of the potentially significant environmental impacts of the
proposed action.

   a. Impacts to threatened corals are significant.

The EA’s conclusion that there will be no significant impacts on corals is arbitrary. The Corps
acknowledges that the project will affect ESA-listed coral species, but arbitrarily discounts those
effects. Corals are deeply imperiled and the project will adversely affect threatened corals by
increasing sedimentation and smothering corals.



                                                 2                                 USACE_001250
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San Juan Harbor is near at least two large coral communities, one off the coast of the Puerta de
Tierra beach, and another off of the coast of the Parque Nacional Isla de Cabras.1 Although the
Corps focuses its abbreviated analysis on Acropora cervicornis, the agency needs to
comprehensively analyze the impacts on all listed corals.

The Corps must comprehensively analyze impacts to nearby corals arising from dredging-related
sedimentation in a full EIS. As the Corps learned during the deepening and widening of the port
channels at the Port of Miami, sedimentation from harbor improvement projects can spread great
distances away from the dredging locations, harming corals and other marine species. At the
Port of Miami, dredged material migrated hundreds of meters away from the dredging and
blasting sites.2 This sedimentation smothered corals, causing widespread total and partial coral
mortality by preventing photosynthesis, filtering, and increasing the risk of stress-related
diseases.3 The vessels transporting dredged material to the disposal site will also leaked dredged
material and create turbidity and sedimentation that needs to be analyzed.

The Corps impermissibly relies on an outdated 150-meter impact zone. The Corps relies on old
information from Key West and Port Everglades that are no longer appropriate. The best
available science demonstrates that the Project will cause sedimentation and other harmful
impacts to corals beyond 150-meters from dredging activities. Nonetheless the Corps and NMFS
used a 150-meter “impact” zone to estimate impacts of the Port Everglades project. Specifically,
scientific monitoring of impacts on corals from the similar Port of Miami channel widening
project demonstrated that the footprint of adverse impacts to coral habitat and corals extended far
beyond 150-meters. Monitoring at the Port of Miami showed that Project sedimentation
impacted corals well beyond the 150-meter mitigation zone, causing the Corps to re-initiate
consultation.4 The Crops’ reliance on old NMFS findings that effects on corals would be
“insignificant” is arbitrary given the new information and newly listed corals. The Agencies’ use


1
  Location of Coral Reefs—Reef Basemap, Reefbase, http://reefgis.reefbase.org/ (last accessed May 4, 2016).
2
  Dial Cordy Delineation of Potential Sedimentation Effect Area Within Middle and Outer Reef Habitats at 42
(August 2015) (sedimentation-related mortality occurred in excess of 650 meters from construction activities);
NMFS, Examination of Sedimentation Impacts to Coral Reef along the Port of Miami Entrance Channel, December
2015, Final Report at 35, 47 (April 2016) (noting sedimentation impacts in excess of 700 meters north of the port
channel).
3
  Dial Cordy Delineation of Potential Sediment Effect Area Within Middle and Outer Reef Habitats at 3 (August
2015); FDEP Report on Sites Visited in Port of Miami Expansion Project February 9, 2015; June 17, 2015, NOAA
Port of Miami Field Observations from May 19, 2015; NMFS, Examination of Sedimentation Impacts to Coral Reef
along the Port of Miami Entrance Channel, December 2015, Final Report at 8 (April 2016); Pollock, F. J., Larnb, J.
8, Field, S. N., Fleron, S. F., Schaffelke, 8., Shedrawi, G., & Willis, B. L. (2014). Sediment and turbidity associated
with offshore dredging increase coral disease prevalence on nearby reefs. PloS ONE, 9(7), e102498 (corals exposed
to dredging-related sedimentation are twice as likely to develop disease); DERM Report on Opportunistic
Hardbottom/Reef Inspections (July 2014) (dredging-related sedimentation can “increase diseases in corals”).
4
  Florida Department of Environmental Protection, Field notes on impact assessment in Miami Phase III Federal
Channel Expansion Permit #0305721-001-BI. 39pp (18 August 2014) (impacts extended beyond 200 meters);
Miami-Dade Department of Regulatory and Economic Resources, Division of Environmental Resources
Management, US Army Corps of Engineer’s Port of Miami Channel Deepening Project: Report on Opportunistic
Hardbottom/Reef Inspections 10pp. (July 2014) (sedimentation impacts extending to 450 meters); National Oceanic
and Atmospheric Administration, Port of Miami Acropora cervicornis Relocation Report, Final Report 15pp. (13
February 2014) (noting sedimentation impacts extending beyond 200 meters).



                                                           3                                      USACE_001251
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of an inadequate impact zone resulted in a vast underestimate of the true harmful impacts of
dredging activities on corals.

The Corps’ reliance on a management plan is insufficient to fully mitigate the adverse impacts
on corals. The project’s impacts on threatened corals triggers the need to prepare a full EIS.

    b. The project will have significant effects on endangered marine mammals.

The Corps must also consider the effect of increasing the size and number of ships calling at the
Harbor as is relates to the increased risk of harm from ship strikes. Ships striking and killing or
maiming marine species is a serious, prevalent problem that the Project may worsen in the
Harbor area as a result of this project. The EA fails to consider that the operation of the widened
and deepened channel will harm Antillean manatees. Vessel collisions are a leading cause of
mortality and injury for manatees.

Higher traffic volumes of larger ships in the shipping lanes leading up to and within the Puerto
Rico area will increase the risk of collisions with marine species. Larger vessels account for a
disproportionate number of ship strikes—especially fatal ship strikes.5 Partly due to their greater
weight and partly because of their decreased maneuverability, “most, if not all, lethal collisions
are caused by large ships rather than small vessels.”6 For instance, most large ship strikes to
whales result in death.7

Ship strikes pose a serious threat to marine mammals, such as the Puerto Rico population of
Antillean manatees. The U.S. Fish and Wildlife Service (USFWS) has estimated that, over the
past thirty years in in Puerto Rico, “37% of manatees died of natural causes, 26% die[d] of
human-related causes, and 36% of [unknown] causes.”8 USFWS lists boat strikes as the primary
cause of human-caused manatee deaths in Puerto Rico.9 Naturally, the number of ship strikes is
related to the number of ships navigating in Puerto Rico’s waters. A harbor accommodating
larger ships will increase the likelihood that Puerto Rico manatees will suffer ship-related injury
or death. Because the Puerto Rico manatee population is small and geographically isolated, any
increase in impacts to this population is significant, and the Corps must mitigate these impacts
accordingly.

It is insufficient to mitigate only the impacts of dredging and construction, a full EIS must also
disclose the impacts of vessel traffic on manatees. First, the assumption that vessel traffic will
decrease is incorrect because even though there are larger vessels there will be an increase in
vessel traffic to meet growing demands. Second, even assuming fewer vessels, the larger vessels


5
  Laist et al., Collisions Between Ships and Whales, 17 MARINE MAMMAL SCI. 35, 54 (2001); Silber et al.,
Hydrodynamics of a Ship/Whale Collision, 391 J. EXPERIMENTAL MARINE BIOLOGY & ECOLOGY 11, 18-19 (2010)
(ship size correlated to risk and severity of ship strike)
6
  Laist et al., Collisions Between Ships and Whales, 17 MARINE MAMMAL SCI. 35, 54 (2001); Silber et al.,
Hydrodynamics of a Ship/Whale Collision, 391 J. EXPERIMENTAL MARINE BIOLOGY & ECOLOGY 11, 18-19 (2010).
7
  A.S. Jansen & G.K. Silber, Large Whale Ship Strike Database, NOAA Technical Memorandum, NMFS-OPR-25,
U.S. DEP’T COMMERCE 9, fig. 4 (2004).
8
  USFWS, Antillean Manatee Fact Sheet (Apr. 2, 2013), http://www.fws.gov/caribbean/es/manatee_factsheet.html.
9
  Id.



                                                      4                                    USACE_001252
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their baleen plates with oil, thereby decreasing their ability to eat (Geraci and St. Aubin 1988,
NOAA 2010b). Manatees are at risk from fouling the sensory hairs around their mouths which
are important for detecting edible seagrasses. Cetaceans may ingest oil-contaminated
zooplankton and fish prey, leading to gastrointestinal inflammation, ulcers, bleeding, diarrhea,
and maldigestion (Geraci and St. Aubin 1988, NOAA 2010b). Long-term studies of killer whales
impacted by the Exxon Valdez spill indicate that oil spills can have long-term, population-level
effects on marine mammals. A resident killer whale pod that suffered a 33% loss in the year
following the Exxon Valdez spill had not recovered to pre-spill numbers sixteen years after the
spill, while a transient pod that experienced a 41% loss, including reproductive-age females, has
continued to decline toward extinction since the spill (Matkin et al. 2008).

The potential for larger volume oil spills is greatly increased by widening and deepening the
harbor. Not only will larger ships be able to come into the harbor, but they will also be transiting
in the ocean where whales occur and along the coast with potential impacts on sensitive coral
reef ecosystems.

   f. The cumulative effects of numerous widening and deepening harbor projects must
      be evaluated.

The cumulative effects of connected widening and deepening must be evaluated in a full EIS.
The Corps’ evaluation and approval of widening and deepening ports throughout the coastal US
are connected actions that should be evaluated in a programmatic EIS. Cumulative
environmental effects can be defined as effects on the environment which are caused by the
combined results of past, current and future activities. 40 CFR §1508.7. There are numerous
feasibility studies occurring at ports and harbors throughout the United States to widen and
deepen navigation channels to allow larger vessels. These actions are all related and foreseeable.
Additionally, many will have impacts in multiple locations for species that migrate. Specifically,
with more of these larger vessels being able to go into numerous ports, this will increase vessel
traffic in the ocean that will be louder and more likely to collide with marine mammals.


   II.      The EA is inadequate to meet the Corps’ obligation to take a hard look at the
            environmental impacts.

The EA fails to consider important information and it makes conclusions that are contrary to fact.
There are several shortcomings in the EA, some of which are described in the above sections.

First, the agency’s reliance on a 150-meter buffer zone is inadequate and the recent information
from Port of Miami renders reliance on old analyses outdated and arbitrary. Corals have
beendocumente din the area. Sedimentation and water quality issues have been identified far
beyond 150-meters from similar dredging projects. Dredged materials will leak off of the vessel
taking them to the disposal area and affect listed corals. Thus, the impacts on ESA-listed corals
are underestimated.

Second, the agency concedes that seagrass habitat will be affected, but it fails to consider the
impact of losing seagrasses on manatees.



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Mr. Eric Summa
Page 3


Timeline for issuing the request for proposal (RFP) for the project is scheduled to start on
April 2018, alongside with perm its and commencemenl of detailed studies for design. PREPA's
current implementation schedule for the project is as follows:

                         Project Task                     I                Schedule
 1.   Plannin g                                               Will resume on February 201B
 2.   Proc urem ent of the private company for the P3         Start date: April 2018
 3.   Permitting (detail ed studies for filing)               Start date: April 2018
 4.   Conceptu al design and required studies                 Starting month: May 2018
 5.   P3 co ntract establishment                              March 2019
 6.   Detail ed design                                        Start date: March 2019
 7.
                                  ----
      Detailed design c ompleted all system s
                                                                        -- -
                                                              September 2020
 8.   Permitting final approval                               February 2021
 9.   Constru ction                                           From April 2021 to April 2024
 10. Commercial Operati on                                    April 2024

The above mentioned schedule describes the development of the terminal in San Juan harbor
for receiving , storing, and gasification of LNG project. However, PREPA has already been
investing in converting the existing units for natural gas use. As an example, dual fuel
combustors have already been purchased for San Juan combustion turbine units 5 & 6, for both
natural gas and distillate No. 2 oil use. Also, modifications to the inside housing auxiliaries on
each combustion turbine are on-going considering space requirements of natural gas piping and
auxiliaries.

PREPA hereby confirms that the Federal Navigation Project, which includes the Army terminal
widening and deepening, is of outmost importance and hence required for both permitting and
the cost benefit of the San Juan LNG project to our end customers, which is the entire people of
Puerto Rico . If the Federal Navigation Project is not constructed , in order for PREPA to sustain
the reliability of the electric grid in the north area of Puerto Rico, PREPA will be forced to
convert its existing No. 6 fuel oil-fired steam units in San Juan and Palo Seco Power Plants to
use No. 2 light distillate oil (diesel).

The Federal Navigation Project channel widening and deepening is required for PREPA to
pursue the use of currently available 125,000 to 135,000 cubic meter capacity LNG vessels or
larger. Larger LNG vessels will translate in fewer port calls to San Juan harbor (about 1 per
month or less, but no more than two per month). Not having the Federal Navigation Project,
without the corresponding channel widening and deepening, will prevent these LNG large
vessels to transit through the San Juan harbor, which will result in requesting a much higher




                                                                                  USACE_001280
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Mr. Eric Summa
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number of port calls of smaller vessels. This will in turn result in a permitting challenge due to
the already congested San Juan harbor transit.

PREPA is not optimistic in achieving permitting for frequent port calls of smaller LNG vessels,
as it is well expected that the United States Coast Guard (USCG) would be reluctant to
authorize a higher number of port calls for LNG vessels to enter San Juan harbor, as LNG
exclusions zones will still apply to the harbor's transit. Moreover, due to the unavailability of
smaller LNG carriers in the market, the only option would be to secure fabrication of not less
than two vessels for continuous and dedicated use for PREPA. Such vessel costs are not
included in the $350 million estimate, which would make the project not feasible for lowering
electricity costs.

In terms of cost benefit to our clients, the project's importance goes beyond any return-of-
investment on a project development, it is the resulting kilowatt-hour rate to Puerto Rico's
residential, commercial, and industrial customers. A lower and feasible electricity rate using
LNG can only be achieved with reliable LNG availability and adequate receiving means. In fact,
transporting and receiving LNG in large or bulk quantities will greatly reduce transportation
costs, which are also lower with a higher number of available market vessels. An adequate
number of vessels in the LNG industry require the widening and deepening of San Juan harbor,
which can be achieved with the Federal Navigation Project The return-of-investment for this
project will be its positive contribution to the economic growth of Puerto Rico.

We are confident that the details provided above will provide the USACE with more information
on this important project for Puerto Rico. If you need more information or would like to further
discuss this or other matters related to the San Juan LNG project, please contact engineer Jose
Vazquez-Vera at (787) 521-7749 or by email atjvazquez12333@aeepr.com.

Sincerely,



J~t~~G~~~-''l~
Acting Executive Director


c   Efran Paredes-Maisonet
    William Rios-Mera




                                                                                USACE_001281
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 Final Integrated  Report 
      Environmental Assessment


              APPENDIX X
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                                     ESTAUO LIHRB ASOCIADO DR
                                 PUERTO                        RICO
                                     JUNTA 01: CAUDAD AMBIENTAt




            14 de cncro de 2015



            Sf. Nelson R. Col6n
            Gerentc de Proyecto
            Cucrpo de Tngenieros del E:jcrcito de los
            Estados Unidos de America
            Distrito de Jacksonville
            701 San Marco Blvd.
            Jacksonville, Florida 32207

            Re;         Certificado de Calidad de Agu.
                        Proyecto de Mitigaci6n para el Puerto de San Juan
                        San.J uan, Puerto Rko

            Estimado Sf. Co16n:

            Hemos recibido y evalllado la solicitlld de Certifieado de Calidad de Agua para un permiso del
            ClICqXl de Ingenieros del Ejercito de los Estaclos Unldos para realizar actividades de dragado y
            dep6sito de material ell aguas de los Estados Unielos como parte del proyecto de l11itigaci6n para .
            el Puerto de San Juan en el municipio de San Juan, Puerto Rico. EI proyecto de mitigaci6n
            consiste en rellenar las depresiones artificiales que existen en la porci6n norte de la Laguna del

&If •
        .   Condado. Como parle del proyccto sc dcpositaran aproximadamente 46,000 yardas cltbicas de
            material dragado para rellenar aproximadmnente 4 acres de las depresiones antes rnencionadas y



~
            aSi crear aproximadamente 1.2 acres de habitat para eI desarrollo natural de vegctaci6n acw\.tica
            a una profundidad de 12 a 15 pies. Elmaterial de relleno que sc lItilizan'l, cl eual en su mayoria
            es arena, se extraer~ del material aC1I111111ado naturalmente en el area de la Peninsula La
{           Esperanza en 13 Bahia de San Juan .

            Para el drctgado y tnmsporte del material dragildo se considcra utilizar varios metodos, Print la
            extracci6n del material en eI area de la Peninsu la La Espcranza sc pOOria cstar utilizando tubcrias
            de sllcci611 0 equ ipo mecanico. El trans porte del material se considera realizar mediante una
            combinaci6n de barcaza y eI bombeo a traves de una tuberia notante ylo surnergida a 10 largo
            del Canal de San Antonio lwsta la Laguna del COlldado. Cabc scnalar que eJ CuerlX> de Ingenicros
            normalmente no especifiea cl tilX> de e<)uipo de dragado que sc utilizara para lIevar a cabo las



            Edifldode A&eMin Ambfemalu Cruz A. II\' I'"
            Urb. S.n J"'~ IndllS{rlall'~rk, Aw. I'once de Lcli<1 137:>, SJlI J"an, PR 00926·2604
            " .O,llm; lH8J!, s.uJ" . n, PR 00910
            Td. 71Q-767·8181, F.x 7tJ-767-186J
            ,,~vw.jGl_!:{]bkrn"-rr
                                                                                                   USACE_001285
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        Sr. Nelson R. Colon
        Proyecto de Mitigacion para el Puerto de San Juan
        Pagina 2


        actividades y eJ metodo que se utilizara fmahncnte, ya que cimislllo cstan1 dctenninado POl' el
        equipo mas adecuado y competitivo disponible almomento de realizar la actividad.

        Los objctivos del proyccto SOil restal1l'ar Ja profundidad original en la zona de la uguna del
        Condado con el fin de promover el restablecimiento de la vegetaci611 acuMica tlpica de la zona y
        compcnsar los 1.2 acres de hiervas marinas (Halophila decipiens) y macro algas que fueron
        afectados durante el dragado y la ampliad6n del Canal de Puerto Nuevo en la Dahia de San Juan.

        El area de cxtracci6n de material cstara localizado en eJ area de la Peninsula La Esperanza al sur
        (Ie las faeilidades de Bacardi y al norte del pueblo de Catano, Puerto Rico, en la latitud
        18°26'59.39" Norte y longitud 66°07'59.98" Oeste. Las depresiones artificiales a sel' rellenadas
        estan localizadas en la parci6n norte de la Laguna del Condudo al sur de la Avenida Ashford y
        norte de la Avenichl Daldorioty ell el municipio de San Juan, Puerto Rico, en la latitud
        18°27'29.71" Norte y longitud 66°04'44.56" Oeste

    .   Los cuerpos de agua donde se lIcvara a cabo eI proyecto, Bahia de San Juan y la Laguna del

          alidad de Agua de Puerto Rico, segt'In enmendado.

i       Conformc a 1a Secci6n 401 (a) (1) de ta Ley Federal de Agua Limpia (Ia Ley), posterior a In debida
        consideraci6n de los limites de enucnte 0 estandares cstablecidos bajo las Secciollcs 301, 302,
        303,306 Y 307 de la Ley, si alguno, y luego de tomar en consideraci6n Ia c1asificaci6n aplicable
        y estandares que regulan la calidad de las aguas de Puerto Rico, se ccrtifica que ex..iste una
        scguridad razonablc, segt'l11 detcrminado poria JUllta de Calidad Ambiental, de que eI proyecto '
        pennitido no cansara violaciones a los estandares de calidad de agua aplicables si se cumplen COil
        las limitaciones de la Tabla A-J. Las condiciones cspccificadas en hi tabla antes mencionada,
        debcran ser incorporadas ell cI penniso federal para satisfaccr las disposiciones de la Secci6n 401
        Cd) de I. Ley.

        Esta certificaci6n aplica solamcnte a los efectos que esta act:ividad pudiera tener en la calidad de
        las aguas, y no a olms efectos ccol6gicos, biol6gicos 0 3!1lbicntales quc puedan resultar del
        proyecto.




                                                                                           USACE_001286
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Sr. Nelson R. Co16n
Proyecto de Mitigaci6n para cI Puerto de San Juan
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Esta Junta se resetva eI derecho de comentar en fceha posterior sabre algun otro aspecto
ambiental del proyecto.



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    Lcda,'Suzette M, Melelld~~
                                                      ~-::~:e~-6/
          Vicc-Presidenta                                 Miembro Asociado




                                         Presidente



HJCAldcc

c: Sr. Sindulfo Castillo, COE




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Proyecto de Mitigaci6n para eI Puerto de Sail Juan
Pagina 4


                                         TABLA A-I

                   PlillAMETRO                                  LTMITACI6N

. Aceite y Grasa                                 J....as aguas de Puerto Rico debenln cstar
                                                 substancialmente libres de aceites y grasas
                                                 notantes no dcrivados del pctrolco, asl como de
                                                 aceitcs y gra ~.;as derivados del pctr6lco.

Agentes Tensoactivos como Sustancias             No cxcedera 500 rglL
Reactivas con Azul de Metileno

Color                                            No debcni ser alterado, cxcepto par causas
                                                 naturales.

Oxigcllo Disuclto                                Contendrci no menos de 4.0 mgIL cxccpto
                                                 cuando causas naturales ocasioncn una
                                                 dcprcsi6n en cstc valor.

pH                                               En ningl1l1 momenta el pH cstan\ Cucra del
                                                 rango de 7.3 a 8.5 unidadcs estandares de pH,
                                                 excepto cuando sea alterado POl' causas
                                                 naturales.

S6lidos Suspendidos, Coloidales 0               los s6lidos provcnicntes de las actividades no
Sedimentables                                   deben\n ocasionar asentamientos, 0 pcrjudicar
                                                los usos existcntes 0 designados de los cuerpos
                                                de agua.

S6lidos y Otras Materias                        No deben1.11 contencr escombros flotantcs,
                                                desechos u otros materiales notantes
                                                atribuibles a descargas en cantidades
                                                sllficientes que resulten desagradables       0
                                                puedan perjudicar los usos e.xistentes        0
                                                designados del Cllerpo de aglla.




                                                                              USACE_001288
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Sr. Nelson R Col6n
Proyecto de Mitigaci6n para el Puerto de San Juan
Pagina 5


                 rARAMmRo                                          LlMITAcr6N

 Substancias que Provocan Sabor u Olar             No deben'm estar prescntes en cantidades que
                                                   interfieran Call el uso de recreaci6n de contacto
                                                   primario, 0 que pueda ocasionar cll<llquier
                                                   sabol' u alar indeseable a la vida acuatica
                                                   comestible.

 SuJratos                                          No excedenl 2,800 mglL. excepto POI' causa de
                                                   fCI16menos nahlrates.

 Temperatura                                      Exccpto por causas naturales, no se Ie
                                                  transferid calor a las aguas de Puerto Rico que
                                                  pueda ocasionar que la temperatura en
                                                  cliaiguier lugar exceda los 9WF 0 32.2·C.
                                                  Adcmas, ninguna descarga tCfmai 0
                                                  combinad6n de descargas termaies en 0 dcntro
                                                  de las aguas costancras. cstuarinas y
                                                  slIpcrficiaJcs sera pcrjudicial a Ja vida acuatica,
                                                  o al cultivo 0 propagaci6n de una comunidad
                                                  indigcna balanccada de las l11ismas, ni de
                                                  ninguna otra forma ofectani los usas
                                                  designadas.

 Turbiedad                                        No excedera de las 50 uludades Ilefelomctricas
                                                  de turbiedad (NTU), exccpto por causa de
                                                  fen6mcl1os naturales.

Condiciones EspcdoJcs

1. La Junta de CaUdad Ambicnt~ll OCA) al cmitir cste Ccrtificado de Calidad de AgUll (CCA),
   no releva al solkitonte, Olel'po de Ingenieros del Ejercito de los Estados Ullidos de America,
   de Sll reqxlnsabilidad de obtencr pennisos y/o autorizaciones adiciollales de la JeA u otras
   agencias estatales 0 fedcralcs, seglll1 requerido por Icy. La elllisi6n del CCA no pucdc
   cOllsiderarsc como una autorizaci6n para Jlevar a cabo actividades que no estell
   cspccificanlcnte cubiertas en eJ CCA.




                                                                                 USACE_001289
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 Sr. Nelson R. Col6n
 Proyecto de Mitigaci6n para eI Puerto de San Juan
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2.      El solicitantc, debera:

       a. Obtener la aprobacion de Ull Permiso General Consolidado confonne : 11 Reglamento
          para el Tr{ul1itc de los PCfmisos Generales.

       b. Tomar las medidas Ilccesarias durante la fase de constmccion, para evit<1r que
          residues de sustancias organicas e illorganicas, tales collle aceites, combustibles u
          otras sustancias qui micas, puedan SCI' arrastradas lXJt' la escorrentia y ganen acceso a
          un cucfj.JO de <1gua.

       c. De tener alguna descarga de escorrentia proveniente de una (lctividad de construccioll
          a cuaJquier cuerpo de agua, debcnill cOllsultar con la Agenda Federal para Ja
          Protecci6n Ambiental para determinar si dicha descarga requiere Ull permiso NPDES
          confortllc .140 crn Sccci6n 122.26 (b)(14)(X).

       Las Iimitaciones y condiciones especiales eslablecidas en este CCA entradn en vigencia
       a partir de la Fecha de Efectividad del Penlliso clllitido IJOf c1 CucrlX> de Jngenieros (COE,
       par sus siglas en ingles) y expiran1. en el ticmpo designado por eJ COE. Elmismo podra
       seL' renovado, a solicitud del peticionario. conformc a las Reglas y Reglamentos ApJicablcs
       a [a fceha de radicaci6n de la nueva solidtud.

4.     Las condicioncs de esle CCA SOil cOllsideradas cada una indcpendicntemcntc de las
       demas. POI' 10 tanto, si la aplicabiJidad de cualquicr cOlldici6n de este CCA quedara sin
       cfccto debido a cualquier circullstancia, las restantes condiciones no se ven1.n afectadas.

5.     El solicit:mte deben'l cumplir con las condiciones especiales antes mencionadas. De no
       haccrlo asi, el CCA conccdido par la JCA sed\ Ilulo inmediatamentc.




                                                                                    USACE_001290
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                     United States Department of the Interior

                             FISH AND WILDLIFE SERVICE
                                    Caribbean Ecological S~rvices
                                            Field Office
                                            P.O. Box 491
                                        8oqueron, PR 00622
                                            JUN '1 2018

In Reply Refer To:
FWSfR4/CESFOl n 127-002


Coloncl Jason A. Kirk
District Commander
US Anny Corps of Engineers
Jacksonville District
70 1 San Marco Boulevard
Jacksonville. Florida 32207-81 75
                                                Re: Coordination Act Report for the San Juan
                                                Harbor Navigation Project, San Juan, Puerto Rico
Dear Col. Kirk:

The Department of the Interior, U.S. Fish and Wi ldlife Service, has prepared the enclosed the
final Fish and Wildlife Coordination Act (FWCA) report for the proposed San Juan Harbor
Navigation Project. This project proposes deepening of entrance cut #6, the widening of the
Army Terminal channel and turning basin and the 1,050 foot federal expansion of jurisdiction of
the San Antonio channel. This report fulfill s the requirements of section 2(b) of the FWCA (48
Stat. 401 , as amended: 16 U.S.C. 66 1 e( seq .) and represents the Secretary of the Interior' s report
to Congress on the San Juan Harbor Navigation Study.

We ask that the Corps incl ude the report as the findings of the Secretary of the Interior in the
Ch ief on Engineers Report. We are providing the Corps a concurrence letter for the compliance
of Sectio n 7 of the Endangered Species Act on a separate correspondence.

If you have any questions feel free to contact Felix Lopez of o ur office at 787-58 1-7297 x2 1O.

                                                Sincerely.




!hI
                                          ~iMunlZField Supervisor




                                                                                      USACE_001337
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Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project


4.1.1 Anegado Channel
There is no widening being proposed for this segment. However, deepening is being proposed
from the current 40 foot depth to 41-45 feet. There is no information regarding the marine
habitat currently found at these depths, but the constant ship traffic and sediment resuspension
caused by vessels would rule out substantial habitat or habitat value.
This channel is a transit area for the Antillean manatee. The Corps has discounted the need for
blasting in this channel segment. Work to be done in this area should follow the cautionary
measures outlined in Appendix A “Standard Manatee Construction Conditions.

4.1.2 Army Terminal Channel and Turning Basin
The Army Terminal Turning Basin is being proposed for expansion and deepening to 40-45 feet.
This is to accommodate larger ships and a proposed LNG vessel for the Puerto Nuevo power
plant. Final design of the LNG berth is pending. The Sabana Approach will also be deepened
from 34 to 45 feet. The Sabana Approach may be expanded by a private developer proposing to
bring in compressed gas liquid (Guaynabo Gas Port). This project was presented in a San Juan
COE October 2016 Interagency Meeting. While this is not part of the San Juan Harbor Project,
the Corps should remain aware of this since it represents additional dredging and may conflict
with the project dredging schedules. The Army Terminal Channel is being proposed to be
expanded 50 feet on both sides of the channel for a total of 100 feet. The eastern side of the
channel faces Punta Cataño, a shoal area known as Escollo Grande which is only 1-2 feet deep
and was reported to have SAV by the Service (1993 CAR) for the previous San Juan Harbor
project. According to the nautical chart this bottom is marked as “foul” with submerged
obstacles. The proposed 50 foot expansion in this area may indirectly impact the Escollo Grande
shoal due to dredging activities, slumping and increased erosion from ship wakes.

4.2 Proposed Dredged Material Placement Sites
The offshore disposal at the San Juan ODMDS located a few miles north of the harbor is the
preferred disposal method. The U.S. Environmental Protection Agency (EPA) will have to be
consulted for the use of the ODMDS site. Given the off shore nature and depths at the ODMDS,
disposal at this site would not impact species under the purview of the Service. The use of the
San Juan ODMDS is currently the least cost alternative and preferred disposal method. Of the
previously proposed dredged material disposal areas, only the Condado Lagoon site has made it
to the RP.

4.2.1 Condado Lagoon Depressions
According to the Corps, the restoration of dredged pits or holes in Condado Lagoon which is tied
to previous Corps San Juan Harbor dredging works; it is still pending. We recommend that the
pending mitigation be included in the upcoming San Juan Harbor project. The Condado Lagoon
has about 32 acres below the depth of 15 feet, some areas reaching 35 feet in depth, the result of
past dredging activities for the hotel development of the Condado area. The pending mitigation
for the previous dredging project will not be able to restore the entire impacted area. However, if
additional material is used from this current proposed San Juan Harbor dredging and expansion,
there may be additional mitigation benefits to Condado Lagoon from an increase in shallow
May 2018                                                                                           10
                                                                                 USACE_001347
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Within the U.S., green sea turtles nest in small numbers in the U.S. Virgin Islands and Puerto
Rico. Green sea turtles are generally found in fairly shallow waters (except when migrating)
inside reefs, bays, and inlets. The green sea turtle is attracted to lagoons and shoals with an
abundance of marine grass and algae. Open beaches with a sloping platform and minimal
disturbance are required for nesting.

Hawksbill Sea Turtle

The hawksbill sea turtle was federally listed as an endangered species on June 2, 1970 (35 FR
8491). The hawksbill is found in tropical and subtropical seas of the Atlantic, Pacific, and Indian
Oceans. The species is widely distributed in the Caribbean Sea and western Atlantic Ocean.
In the Wider Caribbean, adult hawksbills have been reported as typically weighing around 176
pounds or less; hatchlings average about 1.6 inches straight length and range in weight from 0.5
to 0.7 ounces. The carapace is heart shaped in young turtles, and becomes more elongated or
egg-shaped with maturity. The top scutes are often richly patterned with irregularly radiating
streaks of brown or black on an amber background. The head is elongated and tapers sharply to
a point. In the U.S. Caribbean, hawksbill nesting occurs on beaches throughout Puerto Rico and
the U.S. Virgin Islands.

Antillean Manatee
The Antillean manatee is currently considered as a threatened species (82 FR 16668). The
Antillean manatee is also protected under the U.S. Marine Mammal Protection Act (16 USC §
1361 et seq. 1976 & supp. V 1981) and listed as endangered by the International Union for
Conservation of Natural Resources (Self-Sullivan and Mignucci 2008). The species is also listed
as endangered by the PRDNER (2004).
While the Antillean manatee has been reported to occur in Puerto Rico since Spanish exploration
(Powel et al. 1981), except for anecdotal descriptions, the historical population size is unknown.
Aerial surveys to estimate the population size have been completed and current preliminary
results estimate a mean population size of 532 individuals with a 95% confidence interval of 342
to 802 (Pollock et al. 2013). The Antillean manatee population in Puerto Rico is considered
stable (USFWS 2016).
Manatees are obligate herbivores (Bonde et al. 2004) and are efficient in the gathering and
consumption of submerged aquatic vegetation (Marshall et al. 2000). Antillean manatees in
Puerto Rico primarily feed on seagrass and require freshwater sources, neither of which is
considered a limited resource in Puerto Rico (Drew et al. 2012). The Antillean manatee
performs most activities (i.e., feeding, drinking, resting, calving) within shallow coves and bays
characterized by low-energy waves (Lefebvre et al. 2000), but also travel through open, deep
marine waters. Local movement patterns show alternating use between seagrass beds for feeding
and freshwater sources for drinking (Slone et al. 2006). During a manatee expert elicitation
process (Drew et al. 2012), manatees were described to regularly traverse deep water when
moving between local sites or resources, do not feed or rest in waters deeper than 13 m (42.7 ft),
and spend the majority of their time in waters less than 5 m (16.4 ft) deep (Drew et al. 2012).
The SJB is located within the range of the Antillean manatee in Puerto Rico. Drew et al. (2012)
identified areas in Puerto Rico which include the three key ecological attributes (i.e. seagrass,
freshwater, shelter) necessary to support manatee populations and identified areas where take can
May 2018                                                                                          18
                                                                                  USACE_001355
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be reduced from watercraft related threats. Waters within San Juan were described to provide a
high shelter value for manatees and a high motorized watercraft threat. Waters within San Juan
were not associated with having a significant source of seagrass, but have at least one or more
freshwater sources for manatees to drink from. The SJB may also have other potential feeding
sources besides seagrass, for example, certain algae or freshwater plants.
The number of manatees that transit or reside within the SJB is unknown. Due to the high
turbidity waters of the SJB, manatee counts during aerial surveys are low. However, we know
that manatees are found within the SJB from Isla de Cabras to the Rio Puerto Nuevo channel
mostly from public reports, dredging and construction project monitoring reports, USCG
anecdotal reports from their dock area, and mortality reports.
For example, from August 16 to August 18, 2006, four males and one female adult Antillean
manatees were found dead in the SJB area. The cause of death for these animals was determined
to be human related due to a large boat impact. Dead manatees showed signs of blunt trauma
and large boat propeller scars. When a single female is associated to a group of males, they are
forming a mating herd and the manatees are extremely active and thus making themselves more
visible. This event, although unfortunate, serves as part of the evidence that manatees do use the
San Juan Bay area. This accident may have been prevented by following idle speed zones within
the San Juan Bay and/or by having an observer on board while transiting in that area.
The specific use of the SJB by manatees has not been studied in detail as opposed to other areas
like Ceiba and Guayanilla, where manatees have been captured and released with radio tracking
devices (Slone et al. 2006). Together with the PR-DNER and the PR Manatee Conservation
Center, the Service has proposed to capture manatees in the SJB area, conduct health
assessments tests, and release and follow them with the use of satellite tracking devices. There is
current data on one rehabilitated and released sub-adult male manatee (Aramaná) that was using
the SJB and was tracked with satellite technology, this data contributes to our understanding of
manatee use within the SJB area (see Fig. 9).




May 2018                                                                                        19
                                                                                 USACE_001356
       Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 106 of 285




                    GOVERNMENT OF PUERTO RICO
                    Depa r tment of Natural and Env i ronmenta l Re so urces




      February 12, 2018



      Co lonel Jason A. K irk
      U.S. Ann)' Corps of Engineers
      Jacksonv ille D istrict
      Attn: CESAJ-OD-E
      Emergency Management Branch 70 1 Bl yd.
      Jacksonv ille, FL 32207

      Dear 'Mr. Kirk:

      On September 20, 20 17, hurricane Maria struck Puerto Rjco, becoming the most devastating weather
      event in eighty years, for both the local infrastructure and for the provision of essential services to the
      citizens. This event has p ut at risk the security, hea lth, and p roperty of all the residents of Puerto Rico.

      Therefore, as di scussed during vari ous meetings held regarding the recovery and reconstruction efforts
      post hurricane Marfa, please fi nd attached The Flood Control Projects Table (Government of Puerto
      Rico Status of Pending Civil Works Projects) . As you may notice, fo llowing your instrud ions and
      requirements, the projects have been d ivided by priorities and categorized according to their
      construction stage status.

      Due to the catastrophic damages caused to Puerto Rico by the hurricane Maria, the projects listed in the
      attached tabl e have taken a greater prominence. The Government of Puerto Rico is high ly committed
      to join efforts with the U.S. Army Corps of Engineers to achieve the projects listed, in order to protect
      the life and property of the residents of our Island.

      lfyou have a ny questions, please contact me at your con venience.

      Cordial ly,


       9---d.- Du~
                 ' (G...~'
          'V'azquez ruvera
      T ama
      Secretary

      c. Mr. Tim Murphy
         Deputy District Engineer for Programs and Project Management
         Department of the Anny
         Tim.Mumhy@usace.anny.mil




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Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 107 of 285
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                                                                   USACE_001538
SAN JUAN HARBOR, PUERTO RICO
INTEGRATED FEASIBILITY STUDY AND ENVIRONMENTAL ASSESSMENT
AGENCY DECISION MILESTONE (ADM) MEETING
                         023   011            1     050
Presented by:03
             03         023   011           22     23ß
               03
COL Jason A. Kirk        023   011            03     5
District Engineer
U.S. Army
       055 Corps1        2   22   0     221     220       0        210   21
of Engineers
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Jacksonville    1
              District   2   200    5     201      5      21         ß   222

January 25, 2018
                                                                                                    Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 108 of 285




                                           NON-FEDERAL SPONSOR
                                           Puerto Rico Ports Authority

                                                                                     USACE_001551
                             SAN JUAN HARBOR
                             FEASIBILITY STUDY SCHEDULE (UP TO 36 MONTHS)
                                   SCOPING            ALTERNATIVE FORMULATION                 FEASIBILITY-LEVEL ANALYSIS            CHIEF’S
                                                             & ANALYSIS                                                             REPORT
                                                 1                         2                         3                          4             5
                                          ALTERNATIVES            TENTATIVELY                  AGENCY          SENIOR LEADER         CHIEF’S
                                             MILESTONE SELECTED PLAN (TSP)                    DECISION          REVIEW PANEL         REPORT
                                           Vertical Team           MILESTONE                 MILESTONE                 7/2018        9/14/2018
                                             concurrence                6/30/2017                (ADM)
                                              on Array of
                                              Alternatives    Release Draft Report             1/25/2018
                                                 1/7/2016      for Public & Agency
                                                                             Review
                                                                                                                                                  Targeting WRDA ‘18




                                                                   8/10 – 9/28/2017




               FCSA Signed 9/16/2015
                                            PURPOSE OF ADM MEETING
                                        Endorse the Recommended Plan
                                        Approval of path forward to complete feasibility level design and the feasibility study report
                                         package
                                        Discuss significant technical, policy, and public comments and their resolution from Draft Report
                                        Discuss significant risks being carried forward in the study
                                        Confirm non-Federal sponsor support of Recommended Plan
                                                                                                                                                                       Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 109 of 285




USACE_001554
                                        24 January 2018                               POC: Ashleigh Fountain                                  4
                                                                      ENGINEERING: SHIP SIMULATION
                                           56’

                                                   800’          RECOMMENDATIONS CARRIED FORWARD
                                           53’




                             BAR CHANNEL
                                                           USCG to move
                                                           Buoys 7&9 eastward                                USACE to deepen Cruise                                              DESIGN VESSELS
                                           51’             outside of Federal                                Ship Terminal to increase
                                                                                                                                                                                  Large Panamax Container
                                                           channel                                           maneuverability thus                                                  965’ LOA 106’ Beam
                                                 48’
                                                   48’
                                                                                                             decreasing transit time
                                                         42’                                                                                                                      LR2 Tanker
                                                                                                                                        RORO                                       800’ LOA 138’ Beam
                                                                                                                 36’ 35’

                                                                       U.S.
                                                                      COAST                 36’                                                  36’                              LNG Tanker
                                                                      GUARD                                                                            30’
                                                                40’                                                                                                                928’ LOA   146’ Beam

                                                                                36’            30’
                           SAN JUAN                                                   35’   36’
                                                                                                                                                                                  Oasis Class Cruise Vessel
                                                                                                                                                                                   1181’ LOA 154’ Beam
                            HARBOR
                                                                                                     ANCHORAGE
                                                                                                       AREA E
                                                                              30’
                                                                                                                   36’

                                                                                                                                                                                         BUOYS
                                                                                                                                                                  30’
                                                                                                                                        36’
                                      USACE to widen Army                                                                                                    GRAVING DOCK                CONTAINER TERMINALS
                                      Terminal Channel 50’ east &                                                                                            TURNING BASIN

                                      west for LR2 Tankers                                                                                                       PUERTO NUEVO            PETROLEUM TERMINALS
                                      and LNG Vessels to address                                                      USCG to move                               TURNING BASIN

                                      bank suction & strong                                          40’              Buoys R2& G3 to                                                    LNG
                                                                                                                                                                  39’
                                      prevailing northeasterly                                                        allow full use of                                           RORO
                                                                                                                                                                                         RORO
                                      winds                                                                           wideners to                                  RORO
                                                                                                                      Army Terminal                                                      CRUISE
                                                                                 SABANA
                                                                                APPROACH                              Channel
                                                                                 CHANNEL                                                                                                 BULK
                                                                                                                                               39’
                                           USACE to construct flares                          32’
                                                                                                                                                                                                                   Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 110 of 285




                                           in Army Terminal Turning
                                                                                                           40’
                                           Basin to improve turning                                                                                                                      AUTHORIZED DEPTH
                                                                                                    ARMY TERMINAL




USACE_001558
               N                           maneuverability for LR2                                  TURNING BASIN                                                                        AUTHORIZED VS.
                                           Tankers and LNG Vessels                                                                                                                       CONSTRUCTED DEPTH
                   Not to Scale                                                                                      150’ Safety Zone
                                                                                                                     around LNG                 24 January 2018 POC: Ashleigh Fountain                         8
                     EXISTING                                   FUTURE                                             FUTURE
                     PROJECT                               WITHOUT-PROJECT                                      WITH-PROJECT

                                                NO CHANGE                                        WITH PROJECT
                                                                                                  (w/ or w/o LNG)


                       MR & LR1 Tankers                                 MR & LR1 Tankers                              MR, LR1& LR2 Tankers
                   Army Terminal Turning Basin:                   Army Terminal Turning Basin:           Army Terminal Turning Basin: Cataño Oil Dock
               Cataño Oil Dock (COD) & PUMA dock              Cataño Oil Dock (COD) & PUMA dock            (MR & LR1) & PUMA dock (MR, LR1 & LR2)



                            PREPA         FUEL TYPE CHANGE          PREPA                        WITH PROJECT
                                                                                                     (w/ LNG)
                      Power Generation                       Power Generation
                    (Bunker Fuel & Diesel)                         (Diesel)                                         LNG =
                  (Bunker Fuel = LOW $/KWH                 (Diesel = HIGH $/KWH)
                                                                                                                                           Safe Shipping BC




                                                                                                                    CHEAPEST KWH &
                                                                                                                                           Image Courtesy of




                  & AIR QUALITY CONCERN)                                                                            Most Efficient
                                                                                                                    Power Generation
                  Army Terminal Turning Basin                      Army Terminal Turning Basin                      Army Terminal Turning Basin




                                                NO CHANGE                                        NO CHANGE

                     Panamax Container                               Panamax Container                                 Panamax Container
                     Puerto Nuevo Channel                            Puerto Nuevo Channel                              Puerto Nuevo Channel




                                          INCREASED # CALLS                                      WITH PROJECT
                                                 (in FWOP & FWP)                                  (w/ or w/o LNG)
                                                                                                                                                                    Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 111 of 285




USACE_001560
                   Inefficient Vessel Transit                      Inefficient Vessel Transit                         Increased Efficiency
                     Cruise Ship Terminals                            Cruise Ship Terminals                            Cruise Ship Terminals
               24 January 2018                                       POC: Ashleigh Fountain                                                                    10
     Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 112 of 285




                                        Report Summary
                                              for
                       San Juan Harbor Navigation Improvement Study,
                                San Juan Harbor, Puerto Rico
                 Integrated Feasibility Report and Environmental Assessment
                                  Revised: January 11, 2018

1.      Stage of Planning Process
The Jacksonville District is preparing an integrated Feasibility Report and Environmental
Assessment evaluating navigation improvements in efforts to increase transportation
efficiencies in San Juan Harbor, Puerto Rico. This document is being prepared as a read-ahead
in advance of the Agency Decision Milestone scheduled for January 25, 2018. The team has
released the draft report detailing the tentatively selected plan for concurrent
public/policy/agency technical review. Since release of the draft report, the team has been
working to address comments received during the review, making the necessary changes in the
report, and refined the costs and benefits of the Recommended Plan (step 6 of the Planning
Process outlined in Engineering Regulation (ER) 1105-2-100).

2.      Study Authority
House Report 109-738, as reported by the Transportation and Infrastructure Committee,
contains the study authority for the San Juan Harbor Improvements study
(https://www.congress.gov/109/crpt/hrpt738/CRPT-109hrpt738.pdf).

The Water Resources Survey Resolutions approved by the Committee on Transportation and
Infrastructure specifically states:

“Mr. Fortuno: San Juan Harbor, PR, Docket number: 2764, Date filed: February 23, 2006
(navigation project). September 20, 2006. Resolution adopted by the Committee on
Transportation and Infrastructure.”

3.     Non-Federal Sponsor
The Puerto Rico Ports Authority (PRPA) represents the non-Federal sponsor who requested this
study.

4.      Purpose and Need/Federal Interest
The purpose of the feasibility study is to evaluate navigation improvements that address existing
physical constraints and inefficiencies and to reasonably maximize, consistent with protecting
the environment, San Juan Harbor’s contribution to National Economic Development (NED)
benefits (transportation cost savings). The need for the modifications to the Federal system of
channels results from difficult winds, waves, and currents; limited turning basin widths; and
insufficient channel depths which limits the system’s ability to efficiently serve the existing
shipping fleet and future cargo volumes. Federal interest in navigation at San Juan Harbor dates
back to the early 1900’s. A Federal interest exists based on documentation from two petroleum




                                                                                USACE_001606
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action and coastal erosion. The public, State agencies, and Federal agencies have not raised any
other significant concerns at this time.

Key social and environmental factors and consequences associated with the Recommended Plan
include the following potential environmental concerns:
    1) Potential areas of environmental resource concerns include corals and hardbottoms
       along Bar Channel, seagrasses and macro algae in the Anchorage Area “F” expansion
       measure, seagrasses and algae northwest of Puerto Nuevo Channel, seagrasses north of
       Graving Dock Channel and southeast of Graving Dock/Puerto Nuevo Turning Basin, and
       seagrasses east of San Antonio Channel.
    2) Manatees, sea turtles, and dolphins are regularly reported in San Juan Bay.
    3) Known ship wrecks include potentially 50 sites.
    4) Consultation on the proposed widening measures and coordination of cultural resources
       survey will continue with the Puerto Rico State Historic Preservation Office.
    5) Geotechnical evaluations indicate minimal rock, which will not require blasting.

Efforts to Avoid or Minimize Adverse Impacts. The San Juan Bay Pilots examined squat tables for
ships transiting the Bar and Entrance Channel to determine those areas will not require additional
deepening. USCG Sector San Juan plans to move buoys G7 and G9 to areas of existing deep water
east of the Federal channel limits, which allows widening of the Entrance Channel reaches from
Cuts 4 – 7 without deepening which is a non-structural measure.

No Significant Impacts. Deepening and widening measures along the Army Terminal and Graving
Dock Channels would not result in direct impacts to SAV based on database search of existing
surveys and the preliminary benthic surveys referenced above. SAV, including macroalgae and
seagrass, has been mapped in many scattered areas of the Bay but typically in less than 15-20
foot water depths. In addition, all seven Endangered Species Act listed threatened coral species
have been documented on the discontinuous linear or fringing reef consisting of corals covering
fossil sand dunes (i.e. eolianites) trending in an east-west direction and extending, in some sites,
up to 0.9 miles offshore along the north coast of the San Juan metropolitan area. However, the
closest previously mapped hardbottom habitat (colonized pavement) is 1,500 feet from the
closest dredge area (Cut-6) and Acroporid coral critical habitat is approximately 2,500 feet north
of Cut-6. Therefore, impacts to listed corals from dredging and dredged material transport
related turbidity are not anticipated. It should be noted the fringing reefs east of the San Juan
Harbor Bar Channel in the Isla Verde area have been significantly stressed or affected from
sedimentation and organic pollution coming from the San Juan Bay Estuary. This is evident by a
remarkably high frequency of hard coral colonies impacted by Black Band Disease, which suggests
poor water quality (Coll Environmental, 2005).

13.2 Environmental Compliance
As a whole, the proposed project is not expected to have a significant effect on the quality of the
human environment. Previous EAs addressed the effects of channel expansion, documenting
compliance with NEPA. USACE’s analysis to date and its administrative record indicate that the
harbor improvements would not have a significant impact on the quality of the human



                                                                                  USACE_001624
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                                 GOBTERNO DE PUERTO Rr C~
                                                        O~___
                                 Oficina Estatal de Conservaci6n Historica



                           December 5, 2017



                           Gina Paduano Ralph, Ph.D.
                           Chief, Environmental Branch
                           Jacksonvi1!e District Corps of Engineers
                           70 I San Marco Boulevard
                           Jacksonville, FL 32207-8175

                           SHPO 10-05-15-0 2 SA N JU A N HARBOR IM PROVE MENTS PROJECT, SA N
                           J UA N , PU ERTO RI CO

                           Dear Dr. Paduano,

                          Our Office has received and reviewed the above referenced project in
                          accordance with 54 U.S.c. 306108 (commonly known as Section 106 of the
                          National Historic Preservation Act) and 36 CFR Part 800: Protection of Historic
                          Properties. The State Historic Preservation Officer (SHPO) is to advise and assist
                          federal agencies and other responsible entities when identifying hist oric
                          properties, assessing effects upon them, and considering alternatives to avoid
                          or reduce the project's effects.

                          Based o n the U.S. Army Corps of Engineers' decision to remove Anchorage Area
                          F Expansion from t he project, our records suppo rt your finding of no h istoric
                          prop erti es a ffect ed withi n the project's area of pot ential effects.

                          Please note that should the Agency discover other his toric p r operties at any
                          point during project implementation, you should notify the SHPO immed iately.
                          If you have questions regarding t his matter, please contact our O ffice at
                          (787) 721-3737 or email.ediaz@Qr ~ hQo.pr.QQv.

                          Sincerely,




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                          Sla te Histo ric Preserva tion Oflkc r

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    Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 115 of 285


From:          DeMarco, Paul M CIV USARMY CESAJ (US)
To:            Kelly Logan - NOAA Federal
Cc:            Mark Lamb - NOAA Federal; Spinning, Jason J CIV USARMY CESAJ (US); Ralph, Gina P CIV USARMY CESAJ (US)
Subject:       SER-2017-18763 San Juan Harbor Improvements Study
Date:          Friday, December 1, 2017 11:11:08 AM
Attachments:   SJS_FINAL_SMMP.PDF
               Table 8 from SanJuan_Draft_EN_Appendix_A.PDF
               SJH-ODMDS.xlsx
Importance:    High



Kelly, the attached SMMP should help answer these questions (see
below for specific Sections/page numbers):

1. See Appendix B - DISCHARGE GUIDELINES FOR AN SJS DISPOSAL
PROJECT of the attached SMMP. GPS-based automated disposal
surveillance technology will be used to ascertain that loading and
disposal of dredged material is occurring at authorized locations, that
material is not being lost en route to the site, and that material has
been discharged within the site boundaries. This technology
simultaneously records the draft and position of the vessel to which it is
attached. USACE-approved disposal inspectors (ship riders) will
accompany all scows and hopper dredges disposing at the SJS. If the
barge/scow doors were to remain open after the dump in the ODMDS,
it would be apparent to the vessel operators through electronic
warning signals and they should remediate the situation unless there is
a mechanical failure. In any case all this would be recorded in DQM so
there would be a record of any such occurrences (see pages 17&18 of
the biological assessment for more details: Transportation
Methodology – Hopper Dredges, Tugs/Scows, and Barges).

2. The number of scow trips can vary widely depending on each
contractor and their equipment and the location of the project. For the
2017 San Juan Harbor O&M contract, Cashman used two scows, the
Merc Shevlin (4,800cy capacity) and Mighty Quinn (3,800cy capacity).
They removed 592,998cy with a clamshell bucket dredge and there
were 276 scow trips. This averages 2,149cy per scow trip. The proposed

                                                                                                  USACE_001647
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action would remove approximately 2.1MCY which using this last
contractor’s scow average could result in 977 scow trips assuming a
mechanical dredge would be used and all the construction dredged
material would be deposited in the ODMDS.

3. See Section 4. Past and Anticipated SJS Use and Quantity of Material
Disposed on page 9 of the attached SMMP. The turbidity report
examples were from maintenance dredging projects in 2007 and 2017.
Both used clam shell mechanical dredges to bottom dump scows,
dredged between 350-450kcy of silty sand and fines. Both projects
lasted several months. The primary material difference for the
proposed action would be the addition of clay to the construction
dredged material as seen in the FY99-01 construction project (See
SMMP Section 4 on page 9). Also attached is Table 8 of the engineering
appendix from the draft feasibility study which depicts anticipated
sediments from the proposed action based on our feasibility level
geotechnical analysis.

4. Maybe we can monitor the scows in transit through the harbor
mouth with the turbidity vessel and if a plume is seen coming from the
scow then monitor turbidity? It might be difficult to differentiate
between natural background and scow related turbidity but taking the
sample within any visible scow plume could work. Perhaps we can
finalize these additional turbidity monitoring conditions if listed species
are documented during surveys conducted in the PED phase after
project authorization. The surveys would focus on verifying the NOAA
2000 polygons for colonized pavement and linear reef which are
currently estimated to be located at least 200 meters from the edge of
the channel and to identify any listed corals there.

5. Attached is the 2011 EPA SMMP and a link

                                                               USACE_001648
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(https://www.epa.gov/ocean-dumping/site-management-and-
monitoring-plan-smmp-san-juan-harbor-ocean-dredged-material) is
also located on page 7 of the biological assessment.

Also attached are the ODMDS coordinates. I think that about does it
Kelly but we can discuss next week if need be.
Thanks, Paul DeMarco
904-232-1897

From: Kelly Logan - NOAA Federal [mailto:kelly.logan@noaa.gov]
Sent: Thursday, November 30, 2017 2:54 PM
To: DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil>
Cc: Mark Lamb - NOAA Federal <mark.lamb@noaa.gov>
Subject: [EXTERNAL] SJH

Hello and thank you for the supplemental information on turbidity and scow monitoring. I
have a few questions on the materials that you sent.

1. Can you explain how the scow monitoring is used to determine if there was any material
leakage during transit? It seems to only show the location in transit and the location of where
the material lands within the ODMDS. Likewise, how would we determine that the doors were
not left open to allow material to wash out during return transit like we saw at the Miami
project?

2. How many trips are expected between the dredge site and the ODMDS as part of the
proposed project?

3. As far as the turbidity reports, can you tell us what type of dredge was used and what type
of material was removed during those projects? And how does that compare with what's
expected during the proposed action? How long did the previous maintenance projects last?

4. Has there been any further discussion regarding employing turbidity monitoring near the
known hardbottom locations adjacent to the mouth of the channel as NMFS recommended on
the previous call?

5. Finally, can you please send us the site management plan for the ODMDS? It's referenced a
few times but was not included in the appendices that we received and I was unable to track it
down in our previous consultation files.


Thanks,
--KL




                                                                                USACE_001649
      Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 118 of 285


From:              DeMarco, Paul M CIV USARMY CESAJ (US)
To:                Mark Lamb - NOAA Federal
Cc:                Ralph, Gina P CIV USARMY CESAJ (US); Spinning, Jason J CIV USARMY CESAJ (US); Kelly Logan - NOAA Federal;
                   Bernhart, David; Scerno, Deborah H CIV USARMY CESAD (US)
Subject:           RE: [EXTERNAL] Re: Teleconference/Web meeting with NMFS PRD on San Juan Harbor Improvements ESA
                   Consultation
Date:              Monday, November 27, 2017 3:28:49 PM
Attachments:       SJH_BA_Turbidity_Information.pdf
                   SJH Web meeting final notes.docx
                   SJH_BA_ODMDS_Information.pdf
Importance:        High




Mark, please find attached the final meeting notes from our 8 November call as well as the additional information
requested. I am available all this week to discuss once you've had time to review. Thanks, Paul DeMarco

-----Original Message-----
From: DeMarco, Paul M CIV USARMY CESAJ (US)
Sent: Tuesday, November 21, 2017 2:08 PM
To: 'Mark Lamb - NOAA Federal' <mark.lamb@noaa.gov>
Cc: Ralph, Gina P CIV USARMY CESAJ (US) <Gina.P.Ralph@usace.army.mil>; Spinning, Jason J CIV
USARMY CESAJ (US) <Jason.J.Spinning@usace.army.mil>; Powell, Richard B Jr CIV USARMY CESAJ (US)
<Richard.B.Powell@usace.army.mil>; Conger, Stephen R CIV USARMY CESAJ (US)
<Stephen.R.Conger@usace.army.mil>; Calvente, Brenda E CIV USARMY CESAJ (US)
<Brenda.E.Calvente@usace.army.mil>; Kelly Logan - NOAA Federal <kelly.logan@noaa.gov>; Fountain,
Ashleigh H CIV USARMY CESAJ (US) <Ashleigh.H.Fountain@usace.army.mil>; Bernhart, David
<david.bernhart@noaa.gov>; Scerno, Deborah H CIV USARMY CESAD (US)
<Deborah.H.Scerno@usace.army.mil>; Mora, Millan A CIV USARMY CESAJ (US)
<Millan.A.Mora@usace.army.mil>; Roig-Silva, Carla M CIV USARMY CESAJ (US) <Carla.M.Roig-
Silva@usace.army.mil>; FLUITT, Jessamyn Martinez CIV USARMY CESAJ (US)
<Jessamyn.M.Fluitt@usace.army.mil>; Onchaga, Rebecca A CIV USARMY CESAJ (US)
<Rebecca.A.Onchaga@usace.army.mil>
Subject: RE: [EXTERNAL] Re: Teleconference/Web meeting with NMFS PRD on San Juan Harbor Improvements
ESA Consultation

Mark, thank you for your edits/comments on the meeting minutes. We should have the additional information to you
COB tomorrow. Thanks, Paul DeMarco

-----Original Message-----
From: Mark Lamb - NOAA Federal [mailto:mark.lamb@noaa.gov]
Sent: Tuesday, November 21, 2017 1:18 PM
To: DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil>
Cc: Ralph, Gina P CIV USARMY CESAJ (US) <Gina.P.Ralph@usace.army.mil>; Spinning, Jason J CIV
USARMY CESAJ (US) <Jason.J.Spinning@usace.army.mil>; Powell, Richard B Jr CIV USARMY CESAJ (US)
<Richard.B.Powell@usace.army.mil>; Conger, Stephen R CIV USARMY CESAJ (US)
<Stephen.R.Conger@usace.army.mil>; Calvente, Brenda E CIV USARMY CESAJ (US)
<Brenda.E.Calvente@usace.army.mil>; Kelly Logan - NOAA Federal <kelly.logan@noaa.gov>; Fountain,
Ashleigh H CIV USARMY CESAJ (US) <Ashleigh.H.Fountain@usace.army.mil>; Bernhart, David
<david.bernhart@noaa.gov>; Scerno, Deborah H CIV USARMY CESAD (US)
<Deborah.H.Scerno@usace.army.mil>; Mora, Millan A CIV USARMY CESAJ (US)
<Millan.A.Mora@usace.army.mil>; Roig-Silva, Carla M CIV USARMY CESAJ (US) <Carla.M.Roig-
Silva@usace.army.mil>; FLUITT, Jessamyn Martinez CIV USARMY CESAJ (US)
<Jessamyn.M.Fluitt@usace.army.mil>; Onchaga, Rebecca A CIV USARMY CESAJ (US)
<Rebecca.A.Onchaga@usace.army.mil>
Subject: [EXTERNAL] Re: Teleconference/Web meeting with NMFS PRD on San Juan Harbor Improvements ESA
Consultation

Paul at al,


                                                                                                       USACE_001703
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Attached are our edits/comments to the 11/8/2017 meeting for San Juan Harbor dredge. Please let me or Kelly
know if you have any questions.

Awaiting your additional information.

v/r


Mark A. Lamb, CHMM
Branch Chief, Coral Conservation
NOAA, NMFS, Southeast Regional Office
263 13th Avenue South
St. Petersburg, FL 33701
727-209-5975 office
727-336-0422 cell

On Tue, Nov 14, 2017 at 11:10 AM, DeMarco, Paul M CIV USARMY CESAJ (US)
<Paul.M.DeMarco@usace.army.mil <mailto:Paul.M.DeMarco@usace.army.mil> > wrote:



    Hello All, we appreciate your participation in the web meeting for the San Juan Harbor Improvements ESA
consultation last week. Please review the attached meeting minutes and let us know if you have any comments or
concerns. We will be submitting the supplemental information early next week. Paul DeMarco




     -----Original Appointment-----
     From: DeMarco, Paul M CIV USARMY CESAJ (US)
     Sent: Tuesday, October 24, 2017 8:23 AM
     To: DeMarco, Paul M CIV USARMY CESAJ (US); Ralph, Gina P CIV USARMY CESAJ (US); Spinning,
Jason J CIV USARMY CESAJ (US); Powell, Richard B Jr CIV USARMY CESAJ (US); Conger, Stephen R CIV
USARMY CESAJ (US); Calvente, Brenda E CIV USARMY CESAJ (US); 'Kelly Logan - NOAA Federal';
Fountain, Ashleigh H CIV USARMY CESAJ (US)
     Cc: Bernhart, David; Scerno, Deborah H CIV USARMY CESAD (US); 'david.bernhart@noaa.gov
<mailto:david.bernhart@noaa.gov> '; 'mark.lamb@noaa.gov <mailto:mark.lamb@noaa.gov> '; Mora, Millan A CIV
USARMY CESAJ (US); Roig-Silva, Carla M CIV USARMY CESAJ (US); FLUITT, Jessamyn Martinez CIV
USARMY CESAJ (US); Onchaga, Rebecca A CIV USARMY CESAJ (US)
     Subject: Teleconference/Web meeting with NMFS PRD on San Juan Harbor Improvements ESA Consultation
     When: Wednesday, November 08, 2017 10:00 AM-11:00 AM (UTC-05:00) Eastern Time (US & Canada).
     Where: 539


     Meeting to provide an overview and respond to NMFS inquiries on the project and the biological assessment.
Call in information:

      Audio Conference ---------------
      USA Toll-Free: (877)336-1831 <tel:(877)%20336-1831>
      ACCESS CODE: 6046670
      SECURITY CODE: 1234

      Web Meeting ---------------
      Blockedhttps://www.webmeeting.att.com
      Meeting Number: (877)336-1831 <tel:(877)%20336-1831>
      ACCESS CODE: 6046670


                                                                                              USACE_001704
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SECURITY CODE: 1234




                                                          USACE_001705
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                            San Juan Harbor Improvements Study
 Teleconference/Web meeting with National Marine Fisheries Service – Protected Resources Division
                                      November 8, 2017


Attendees: P05B038V276C
          SAD                          SAJ                        NMFS PRD

 x Deborah Scerno          x Paul DeMarco                x David Bernhart
                           x Gina Ralph                  x Mark Lamb
                           x Ashleigh Fountain           x Kelly Logan
                           x Steve Conger
                           x Jason Spinning
                           x Dick Powell
                           x Rebecca Onchaga
                           x Carla Roig-Silva


Meeting Objective: Provide an overview and respond to NMFS inquiries on the project and the
Biological Assessment.

PRESENTATION/DISCUSSION

Paul DeMarco:

   x    We have slides, an overview of the TSP. We can start going through the proposed plan and the
        draft integrated report and BA.

Dave Bernhart:

   x    That might be helpful for me. We have a couple of hot questions we want to cover.

Ashleigh Fountain:

   x    We’ll move pretty quickly. We had the TSP milestone meeting and are moving towards the
        ADM meeting early next year, then the draft final report for agency and state review.

Gina Ralph:

   x    Dave, just to give you a timeframe for that, Eric Summa would like to see our draft BO by the
        ADM. He has put that as a placeholder deadline for you all. Hopefully, we will get to a point of
        concurrence and may not need a BO. I want to lay that out as an important timeframe for us
        with our vertical team.

Ashleigh Fountain:

   x    That milestone meeting is scheduled for January 25th.
   x    Existing conditions, slide 3.
   x    Footprint of the TSP, slide 4. Paul, you wanted to point out the buffer indicated here.


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Paul DeMarco:

   x    150 meters outside the dredged area is what we have been using for the indirect impact
        calculations. There is some seagrass outside of there. We have conducted side scan sonar and
        towed video in the tan/brownish areas depicted on slide 4.

Dave Bernhart:

   x    The red is the other boundaries of the San Juan Harbor Project; the approved project, but not
        this TSP.

Paul DeMarco:

   x    Correct and white will be the deepening areas. The Army Terminal is the main widening
        measure.

Ashleigh Fountain:

   x    Next slide. Paul, at this point if you want to cover specific topics…as we understand you [NMFS]
        may have a question about hopper dredging?

Dave Bernhart:

   x    Yes. So let’s talk about that. That is one of the issues that we wanted to discuss. Based on your
        Biological Assessment, adverse effects are predicted from takes of sea turtles from hopper
        dredges; all other species impact is no adverse effect. The only need for a Biological Opinion is
        to cover potential incidental take from a hopper dredge. I wanted to dig into that more. We
        understand, in general, you want to make sure you allow for all of the practical means and
        methods, but I was questioning and wanted to discuss whether the use of hopper dredges is
        realistic and would be bid for this job.

Steve Conger:

   x    Yes, we do expect some bidders may offer to use a hopper dredge, either in conjunction with
        other equipment or potentially on its own. This channel lends itself to the use of hoppers as it
        has long straight runs and adjoining channels; the Anegado and into the Army Terminal Channel.
        In addition, given that the disposal area is the offshore ODMDS, it also lends itself to the use of
        the hopper dredge which can sail out there and dispose of material and then return.

Paul DeMarco:

   x    It is primarily for overburden material?

Steven Conger:

   x    Hopper dredges can be used for both. We have seen them used here in the past for deepening
        projects. Maintenance contracts here have been more sporadic, in terms of the areas needing
        dredging. The hopper dredge is very efficient.

Dave Bernhart:

   x    Hopper dredges have been used in San Juan Harbor before?

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Steve Conger:

   x    Yes, in 1999, during the phase 2 deepening.

Dave Bernhart:

   x    So, this is not just a hypothetical possibility. There’s a reasonable chance…

Steve Conger:

   x    Yes, given the track record for the last deepening project.

Dave Bernhart:

   x    The nature of the materials since it is deepening; does that present a challenge?

Steve Conger:

   x    It is not so much hard, but clay – stiff, consolidated. It can present a problem with clogging the
        dragheads. They were able to use them efficiently in the last round, but if they hit lenses of rock
        they will have to use additional equipment; a mechanical excavator with a barge, for example. I
        expect them to use the hopper dredge as much as they can and do clean up with other
        equipment. I witnessed it with the other project. I even have pictures.

Dave Bernhart:

   x    That was one of the major issues we needed to cover. It sounds like a lot more than
        hypothetical.

Paul DeMarco:

   x    The second topic was turbidity and sedimentation?

Dave Bernhart:

   x    Kelly may be able to add something to this, but the location of the dredging, for the most part, is
        relatively far from any reef or hard bottom resources, and so your BA has “not likely to adversely
        affect.” We wanted to make sure that we took a really hard look at that in regards to the
        conversations we are having in Florida on lessons learned from Miami Harbor and Port
        Everglades. The management of sediment and risk of leakage from scows, leakage from hopper
        dredges if similar, basically ensuring that we have a management scenario for the transits and
        the work that will happen near, or to, the coral reef areas.
   x    Kelly, do you want to add anything to that? There was significant scow leakage and issues with
        overflow with the hopper dredges which contributed to the sedimentation effects on the reefs.
        The transit to ODMDS travels close to some of those reef areas around the mouth of the harbor
        and NMFS is concerned that scow leakage during transit could lead to sedimentation and
        turbidity impacts to those reefs and possibly to ESA-listed corals if present.

Paul DeMarco:




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   x    Some of the attachments are for the coordination that was done with EPA for the ODMDS; site
        monitoring protocol to monitor for scow leakage. Kelly, I can get you that additional
        information in an email.

Gina Ralph:

   x    Appendix A to the biological assessment provides correspondence from USACE, USEPA, and
        NMFS regarding comments and comment responses to the SJH Site Monitoring and
        Management Plan (covering management of ODMDS scow transit) and a link to the SMMP is
        provided on page 7 of the biological assessment.

Kelly Logan:

   x    It seems to only cover if a vessel goes out of the channel. It doesn’t cover leakage and overflow.
        One foot of loss per trip, or more, could amount to a significant amount of sediment on the reef
        there.

Paul DeMarco:

   x    What’s the total dredged material estimate for the expansion?

Dick Powell:

   x    (2.1 Million cubic yards)

Paul DeMarco:

   x    See the visual plumes on these aerials photos which show turbid discharges from the
        watershed. The reef system on the north coast is stressed already from untreated storm water
        runoff. Any dredging related turbidity would be insignificant in comparison.

Gina Ralph:

   x    Maybe you can describe a little bit about what type of monitoring we would employ; standard
        specifications?

Paul DeMarco:

   x    The standard specs for ODMDS. Standard sediment monitoring. It is dangerous out there at the
        mouth of the bay for divers. I don’t know what type of sediment trap would work in this type of
        environment.

Jason Spinning:

   x    The scows themselves have sensors on them that indicate if there is leakage. Hopper dredges as
        well. We’ll indicate quantities and if there is a loss. We did see that in Miami. It was looked at
        very carefully and considered as we were moving forward. We took some scows offline and
        determined if there was something keeping them from closing. Based on conditions out there
        we will implement lessons learned from Miami and follow up on what the sensors indicate.

Dave Bernhart:


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   x    I heard mention of the sediment monitoring plan associated with the ODMDS. Have any lessons
        been built into that? Are there standard specifications?

Gina Ralph:

   x    This is just in the feasibility phase. We are writing a report demonstrating the benefits and costs
        associated with the San Juan Harbor Improvement Project. The report will eventually go to
        Congress to be authorized; after that point, we will go through the designs and plans and
        specifications and, at that point, the safeguards will be built in. Right now we are exploring the
        potential and hoping Congress will authorize it. At this point of time, no plans and specifications
        have even been thought of for this project yet.

Dave Bernhart:

   x    Taking the label of plans and specifications off, calling it “the proposed action” that we are going
        to do a consultation on… in respect to hopper dredging, on the track record of how we deal with
        that; effects, terms and conditions, etc., for this issue of sedimentation risk, is there a way that
        we can define the proposed action so that we understand that and are comfortable with that
        and are confident that we can concur with a NLAA finding?

Gina Ralph:

   x    Are you asking for supplemental documents on lessons learned from Miami in regards to
        specifications?

Dave Bernhart:

   x    That is a possibility. We can do some of this dealing with things post-consultation. If there is
        anything simpler we can do now, that would be my preference.

Ashleigh Fountain:

   x    What about including example conditions we might anticipate?

Deborah Scerno:

   x    Perhaps in the document we submitted, we did not consider plans and specifications in future
        management practices. We can indicate in our analysis the kind of sediment concentrations we
        might expect and how it would relate to what is naturally in that area. I don’t know if that helps
        at all.

Paul DeMarco:

   x    We have specifications for the current maintenance dredging of San Juan Harbor; SMMP
        protocol. That contract is active. A link to the SMMP is included in the BA (Page 7).

Gina Ralph:

   x    I think they are looking for reasonable assurances. What kind of risk assessment can be built
        into the BA? Do we have any information in regards to data related to sediment potentially
        related to a minimal or large overflow event, how that would compare…?

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Paul DeMarco:

   x    The San Juan Bay National Estuary Program manages sediment monitoring stations. We can pull
        data from a storm event. 29 NTU could be acceptable as well. This is already beyond our
        normal indirect impact zone (150m) and 1,500 feet is the closest benthic resource (colonized
        pavement) and there are no listed species.

Gina Ralph:

   x    What they are talking about is on the way to the ODMDS.

Steve Conger:

   x    We have turbidity records from Miami. In Miami, we are still coming to grips with the sediment
        source was adjacent to the resources. We think the amount of sediment that would have to
        leak from the scows would be readily evident. These resources are not near the source. We
        have turbidity information which shows we did not violate turbidity. Sedimentation and
        turbidity can be different things.

Jason Spinning:

   x    If the leak could be water along with sediment… 80 percent of the material is usually water.

Paul DeMarco:

   x    We used what we could dig up from the BA. People have documented the listed coral species
        on these northern reefs. They have also documented that they are already stressed.

Steve Conger:

   x    Can we give them records from O&M dredging events? We should have turbidity data from
        those events. Those all have to transit the same area. We have no other disposal areas for this
        project.

Jason Spinning:

   x    I think the material we may be cutting into is different.

Paul DeMarco:

   x    We did the same in 2001, during the expansion of that area.

Steve Conger:

   x    We have records from the initial deepening, going back to 2001.

Gina Ralph:

   x    Can we consolidate data and present it in some kind of analysis; compare to levels right now?

Dave Bernhart:




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   x    I think some of the things we have heard would help. The part about actually monitoring data
        from similar previous work would be very helpful. I’m hearing a little bit of the “well, it is kind of
        less than ideal now;” I’m not sure we want to sign on to that. Yes, if the leakage is in and of
        itself minimal, that is what we are after.
   x    We have a little follow up engineering/operational question for you guys. Jason mentioned that
        with Port of Miami, they were filling scows and not overflowing to minimize turbidity risks, but
        that led to very watery barge loads of fill taken to ODMDS. Would that be a different situation
        with hopper dredges or scow barges?

Paul DeMarco:

   x    One nice thing about San Juan Harbor is that there are limited benthic resources in the harbor.
        We can’t say what type of dredge is going to be used; might be mechanical; much less turbidity
        than a scow.

Steven Conger:

   x    Can you run that question again?

Dave Bernhart:

   x    We are always kind of hung up on Miami lessons learned. We are understanding differences.
        One thing I understood from Miami, one management measure, is that no overflow on filling of
        the scows led to the scows transiting with very little solids in them and therefore having watery
        leakage and that the scows seal better with more material with them. Is that true?

Jason Spinning:

   x    I would agree with that. Looking at the data, that is what is being alleged right now. The scows
        need that weight to close properly. From a regulatory standpoint, to potentially comply with
        one group of laws, we caused an issue with another group of laws.

Steve Conger:

   x    Again, we would expect to not have dredging in the outer portion of the project. That area will
        be shielded from larger environmental factors.

Jason Spinning:

   x    Why?

Steve Conger:

   x    The depths are not needed in the outer entrance channel. We overdredged in previous
        projects.

Jason Spinning:

   x    So I’m clear here, when you come into the harbor, you start dredging. How far is that inside?

Steve Conger:


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   x    The white area is cut 6.

Paul DeMarco:

   x    Cut 6 is about 2,500 feet inside the entrance channel. Colonized pavement is approximately
        1,500 feet from Cut 6.

Steve Conger:

   x    How far?

Paul DeMarco:

   x    The closest reef is about 200 meters (656 feet) from the edge of the channel/scow transport
        zone.

Jason Spinning:

   x    From the beginning of the white to the blue and light blue, what is the distance? If we are
        dredging all the way to the southern end of this project, is there any potential way we could
        affect those reefs? What is the potential for affecting the listed species on there?

Paul DeMarco:

   x    Not if you measure turbidity and shut down until it returns to background levels.

Deborah Scerno:

   x    I heard that we are going to do overflow monitoring, if overflow gets too turbid, we would shut
        down, is that correct?

Paul DeMarco:

   x    Yes

Deborah Scerno:

   x    The turbidity in the harbor, because there are not many resources that would be affected during
        transit.

Paul DeMarco:

   x    The threshold is 50 NTU above background in rivers, 10 NTU above background in the coastal
        waters.

Dave Bernhart:

   x    10 above background… what are the distances associated with that?

Paul DeMarco:

   x    I will have to look, but in Florida, there is a 150 meter mixing zone and then outside of that… but
        Puerto Rico is different.


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Jason Spinning:

   x    Typically we do that, yes.




Dave Bernhart:

   x    As the science goes on, we are learning more about turbidity levels that are protective and
        those that are harmful for corals.

Paul DeMarco:

   x    The specifications are 150 meters downcurrent of the dredge or discharge. The background
        turbidity is 200 meters upcurrent and outside of any visible plume.

Dave Bernhart:

   x    Baseline plus 10 at 150 meters downcurrent?

Paul DeMarco:

   x    Correct.

Dave Bernhart:

   x    I don’t think you have that information; did you Kelly?

Kelly Logan:

   x    There was conflicting information in the BA where several times it referenced Florida standards
        and other times talked about PR water quality standards but didn’t spell out what those
        standards are.

Dave Bernhart:

   x    There is some recent science that is suggesting that the limit, where there are corals, should be
        7 NTU absolute, versus relative to a baseline. We’ll be looking at that. We definitely think if we
        had monitoring data from previous similar operations, and the results from that, would be
        helpful. Kelly, what else?

Kelly Logan:

   x    I’m trying to think. Other than that, the only other thing that comes to mind is the turbidity
        monitoring at the surface mid-depths and one meter from the bottom. There are some triggers
        associated with that to ensure that dredging or scow leakage overflow wouldn’t impact those
        reefs. Unless you are able to provide us more details on the types of engineering methods you
        can incorporate based on lessons learned from the Port of Miami.

Jason Spinning:


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   x    One of the things we will be doing in the Planning Engineering and Design (PED) phase of this
        project after authorization is conducting a detailed survey of the listed corals in the area. That
        will give us better proximities. We can estimate it now in the feasibility stage and we can relook
        during PED. Appropriate methodology for this survey will also be determined during PED but the
        intent of the survey will be to locate listed corals on the reefs adjacent the entrance channel
        prior to construction.

Dave Bernhart:

   x    Ok



Gina Ralph:

   x    It’s a quarter till 11. I’m always conscious of people’s time. What are the other questions that
        you had?

Dave Bernhart:

   x    Some smaller things. Kelly, help me out. We’re interested in having a better sense of the
        ODMDS relationship location and the corals and scow transit.

Kelly Logan:

   x    In terms of defining the action area, entire vessel route, and disposal area. That’s not clearly
        spelled out in the BA.

Dave Bernhart:

   x    The other questions are about the locations and distances of the listed coral colonies. I heard
        you saying that this is something that would happen, Jason, post feasibility.

Jason Spinning:

   x    Yes.

Paul DeMarco:

   x    …to try to nail down if there is anything even closer than we think, that is part of the ODMDS
        SMMP future surveys on the route.

Jason Spinning:

   x    The answer is yes, because of the 3x3x3 schedule and funding, we wanted to use the best
        available data right now and then get a survey in PED to further define the location of the listed
        species. There is not anything expected within 1,500 feet of dredge activity, but as for transit…

Paul DeMarco:

   x    The depths drop off dramatically.

Jason Spinning:

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   x    There is an existing BO to the EPA regarding the creation of the San Juan Harbor ODMDS which
        considers the transport of the material. We need to look at the BO understand how the transit
        was considered at that time.

Kelly Logan:

   x    I don’t know. I would have to look.

Dave Bernhart:

   x    I’m guessing that it doesn’t exist after the designation and listing of 5 new species.



Paul DeMarco:

   x    It was 2011

Jason Spinning:

   x    Other than the new species, we can take discussions and recommendations from that and use
        those here.

Dave Bernhart:

   x    The bottom line issue we want to get to is – we would be highly confident that there were going
        to be no high turbidity and/or sedimentation exposure of any of those blue colored areas on
        map from the dredging or the scow transits and so, some combination of understanding what
        the sediment and turbidity monitoring would be or could be for that particular area. Kelly raised
        the topic of there being some turbidity monitoring station in close proximity. Would that be a
        possibility? Either measures to better control it or demonstration that it hasn’t been a problem
        previously?

Kelly Logan:

   x    No, that is pretty much what I was thinking.

Gina Ralph:

   x    I want to try to understand. Do you want a supplemental BA? An additional supplement to
        address specific questions; data? We do have someone taking notes at this meeting. How do
        you want this information provided to you and in what format?

Dave Bernhart:

   x    I have that date in mind (Jan 25th). I don’t want a request that would be a problem. Kelly, I’ll
        defer to you. Bit by bit or do you need to see this pulled together?

Kelly Logan:

   x    I don’t think we need to have a full a supplemental BA, that seems like a longer process and
        unnecessary work for the Corps. However, I would prefer the information as consolidated as


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        much as possible. Not multiple documents and emails as this makes it difficult to search and
        gather everything while writing the consultation.

Paul DeMarco:

   x    Absolutely.

Dave Bernhart:

   x    Next steps. We have a note taker, should we circulate those and make sure we don’t have any
        misunderstandings on what we are asking for and what we are thinking of providing?

Gina Ralph:

   x    We will send those out and give everyone 7 days to comment. After we finalize that, we should
        set a time frame to provide the information. Is two weeks feasible, Paul?



Paul DeMarco:

   x    Absolutely. Before Thanksgiving.

Gina Ralph:

   x    We can have this type of forum. We can come back after you receive the information and talk it
        through.

Dave Bernhart:

   x    Ok. Kelly, I was hoping to get out of addressing the hopper dredging in the BO, but it looks like
        we will need to. We can start to pull things together on a draft BO while you are waiting.
   x    Thanks for making this happen and for the opportunity to talk things out with you.




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CBDLHSPVOEUVSCJEJUZEVSJOHUIFTFESFEHJOHFWFOUTOFWFSFYDFFEFE/56

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     Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 136 of 285


From:               Calvente, Brenda E CIV USARMY CESAJ (US)
To:                 Jackson, Courtney G CIV USARMY CESAJ (US); Powell, Richard B Jr CIV USARMY CESAJ (US); Fountain, Ashleigh
                    H CIV USARMY CESAJ (US); WITTMANN, Kevin Matthew CIV USARMY CESAJ (US)
Cc:                 Calvente, Brenda E CIV USARMY CESAJ (US); "JOSE VAZQUEZ VERA"; jc_vazquez@hotmail.com
Subject:            FW: Revised document draft responses to San Juan Harbor LNG Terminal Project
Date:               Tuesday, November 21, 2017 5:17:26 PM
Attachments:        InfoRequestedFromPREPA_DRAFT_NOV_21_2017.docx




Good afternoon,

Please see enclosed the document from PREPA answering the questions based on our 2nd document after we
conducted the conference call. Please review and contact Jose at (787)528-4176 for any clarification any time
tomorrow after 8am. I would like to be part of the conversation so please set up a conference call to be able to call
in. I am not working tomorrow but I will make myself available for this. My cell is 850-774-2187. Thanks

Brenda E. Calvente, P.E.
Project Manager
CESAJ-PM-WN
BB: 1-904-614-6897
Desk: 1-904-232-1433
Email: brenda.e.calvente@usace.army.mil


-----Original Message-----
From: JOSE VAZQUEZ VERA [mailto:JOSE.VAZQUEZV@prepa.com]
Sent: Tuesday, November 21, 2017 12:27 PM
To: Calvente, Brenda E CIV USARMY CESAJ (US) <Brenda.E.Calvente@usace.army.mil>; Calvente, Brenda E
CIV USARMY CESAJ (US) <brenda.e.calvente.civ@mail.mil>
Cc: Mary C Zapata Acosta <MARY.ZAPATA@prepa.com>; Efran Paredes Maisonet
<EFRAN.PAREDES@prepa.com>; WILLIAM RÍOS MERA <WILLIAM.RIOSM@prepa.com>; CARLOS
ADRIAN NEGRON ALFONSO <CARLOS.NEGRON@prepa.com>; Justo L. Gonzalez Torres
<JUSTO.GONZALEZ@prepa.com>
Subject: [EXTERNAL] [Non-DoD Source] Revised document draft responses to San Juan Harbor LNG Terminal
Project

Brenda, please see the attached. Call me if you have any questions.




Regards,




José Vázquez




                                                                                                        USACE_001721
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The following items need to be included in the letter being requested from PREPA. Note that USACE
decision makers are most concerned about the $350 million LNG infrastructure investment that the
study assumes will ONLY take place in the case that a federal navigation project is constructed. All of
the information requested below, with the exception of #6, is focused on that $350 million
investment and the items it includes (e.g., LNG storage tanks, pipeline from dock to San Juan and Palo
Seco plants, etc.) :

   1. Name of the entity/group that has ultimate approval authority for the $350 million PREPA LNG
      infrastructure investment.

       The Federal Energy Regulatory Commission (FERC) has the ultimate approval for a terminal in
       San Juan harbor for receiving, storing and gasification of Liquiefied Natural Gas (LNG).


   2. Process and timeline for getting approval for the $350 million PREPA LNG infrastructure
      investment. See attached draft, modify as appropriate.

       LNG provision to PREPA’s power plants in the metro area of Puerto Rico is part of the Integrated
       Resources Plan (IRP). For the LNG terminal for receiving, storage, and gasification, PREPA is
       required to file the permit application for the LNG terminal to FERC. As directed by FERC,
       simultaneous filings on both federal and local government agencies will be required in order to
       achieve a 2.5yr-3yr final approval, as directed by FERC. FERC is the leading agency regarding the
       construction of new LNG terminals within the US. Engineering and design is also to be
       performed in that 2.5yr-3yr timeline on a parallel basis, and once approved by FERC, an
       estimated additional 3yr period for construction and commissioning period is expected, which
       will pose the project into commercial operation by early 2024 and not later than year 2025.

   3. How the $350 million investment in LNG infrastructure (e.g., regasification units, storage tanks,
      etc.) will be paid for and who will be paying for it. Include explanation of plans to form a public-
      private partnership (P3) for construction and operation of the LNG infrastructure and
      regasification facility.
      a) List items the PR government will provide (e.g., portside land, what else?)
          PR Government will provide port, portside land and necessary easements for the
          infrastructure.
      b) List items the private company will provide (e.g., dock, what else?)
          New dock, LNG unloading facilities, LNG transferring infrastructure (cryogenic pipeline, etc.),
          storage tank(s), gasifiers, and all related auxiliaries as well as gas transfer and supply lines.
          Engineering, design, construction, commissioning and place in operation will also be part of
          the private company’s scope. The private company will also provide O&M services during
          the agreed term (currently envisioned to be from 15 to 20 year operation).
      c) Timeline for issuing the request for proposal (RFP) for this work.
          April 2018 (in parallel with permits and commencement of detailed studies for design)
      d) Information about private interest making this investment (mentioned on call that ~20
          entities were already interested in RFP) and any other information that demonstrates this is
          something that is likely to happen.
          Available. Will be submitted with the letter.



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 e) Explanation of how the partnership will work. This explanation should include information
    about the tolling fee (how much will it be?), the operation of the facility (private company
    operates facility, PREPA purchases gas, PREPA uses gas in power generation in San Juan area
    plants), and a timeline for the facility being handed over to PREPA (how many years?).
    Explain how this is similar to how the Aguirre site is already functioning (i.e., this process is
    not precedent-setting).
    PR Government will provide port, portside land and necessary easements for the
    infrastructure and will start studies for design and permitting (PREPA will file the permit
    application to FERC). The P3 will be an agreement between PREPA and the private company,
    where the private company will engineer, design, construct, operate and own-to-transfer the
    maritime terminal for receiving, storing and gasification of LNG. New dock, LNG unloading
    facilities, LNG transferring infrastructure (cryogenic pipeline, etc.), storage tank(s), gasifiers,
    and all related auxiliaries as well as gas transfer and supply lines. The agreed term is
    currently envisioned to be from 15 to 20 year operation, where at the end of the term all the
    facilities and infrastructure title and ownership shall be vested upon the Government of
    Puerto Rico.

      PREPA will purchase the LNG and the private company will unload, receive, store, gasify and
      transfer natural gas to PREPA.

      Tolling fees shall compose of initial CAPEX, maintenance CAPEX, OPEX and margin. It is
      estimated that the tolling fee will be in the range to $1.25 to $1.50 per million BTU’s
      managed in the facility.

      The Aguirre Off Shore Gas Port (AOGP) is considered as a P3 arrangement between PREPA
      and Excelerate Energy. Similarities include that Excelerate Energy will provide engineering,
      procurement and construction services for the terminal and will provide the O&M services on
      the terminal, gasifying facilities and the Floating Storage Regasification Unit vessel (FSRU).
      The main differences between the AOGP concept and the LNG terminal in San Juan harbor is
      that the FSRU is a unit under a rental agreement with no title transfer option to the
      government, and PREPA shall borne the cost of the off shore terminal and in-shore facilities.

 f)   Our understanding on our recent call with PREPA is that the $350 million LNG infrastructure
      investment cost provided to USACE already assumes a profit margin for the private entity
      that constructs the facility. Include this information. Basically, there just needs to be
      clarification that the costs currently being used in Federal navigation study factor in the fact
      that the LNG infrastructure investment will be done as a public-private partnership.
      Profit margins included in the $350 million dollar investment are considered for all the
      involved parties except the private company entering into agreement with PREPA on a P3
      (permitting/regulatory advisors, designers, legal, demolition, construction, equipment as
      well as the private company’s overhead allocation from his project financing if any) . As a P3
      project were only the private company is investing and starts to produce earnings with the
      tolling fee scheme, profit margins are to be included in the P3 contract terms and conditions,
      which it is envisioned that will be included in the tolling fee.




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4. Whether or not the federal navigation project is required for PREPA to make the $350 million
   investment to convert its San Juan area power plants to LNG.
          The Federal Navigation Project, which includes the Army terminal widening and
          deepening, is of outmost importance and hence required for both permitting and the
          cost benefit of this project to our end customers, which is the entire people of Puerto
          Rico.
       a. Confirm use of diesel in San Juan area power plants if the federal navigation project is
          NOT constructed to widen Army Terminal Channel
          In order for PREPA to sustain the reliability of the electric grid in the north area of Puerto
          Rico, if the federal navigation project is not constructed PREPA will be forced to convert
          its existing No.6 fuel oil-fired steam units in San Juan and Palo Seco power Plants to use
          No.2 light distillate oil (diesel).
       b. Confirm use of LNG imported on ships through San Juan Harbor if the federal navigation
          project IS constructed to widen Army Terminal Channel .
          Confirmed. PREPA will pursue the use of available 125k – 135k cubic meters capacity
          LNG Vessels or larger if the federal navigation project is constructed.
       c. Explain the inefficiencies of using smaller LNG vessels (i.e., world fleet availability or lack
          thereof, USCG restrictions on more calls of smaller vessels, etc.)

            In terms of permitting, larger LNG vessels will translate in fewer port calls to San Juan
            harbor (about 1 per month- or less- but no more than two per month). Not having the
            Federal Navigation Project and not having the channel width and depth for larger vessels
            will result in requesting a much higher number of port calls if pursuing smaller vessels,
            which will be a permitting challenge due to the already congested San Juan harbor
            transit. PREPA is not optimistic in achieving permitting for frequent port calls of smaller
            LNG vessels, as it is well expected that the USCG would be reluctant to authorize a higher
            number of port calls for LNG vessels to enter San Juan harbor, as LNG exclusions zones
            will still apply to the harbor’s transit. Moreover, due to the unavailability of smaller LNG
            carriers in the market, the only option would be to secure fabrication of not less than
            two vessels for continuous and dedicated use for PREPA. Such vessel costs are not
            included in the $350 million estimate which would make the project not feasible for
            lowering electricity costs.

            In terms of cost benefit to our clients, it is not a matter of a return-of-investment
            business case, it is the resulting kilowatt-hour rate to Puerto Rico's residential,
            commercial, and industrial. A lowest and feasible electricity rate using LNG can only be
            achieved with reliable LNG availability and receiving it in large, bulk quantities, which
            will greatly reduce transportation costs. Also, the higher the number of available
            vessels, the lower the cost for securing transportation. An adequate number of vessels in
            the LNG industry requires the widening and deepening that can be achieved with the
            Federal Navigation Project.

5. A schedule by which the work ($350 million LNG conversion) will be accomplished: planning,
   design, permitting, construction




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       Planning will resume on February 2018
       Procurement of the private company for the P3 start date: April 2018
       Permitting start date: April 2018 (detailed studies for filing)
       Conceptual design and required studies starting month: May 2018
       P3 contract establishment: March 2019
       Detailed design start date: March 2019
       Detailed design completed all systems: September 2020
       Permitting final approval: February2021
       Construction start date: April 2021
       Construction end date/Commercial Operation: April 2024

   6. PREPA actions indicating commitment to use of LNG at the San Juan and Palo Seco power plants.
      For example, there was mention that combustors have already been purchased for San Juan
      units #5 & 6 and that these combustors will be used to allow these unit to go from burning
      diesel today to burning LNG in the future. This is an actual investment that already took place
      that demonstrates PREPA’s commitment to using LNG at the San Juan Plant in the future.
      Additionally, include details on the permits that were requested/obtained for the pipeline from
      San Juan to Palo Seco and the investment for combined cycle upgrades on units at Palo Seco.
      Supporting documentation will be included in the letter.


The following information needs to be requested from PREPA but not included in the letter:

   1. Please provide notes and the Puerto Rico Energy Commission's response to the presentation
      given the week of 6/25/17 on the plans for LNG conversion. To be supplied.
            a. Since the time of this presentation have there been subsequent proceedings with PREC
                (Puerto Rico Energy Commission) or other governing/decision-making bodies that
                superseded anything discussed there? No subsequent proceedings have superseded the
                current plans. The Energy Commission has only requested additional information.
            b. If so, can we get written documentation of those discussions and outcomes as well?
                Will be supplied if the documentation exists and if discussions took place.
      Note that information about the most recent proceeding/decisions related to PREPA’s plans is
      very important given that PREPA recently filed for Title III bankruptcy which has led to concern
      regarding whether PREPA will be able to make the $350 million LNG investment currently
      assumed by the time the federal navigation project is estimated to be complete (2026).
      PREPA understands that Title III filing under PROMESA will not impede such an investment since
      it is planned that the awarded private company will make the $350M investment as per the P#
      agreement.

       Has the process of getting Federal Energy Regulatory Commission (FERC) approval for an LNG
       terminal commenced? Is there a timeline/plan for going through the FERC approval process for
       the San Juan plants? The process of getting Federal Energy Regulatory Commission (FERC)
       approval for an LNG terminal has not commenced. Because of disaster recovery efforts, PREPA
       expects to resume project development activities, which includes the FERC submission, by April
       2018. Project completion timelines are not to be affected and commercial operation can be
       achieved by the expected 2024-2025 timeframe.




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                                  HEARING                            08/22/2017
SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY & ENVIR




 · ·SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING

 · · · · · INTEGRATED FEASIBILITY STUDY &

 · · · · · · ·ENVIRONMENTAL ASSESSMENT




 was held at the Puerto Rico Convention Center, 100
 Convention Boulevard, Room 103A, San Juan, Puerto
 Rico, on Tuesday, August 22, 2017, at 10:02 a.m.


 Reported By:· Derek L. Hoagland
 · · · · · · · California CSR No. 13445




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                                  HEARING                            08/22/2017
SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY &2..5
                                                                             ENVIR
                                                        Page 2                                                       Page 4
PRESENTERS:                                                      ·1· ·consistent, I will follow the
                                                                 ·2· ·scriptor, doing both presentations,
U.S. ARMY CORPS OF ENGINEERS                                     ·3· ·so to make sure we are providing
                                                                 ·4· ·you the same information in English
JACKSONVILLE DISTRICT                                            ·5· ·and Spanish.
                                                                 ·6· · · · After many months of study,

BY:· Brenda Calvente, Project Manager                            ·7· ·including coordination with the
                                                                 ·8· ·Puerto Rico Port Authority,

· · ·904.232.1694                                                ·9· ·environmental resource agencies,
                                                                 10· ·port users, U.S. Coast Guard, and

· · ·brenda.e.calvente@usace.army.mil                            11· ·many other stakeholders, we present
                                                                 12· ·to you today the tentatively
                                                                 13· ·selected plan, or TSP, for
-- AND --
                                                                 14· ·navigation improvement at the
                                                                 15· ·San Juan Harbor.
U.S. COAST GUARD
                                                                 16· · · · The U.S. Coast Guard, as the
                                                                 17· ·coordinating agency in the study,
SAN JUAN, PUERTO RICO
                                                                 18· ·will share with you today
                                                                 19· ·additional improvements proposed by
BY:· EFRAÍN LÓPEZ
                                                                 20· ·the organization.
                                                                 21· · · · After each presentation, there
· · ·787.289.2097
                                                                 22· ·will be a comment section for you
                                                                 23· ·to ask questions and to provide us
· · ·efrain.lopez1@uscg.mil
                                                                 24· ·with input.· Keep in mind the
                                                                 25· ·comment sections will be recorded


                                                        Page 3                                                       Page 5
·1· ·SAN JUAN, PUERTO RICO, TUESDAY, AUGUST 22, 2017             ·1· ·to ensure we accurately capture
·2· · · · · · · · P R O C E E D I N G S                          ·2· ·your questions and input.
·3· · · · · · · MS. CALVENTE:· Good morning,                     ·3· · · · For those of you who do not
·4· · · · ·everybody.· Can you hear me?                          ·4· ·wish to speak today, comment forms
·5· · · · · · · UNIDENTIFIED SPEAKER:· No.                       ·5· ·are available for you to give
·6· · · · · · · MS. CALVENTE:· No?· This is                      ·6· ·input, and I am going to provide
·7· · · · ·better?                                               ·7· ·additional information before we
·8· · · · · · · UNIDENTIFIED SPEAKER:· All                       ·8· ·start the open section.
·9· · · · ·right.· All right.                                    ·9· · · · We will have an informal poster
10· · · · · · · MS. CALVENTE:· I am Brenda                       10· ·section toward the end of the
11· · · · ·Calvente.· I am the project manager                   11· ·morning when project experts will
12· · · · ·for the San Juan Harbor improvement                   12· ·be available to answer additional
13· · · · ·project with the Army Corps of                        13· ·questions.
14· · · · ·Engineers.· I can't hear myself.                      14· · · · Any questions?
15· · · · · · · First, I am sorry.· I got sick                   15· · · · Before I begin, I would like
16· · · · ·this weekend, so I have this funny                    16· ·the Corps of Engineers' project
17· · · · ·voice, so I hope hopefully you can                    17· ·delivery team to stand up and
18· · · · ·hear me and you can understand me.                    18· ·introduce themselves.
19· · · · ·If you don't understand me or I                       19· · · · MR. POWELL:· Dick Powell,
20· · · · ·need to, you know, elevate my                         20· ·Coastal Navigation Section of
21· · · · ·voice, just let me know.· I will do                   21· ·Planning.
22· · · · ·my best.                                              22· · · · MR. CONGER:· Steve Conger.     I
23· · · · · · · This presentation will be                        23· ·am the engineering lead.
24· · · · ·provided in both languages, English                   24· · · · MS. JACKSON:· Courtney Jackson,
25· · · · ·and Spanish.· In order to be                          25· ·economics.



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                                  HEARING                            08/22/2017
SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY &6..9
                                                                             ENVIR
                                     Page 6                                         Page 8
·1· · · · MS. MARINO:· Mary Marino,           ·1· ·participants have truly set a high
·2· ·cultural Resources.                      ·2· ·standard and found ways to resolve
·3· · · · MS. SHALER:· I am Kristen           ·3· ·concerns early in the study
·4· ·Shaler, biologist standing in for        ·4· ·process.
·5· ·Paul DeMarco, who is the project         ·5· · · · Our remaining milestones and
·6· ·biologist.                               ·6· ·anticipated dates, including a
·7· · · · MS. CALVENTE:· I also want to       ·7· ·final plan associated report and
·8· ·have the opportunity to introduce        ·8· ·the Corps Engineer chief's report,
·9· ·our court reporter.                      ·9· ·are indicated on the slides.· The
10· · · · THE REPORTER:· My name is Derek     10· ·chief's report is the final step
11· ·Hoagland.· I am a certified              11· ·before the plan is delivered to the
12· ·shorthand reporter.                      12· ·Assistant Secretary of the Army for
13· · · · MS. CALVENTE:· As mentioned         13· ·submittal to Office of Management
14· ·previously, the purpose of this          14· ·and Budget and Congress for
15· ·meeting is to discuss the TSP for        15· ·consideration and authorization.
16· ·San Juan Harbor navigation               16· ·And our schedule right now is for
17· ·improvements and to provide you an       17· ·September 2018, about a year from
18· ·opportunity to ask questions and         18· ·now.
19· ·provide us with your input               19· · · · Federal interest in harbor
20· ·regarding this draft plan.· Please       20· ·modification was initially
21· ·note that the comment period             21· ·established in 1917.· Since that
22· ·regarding this draft plan ends           22· ·time the harbor has been modified
23· ·September 2nd, 2017.                     23· ·in 1935 and from 2000-1999 to 2001.
24· · · · The Corps Engineer study            24· · · · The existing San Juan Harbor
25· ·includes several phases designed to      25· ·project includes channels and
                                     Page 7                                         Page 9
·1· ·facilitate as much public,               ·1· ·turning basins ranging in depth
·2· ·technical, and internal, and             ·2· ·from 30 to 56 feet.· Major
·3· ·external agency input as possible        ·3· ·commodities include
·4· ·during the process.                      ·4· ·petroleum-related products, bulk
·5· · · · The last time we presented to       ·5· ·grains, and consumer goods serviced
·6· ·you was in November of 2015 when we      ·6· ·by tankers, bulkers, Panamax
·7· ·initiated our scoping or                 ·7· ·containers, and roll on, roll off
·8· ·information-gathering phase of the       ·8· ·vessels.
·9· ·study.                                   ·9· · · · Any questions so far?
10· · · · In January 2016, at our             10· · · · This project was authorized
11· ·alternative milestone, our path          11· ·because of problems throughout the
12· ·forward for analyzing the harbor         12· ·harbor that challenged the port and
13· ·was approved by our agency               13· ·port users to efficiently serve the
14· ·leadership.                              14· ·existing shipping fleet and future
15· · · · On June 30, 2017, we presented      15· ·cargo volumes.
16· ·our TSP to our agency leadership         16· · · · Difficult winds, currents, and
17· ·and the Port Authority.· At that         17· ·waves at the entrance to the harbor
18· ·time we were approved to send a          18· ·challenge navigation.
19· ·plan for public review and comment,      19· · · · Inadequate depths in the cruise
20· ·which brings us to today's meeting.      20· ·turning basin east restrict cruise
21· · · · We are proud of the successful      21· ·ship maneuvering.
22· ·collaboration that we believe has        22· · · · Depth constraints for cargo
23· ·gathered an economically and             23· ·vessels cause the existing fleet to
24· ·environmentally sound TSP.· The          24· ·light load, leading to more
25· ·cooperating agencies and other           25· ·transits than necessary.

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                                  HEARING                            08/22/2017
SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY10..13
                                                                           & ENVIR
                                    Page 10                                        Page 12
·1· · · · Inadequate widths in the Army       ·1· ·simulation study.
·2· ·Terminal Channel prevent transition      ·2· · · · For anyone not familiar with
·3· ·to a larger fleet, also leading to       ·3· ·the ship simulation, it facilities
·4· ·more transits than necessary.            ·4· ·optimizing dimensions for
·5· · · · Of course, facilitating             ·5· ·proposed channel widening and
·6· ·navigational safety is always a          ·6· ·turning area modifications, these
·7· ·priority in concert with the U.S.        ·7· ·optimized improvements emerged from
·8· ·Coast Guard and harbor pilots.           ·8· ·iterations of numerically scaled
·9· · · · As a result, there are              ·9· ·designed vessels that are guided by
10· ·opportunities to decrease                10· ·professional harbor pilots through
11· ·transportation costs and                 11· ·a precisely scaled visual
12· ·inefficiencies and bring forecasted      12· ·presentation of existing conditions
13· ·goods in fewer ships.                    13· ·and then the proposed improved
14· · · · Deepening from the Anegado          14· ·harbor facility.
15· ·Channel to the Army Terminal             15· · · · The professional harbor pilots
16· ·Turning Basin will allow both            16· ·of San Juan Harbor were invited
17· ·existing medium-range and                17· ·early to be active participants in
18· ·long-range petroleum tankers to          18· ·the ship simulation study.
19· ·more fully load with the potential       19· · · · Ship simulations confirmed the
20· ·to transition to large long-range        20· ·need for widening along the Army
21· ·tankers as well.                         21· ·Terminal Channel and Army Terminal
22· · · · By 2026 the Puerto Rican            22· ·Basin improvements and verified the
23· ·Electrical Power Authority, or           23· ·need for the full extent of the
24· ·PREPA, anticipates transitioning to      24· ·cruise ship basin to be deepened to
25· ·liquid natural gas, or LNG, a less       25· ·its previously authorized depths of
                                    Page 11                                        Page 13
·1· ·costly fuel for power generation.        ·1· ·36 feet to allow for efficient
·2· ·Widening of the Army Terminal            ·2· ·back-turn-and-go maneuvering.
·3· ·Channel will allow PREPA to              ·3· · · · Once a potential project
·4· ·transition to LNG, potentially           ·4· ·footprint was determined through
·5· ·reducing power generation costs for      ·5· ·the ship simulation and analysis of
·6· ·the San Juan metropolitan area.          ·6· ·deepening measures, archives of
·7· · · · The largest cruise vessel           ·7· ·geotechnical borings were reviewed
·8· ·class, the Oasis class, has been         ·8· ·to determine the characterization
·9· ·calling San Juan Harbor since 2016.      ·9· ·of materials between the project
10· ·Deepening improvements in the            10· ·footprint.· During preconstruction
11· ·cruise basin will facilitate             11· ·engineering and design, additional
12· ·improved maneuverability of cruise       12· ·Corps borings will be taken to
13· ·vessels, saving time and fuel.           13· ·enhance information gathered during
14· · · · Container vessels provide all       14· ·the feasibility study.
15· ·types of consumer goods to the           15· · · · Knowledge of the potential
16· ·island, and deepening needs were         16· ·project footprint, material, and
17· ·evaluated.                               17· ·shoaling information enables
18· · · · After the opportunities and         18· ·engineering staff to determine
19· ·existing and future fleet and            19· ·construction methodology, disposal
20· ·commodity movements into and out of      20· ·of placement opportunities, and
21· ·the port were confirmed, Corps           21· ·dredge quantities.
22· ·Engineer staff, in coordination          22· · · · A navigation visibility study
23· ·with the Corps Deep Draft                23· ·forecasts waterborne cargo volumes,
24· ·Navigation Planning Center of            24· ·traffic patterns, and vessel
25· ·Expertise, pursued a ship                25· ·fleets, and evaluates the need for

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                          Government of Puerto Rico
                          Puerto Rico Elec tric Power Authonty


              October 13, 2017



              Mr. Eric Summa
              Chief, Planning and Policy Division
              Jacksonville District Corps of Engineers
              701 San Marco Boulevard
              Jacksonville, Florida 32207-8175

              Dear mister Summa:

              Re: LNG Receiving, Storage & Gasification Facilities at San Juan

              The Puerto Rico Electric Power Authority (PREPA) has been working extensively on the
              diversification of fuels, by means of using natural gas to comp ly primarily with the US
              Environmental Protection Agency (EPA) regulations, such as the Mercury and Air Toxic
              Standards (MATS). The use of natural gas will also help reduce and stabilize Puerto
              Rico's electricity rates, contributing to the economic growth potential of Puerto Rico , as
              it has been shown in PREPA's Integrated Resources Plan (IRP) study results.

              Given the benefits of using natural gas for energy production, PREPA has been also
              pursuing the use of natural gas at the northern power plants, San Juan and Palo Seco
              Steam Plants. During th e past months, our personnel had been assisting the US Army
              Corps of Engineers (USCOE) in its Tentatively Selected Plan for the San Juan Harbor
              Improvements Project (TSP). That project includes the widening and deepening of
              several channels , which is of outmost importance to our LNG Receiving , Storage &
              Gasification Project. It will allow larger, commercially available LNG vessels to unload
              LNG products in the planned new LNG unloading terminal, to be located close to the
              premises of the San Juan Power Station.

              There is no doubt that Hurricane Maria passed over Puerto Rico , and left extensive
              damages to our entire electric system. However, recovery and reconstruction efforts
              are underway with the strong support by federal agencies, including the USCOE. More
              than ever, the LNG Receiving, Storage & Gasification Project is a key component of
              PREPA's restructuring process, so PREPA hereby confirms that the project will conti nue
              its development up to a successful comp letion.

Chief Executive Officer
G.P o. Box 364257
San .).;an. Puarto Rk:o 00935·4267

C 787.52 1.4656
8 787.521 .4665



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Mr. Eric Summa
Page 2


We are available to continue all efforts to the USCOE's TSP for San Juan Harbor
Improvements. If you need more information or would like to further discuss this or
other matters related to the Project, please contact engineer Jose C. Vazquez Vera
at (787) 521-7749 or by email atjvazquez12333@aeepr.com .

Sincerely,




Ricardo L. Ramos Rodriguez
Chief Executive Office

c   Eng. Efran Paredes Maysonet
    Eng. Justo L. Gonzalez Torres




                                                                   USACE_001969
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                  SAN JUAN HARBOR IMPROVEMENT STUDY,
                                SAN JUAN, PUERTO RICO
                 SUBMERGED CULTURAL RESOURCES SURVEY


                                                              FINAL REPORT




                                             CONTRACT NO. W912EP-17-F-0004

                                                                  PREPARED FOR

                                                  US ARMY CORPS OF ENGINEERS
                                                           JACKSONVILLE DISTRICT
                                                   PRUDENTIAL OFFICE BUILDING
                                                   701 SAN MARCO BOULEVARD
                                             JACKSONVILLE, FLORIDA 32207-8175

                                                                             BY

                                                                       SEARCH

                                                                 OCTOBER 2017




                                                              USACE_001970
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October 2017                                                                                                      SEARCH
Final Report                                                      San Juan Harbor Improvement Study, San Juan, Puerto Rico


The USACE, the federal entity that had been conducting waterway improvement work across
the United States for decades, began to study San Juan Harbor in the early twentieth century.
While they appreciated the size of San Juan Harbor, they found the depth to be insufficient.
They described the entrance channel as “narrow and crooked” with “a least depth of 27 feet.”
The channel bend around La Puntilla had a depth of 30 feet, but the remainder of the harbor
had many shallow areas and dangerous shoals (Chief of Engineers 1907:806). Despite these
navigational issues, a variety of vessels passed through San Juan Harbor in the early twentieth
century. Figure 21 is a 1900 photograph of the Puerta de San Justo area as it appeared from
shore (looking south). Figure 22 is an early twentieth-century photograph of the Puerta de San
Justo area. Sailing ships, as well as steam vessels, are anchored or docked in the port.

In March 1907, the US government provided the first funding for improvements to San Juan
Harbor via the River and Harbor Act of that year. The USACE recommended dredging of the
entrance channel to 600 feet wide from deep water opposite Morro Point and 500 feet wide
from Morro Point to La Puntilla. Also, they recommended dredging more than 400,000 square
yards of the harbor to attain a depth of 24 to 30 feet (Chief of Engineers 1907:806).

The USACE work in San Juan Harbor proceeded through 1908, 1909, and 1910, removing
thousands of cubic yards of soft material and coral rock. The dredged material was dumped “in
a remote part of the harbor” and also towed to sea. By June 1910, the work in the Puerta de
San Justo anchorage and the entrance channel had been completed; however, a section of the




     Figure 21. The Puerta de San Justo area as it appears from shore (looking south), 1900. Source: Archivo
                                            General de Puerto Rico.


Historic Context                                       44
                                                                                                  USACE_002033
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From:             Diana Umpierre
To:               DeMarco, Paul M CIV USARMY CESAJ (US)
Subject:          [EXTERNAL] Q on deadline for San Juan Harbor Navigation Study public comment on Draft FS/EA/ Proposed
                  FONSI -
Date:             Wednesday, September 27, 2017 10:28:53 PM


Hello Paul,

Today I was meeting in Okee Co about a different (Everglades) project and learned of a
deadline coming up for a San Juan Harbor study. Could you let me know the official deadline
for public comment? Also, has it been extended due to Hurricane Maria's impact, which was
greater than Irma?

I think it goes without saying that the island is dealing w/ a life and death crisis and the public
living there has limited communications/ electricity, so I'm wondering if a reasonable
extension is on the works so that all stakeholders have equal and fair opportunity for comment.

Sincere Thanks,

-----
Diana Umpierre, AICP
Organizing Representative
Everglades Restoration Campaign
Sierra Club
e: diana.umpierre@sierraclub.org
c: (954) 829-7632

Explore, enjoy and protect the planet




                                                                                                       USACE_002302
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                     GOBIERNO DE PUERTO RICO
                     Oficina Estatal de Conservaci6n Historica


                   September 18, 20 17


                   Gina Paduano Ralph, Ph.D.
                   Chief, Environmental Bronch
                   Jackson ville District Corps of Engineers
                   701 San Marco Boulevard
                   Jacksonville, FL 32207-8175

                   SHPO 10-0 5-15-02 SAN JUA N HARBOR IMPRO V EMENT STUDY. SAN JUAN .
                   PUERT O RI CO

                   Dear Dr. Padua no,

                   We have reviewed t he d raft submerged cultural resources su rvey report (Ju ly
                   2017) prepared for th e above referenced projec t.          Overall, it is a very
                   comprehensive docum ent. However. wh il e we are awa re that the report
                   cau t ions t hat positiona l accuracy of prev iously reported shipwrecks and
                   obstructions from multi ple databases may be tentative, it should, nevertheles s,
                   explicitly state when current survey data does not mesh with t his earlier
                   loeationa l information and present potentia l rea sons why . For example, Figure
                   40 (Page 59) marks a shipwreck with in what appears t o be the northern end of
                   the Army Terminal Channel, while t he current survey did not detec t such a fin d .
                   The final report should direct ly acknowledge and discuss thi s di screpancy.

                   As for t he potentially sign ificant anomal ies detected in the Anchorage A rea F
                   Exp ans ion (refer red to in the draft repor t as "Cab le Area"), if t hese ca nnot be
                   avoided, the U.S. A rmy Corps of Engineers wi ll need t o eva luate t hei r hist oric
                   sig nif icance in con sultation w ith our Office.

                   If you have any questions regardi ng this matt er, pleas e contact Miguel Bonin i at
                   (787) 721-3737 or mbonini@prshpo .pr.gov,

                  SIncerely.




                  Ca rlos A, Ru bio-Cancela
                  State Historic Preservation Officer

                  CA RC/GMO/ BRS/ MB


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 CN 076-04495
                                   GOVERNMENT OF PUERTO RICO
 REV. 05117                  PUERTO RICO ELECTRIC POWER AUTHORITY

                                                  SAN JUAN, PUERTO RICO



                                                                                                                  GPO BOX 364267
www.prepa.com                                                                                                     SAN JUAN, PR 00936-4267




September 11 , 2017



Mr. Paul DeMarco ,
Department of the Army
Jacksonville District Corps of Engineers
701 San Marco Boulevard
Jacksonville, FL 32207-8175

Dear Mr. DeMarco:

RE:      San Juan Harbor Navigational Improvements Project
         Request for Information


On August 30, 2017, the Puerto Rico Electric Power Authority (PREPA) received your
letter regarding the above mentioned project.                                As a resu lt of the evaluation of the
information submitted by the US Army Corps of Engineers (CoE), PREPA submits the
following information regarding the impact of the proposed Project, as presented , in
PREPA's operations and infrastructure.

PREPA is fully supportive of the proposed Project, since for the efficieni and reliable
operation of the electric system of Puerto Rico, some of the generating units on the
north coast of the Island must use natural gas instead of the oil fuels used today. This
requires the construction of an LNG receiving, storage and fe-gasifying infrastructure,
and the dredge of the navigational channel within the San Juan Harbor, in order for it to
have the required depth for the LNG Carriers.                                   Notwithstanding its support for the
Project, PREPA also has some concerns that will require the Corps 'attention during the
dredging activities.

The electrical system in Puerto Rico is operated by PREPA, a public corporation
created by Law No. 83 of 1941 . To supply the electrical system demand of the Island ,
PREPA operates several generating units located at different geographical areas .
Among them are the Palo Seco and San Juan Complexes, located on the north coast of


 "We are an equal opportunlty efll)loyer and do rIOt discriminate on the basis of race. color. gender, age, national or social origin,
social status, pomical ideas or affiliation, religion; for being or perceived to be a victim of domestic violence, sexual aggression or
hara ssment, regardless of marital status, sexual orientation, gender identity or immigration status: for physical or mental disability,
                                                 for veteran status or genetic information .'



                                                                                                                 USACE_002304
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Mr. Paul DeMarco
September 11 , 2017
Page 2

the Island , specifically in the Toa Baja and San Juan municipalities, respectively. Palo
Seco has a total generation of 722 megawatts (MW) , while San Juan has 840 MW.
These units are essential in ensuring the reliabil ity and stability operation of the electric
system, and therefore, critical for its operation.

To supply the fuel (Bunker C and Diesel) demand of both complexes, PREPA contracts
suppliers to ship the fuel in vessels that dock in the Puerto Rico Port Authority's (PRPA)
Terminal-ABC in order to transfer it to PREPA's onshore storage tanks located at each
facility. Therefore, special consideration shall be taken during the Project's planning
and execution to avoid any fuel supply disruption to these power stations. OtheIWis8, it
may result in an adverse impact on the electrical system operation and reliability, as
well as the people of Puerto Rico's wellbeing and national security stability.

The San Juan Complex seawater intake structures are located near the proposed
Project's area. During the proposed dredging activities, there is the potential of impacts
to the quality of the seawater pumped into the condensers circulation water system,
which may affect the power stations compliance with the regulatory agencies water
quality requirements . Also, it may limit the generating units' thermal efficiency, reducing
their maximum generation capacity and availability, and increasing the maintenance
costs associated to additional condensers cleaning activities. Therefore , the
implementation of best management practices during the Project execution are required
to prevent and reduce the impact of the proposed dredging activities to PREPA's
operations and infrastructure at the San Juan Complex.

Regarding PREPA's future plans, in order to provide natural gas to some of its
generating units in Palo Seco and San Juan, PREPA has performed a Feasibility and
Option Study through which it preliminarily concluded that there are two feasible
options. The preferred feasible option is a Storage and Vaporization Infrastructure at the
San Juan Complex, which includes a shore side LNG receiving terminal with carriers
and vaporization ashore and cargo provided through LNG carrier. The LNG carriers are
expected to require a depth of up to 40.2 feet and channel width of 400 feet through the
Army Terminal Channel and its Turning Basin . Due to the need for this infrastructure,
the viability study for the proposed dredged project already integrated a maximum
widening of the Army Terminal Channel from 350 to 450 feet and a maximum
deepening of the Army Terminal Channel and Turning Basin from 40 to 44 feet.

For additional information, please contact Mrs. Luisette X. Rlos Castaner,
Environmental Protection and Quality Assurance Division, Acting Head, at (787) 521-
4960.



~Ifijr
Efran Paredes Maisonet
Planning and Environmental Protection Director


                                                                             USACE_002305
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From:                 Miyoko Sakashita
To:                   DeMarco, Paul M CIV USARMY CESAJ (US)
Subject:              [EXTERNAL] Comments on San Juan Harbor EA and FONSI
Date:                 Thursday, September 7, 2017 7:48:21 PM
Attachments:          Comment San Juan Harbor 2017 v2.pdf


Please see attached.


__________________________________________
Miyoko Sakashita
Oceans Director | Senior Counsel

Center for Biological Diversity
1212 Broadway, Suite 800
Oakland, CA 94612

tel. 510-844-7108 | miyoko@biologicaldiversity.org
@endangeredocean | Center for Biological Diversity




                                                                            USACE_002306
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of an inadequate impact zone resulted in a vast underestimate of the true harmful impacts of
dredging activities on corals.

The Corps’ reliance on a management plan is insufficient to fully mitigate the adverse impacts
on corals. The project’s impacts on threatened corals triggers the need to prepare a full EIS.

    b. The project will have significant effects on endangered marine mammals.

The Corps must also consider the effect of increasing the size and number of ships calling at the
Harbor as is relates to the increased risk of harm from ship strikes. Ships striking and killing or
maiming marine species is a serious, prevalent problem that the Project may worsen in the
Harbor area as a result of this project. The EA fails to consider that the operation of the widened
and deepened channel will harm Antillean manatees. Vessel collisions are a leading cause of
mortality and injury for manatees.

Higher traffic volumes of larger ships in the shipping lanes leading up to and within the Puerto
Rico area will increase the risk of collisions with marine species. Larger vessels account for a
disproportionate number of ship strikes—especially fatal ship strikes.5 Partly due to their greater
weight and partly because of their decreased maneuverability, “most, if not all, lethal collisions
are caused by large ships rather than small vessels.”6 For instance, most large ship strikes to
whales result in death.7

Ship strikes pose a serious threat to marine mammals, such as the Puerto Rico population of
Antillean manatees. The U.S. Fish and Wildlife Service (USFWS) has estimated that, over the
past thirty years in in Puerto Rico, “37% of manatees died of natural causes, 26% die[d] of
human-related causes, and 36% of [unknown] causes.”8 USFWS lists boat strikes as the primary
cause of human-caused manatee deaths in Puerto Rico.9 Naturally, the number of ship strikes is
related to the number of ships navigating in Puerto Rico’s waters. A harbor accommodating
larger ships will increase the likelihood that Puerto Rico manatees will suffer ship-related injury
or death. Because the Puerto Rico manatee population is small and geographically isolated, any
increase in impacts to this population is significant, and the Corps must mitigate these impacts
accordingly.

It is insufficient to mitigate only the impacts of dredging and construction, a full EIS must also
disclose the impacts of vessel traffic on manatees. First, the assumption that vessel traffic will
decrease is incorrect because even though there are larger vessels there will be an increase in
vessel traffic to meet growing demands. Second, even assuming fewer vessels, the larger vessels


5
  Laist et al., Collisions Between Ships and Whales, 17 MARINE MAMMAL SCI. 35, 54 (2001); Silber et al.,
Hydrodynamics of a Ship/Whale Collision, 391 J. EXPERIMENTAL MARINE BIOLOGY & ECOLOGY 11, 18-19 (2010)
(ship size correlated to risk and severity of ship strike)
6
  Laist et al., Collisions Between Ships and Whales, 17 MARINE MAMMAL SCI. 35, 54 (2001); Silber et al.,
Hydrodynamics of a Ship/Whale Collision, 391 J. EXPERIMENTAL MARINE BIOLOGY & ECOLOGY 11, 18-19 (2010).
7
  A.S. Jansen & G.K. Silber, Large Whale Ship Strike Database, NOAA Technical Memorandum, NMFS-OPR-25,
U.S. DEP’T COMMERCE 9, fig. 4 (2004).
8
  USFWS, Antillean Manatee Fact Sheet (Apr. 2, 2013), http://www.fws.gov/caribbean/es/manatee_factsheet.html.
9
  Id.



                                                      4                                    USACE_002310
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underwater.24 Finally, ship noise increases at higher ship speeds, as this increases the degree and
volume of cavitation and onboard machine sounds.25

Here, the agency must analyze the noise impacts from larger ships that will be approaching and
traveling in San Juan Harbor as a result of this widening and deepening project.

     e. The impacts from potential oil spills are significant.

The Corps’ failed to consider the significant environmental impact from oil spills. The EA notes
that the project will allow larger capacity petroleum tankers. It will also change the current
practice of loading tankers with light loads. The agency must analyze in a full EIS the potential
for an oil spill and the environmental risks of an oil spill. The existing channel width and depth
limits the volume of petroleum products that could be carried through the channel in one vessel.
This means that there is a greater potential for a high volume oil spill that could harm and kill
corals, seabirds, sea turtles, manatees and other species. It will also impair water and air quality.

Acute and chronic oil spills have a wide array of lethal and sublethal impacts on marine species,
including immediate and long-term effects. Petroleum oil is a complex mixture of hundreds of
different compounds, mostly hydrocarbons, with different levels of toxicity to wildlife.
Polycyclic aromatic hydrocarbons (PAHs) are among the most toxic oil components and have
been documented to cause significant impacts on wildlife. Direct impacts to wildlife from
exposure to oil include behavioral alteration, suppressed growth, induced or inhibited enzyme
systems and other molecular effects, physiological responses, reduced immunity to disease and
parasites, histopathological lesions and other cellular effects, tainted flesh, and chronic
mortality.26 Oil can also exert indirect effects on wildlife through reduction of key prey species.27
As detailed below, the persistence of toxic subsurface oil leading to chronic exposure, even at
sublethal levels, can impact wildlife species and ecosystems for decades.28

Exposure to crude oil adversely affects fish at all stages.29 Oil affects virtually all invertebrate
taxa.30 It is toxic to bottom-dwelling, pelagic and intertidal invertebrates such as corals, lobsters,



24
   GUIDELINES FOR THE REDUCTION OF UNDERWATER NOISE FROM COMMERCIAL SHIPPING TO ADDRESS ADVERSE
IMPACTS ON MARINE LIFE, INT’L MARITIME ORGANIZATION 4 (2014).
25
   GUIDELINES FOR THE REDUCTION OF UNDERWATER NOISE FROM COMMERCIAL SHIPPING TO ADDRESS ADVERSE
IMPACTS ON MARINE LIFE, INT’L MARITIME ORGANIZATION 5 (2014) (definition of cavitation).
26
   Holdway, D. A. 2002. The acute and chronic effects of wastes associated with offshore oil and gas production on
temperate and tropical marine ecological processes. Marine Pollution Bulletin 44:185-203.
27
   Peterson, C. H., S. D. Rice, J. W. Short, D. Esler, J. L. Bodkin, B. E. Ballachey, and D. B. Irons. 2003. Long-term
ecosystem response to the Exxon Valdez oil spill. Science 302:2082-2086.
28
   Id.
29
   Carls, M. G., S. D. Rice, and J. E. Hose. 1999. Sensitivity of fish embryos to weathered crude oil: part I. Low-
level exposure during incubation causes malformations, genetic damage, and mortality in larval pacific herring
(Clupea pallasi). Environmental Toxicology and Chemistry 18:481-493; Bernanke, J., and H.-R. Kohler. 2009. The
impact of environmental chemicals on wildlife vertebrates. Reviews of Environmental Contamination and
Toxicology 198:1-47.
30
   Suchanek, T. H. 1993. Oil impacts on marine invertebrate populations and communities. American Zoologist
33:510-523.



                                                          7                                       USACE_002313
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crabs, oysters, clams, and zooplankton.31 Widespread mortality of marine invertebrates generally
occurs in the immediate vicinity of oil spills due to chemical toxicity and smothering, and
additional mortality can result when toxic components of oil are remobilized from sediments.32
Sublethal effects to invertebrates from oil exposure include impairment of reproduction, growth,
respiration, excretion, chemoreception, feeding, movements, stimulus response and disease
resistance.33 In corals, laboratory experiments have documented broad impacts from oil exposure
including reduced growth, tissue damage and death, zooxanthellae expulsion, abnormal feeding
behaviors, increased susceptibility to bacterial infection, damaged reproductive function (e.g.
lower gonad numbers, sterilization of gametes), impaired larval metamorphosis and recruitment,
and bioaccumulation of toxic compounds in exoskeletons.

Oil is hazardous to sea turtles of all ages and the avenues of exposure are numerous. Egg
mortality is increased in eggs exposed to oil due to the oil’s toxicity and smothering effects
(NMFS 2003 at 38). Juvenile and adult turtles encounter oil, tar, and other spill-related chemicals
in the water column, at the surface, and through contaminated prey. Laboratory tests of the
effects of oil on 15- to 18-month old loggerheads found that both acute and chronic exposure to
oil adversely affects all of a sea turtle’s major physiological systems (Lutcavage et al. 1995).
Because oiled seabirds often return to shore, the impacts of oil spills on seabirds are among the
most visible and well-documented. Seabirds, shorebirds, and wading birds are vulnerable to
becoming coated with oil at the water surface and shoreline. Oiling destroys the water-proofing
and insulating properties of the feathers, thereby compromising their buoyancy and ability to
thermoregulate (Jenssen 1994). Oiled birds rapidly deplete their fat reserves due to their inability
to forage and regulate their body temperature, and quickly become emaciated, dehydrated, and
hypothermic, often leading to mass die-offs (Jenssen 1994). Studies on the effects of oil on eggs
have shown significant mortality and developmental defects in embryos (Jenssen 1994). Oiled
birds are also at high risk of ingesting oil when they preen their feathers (Briggs et al. 1997).
Ingested oil can damage the gastrointestinal tract, evidenced by ulcers, diarrhea, and a decreased
ability to absorb nutrients, and inhibit proper hormone function (Jenssen 1994). Inhalation of
volatile hydrocarbons can result in pneumonia, neurological damage, and absorption of
chemicals that can lead to cancer.34

Whales, dolphins, and manatees can be exposed to oil internally by inhaling volatile compounds
at the surface, eating or swallowing oil, and consuming oil-contaminated prey, and externally by
swimming in oil (NOAA 2010b). The inhalation of toxic hydrocarbons can cause respiratory
irritation, inflammation, emphysema, and pneumonia (Geraci and St. Aubin 1988, NOAA
2010b). If absorbed into the lungs and bloodstream, toxic hydrocarbons can accumulate in
tissues like the brain and liver causing neurological disorders and organ damage, result in anemia
and immune suppression, and lead to reproductive failure or death (Geraci and St. Aubin 1988,
NOAA 2010b). Baleen whales that filter-feed at the surface are vulnerable to coating and fouling

31
   USFWS. 2010. Effects of Oil on Wildlife and Habitat. (May 2010), available at
http://www.fws.gov/home/dhoilspill/pdfs/DHJICFWSOilImpactsWildlifeFactSheet.pdf.; Peterson, C. H., M. C.
Kennicutt, R. H. Green, P. Montagna, D. E. Harper, E. N. Powell, and P. F. Roscigno. 1996. Ecological
consequences of environmental perturbations associated with offshore hydrocarbon production: a perspective on
long-term exposures in the Gulf of Mexico. Canadian Journal of Fisheries and Aquatic Science 53:2637-2654.
32
   Suchanek 1993, Peterson et al. 1996, Peterson et al. 2003, Haapkyla 2007
33
   Supra at 30.
34
   Oiled Wildlife Care Network, http://www.owcn.org/about-oiled-wildlife/effects-of-oil-on-wildlife



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their baleen plates with oil, thereby decreasing their ability to eat (Geraci and St. Aubin 1988,
NOAA 2010b). Manatees are at risk from fouling the sensory hairs around their mouths which
are important for detecting edible seagrasses. Cetaceans may ingest oil-contaminated
zooplankton and fish prey, leading to gastrointestinal inflammation, ulcers, bleeding, diarrhea,
and maldigestion (Geraci and St. Aubin 1988, NOAA 2010b). Long-term studies of killer whales
impacted by the Exxon Valdez spill indicate that oil spills can have long-term, population-level
effects on marine mammals. A resident killer whale pod that suffered a 33% loss in the year
following the Exxon Valdez spill had not recovered to pre-spill numbers sixteen years after the
spill, while a transient pod that experienced a 41% loss, including reproductive-age females, has
continued to decline toward extinction since the spill (Matkin et al. 2008).

The potential for larger volume oil spills is greatly increased by widening and deepening the
harbor. Not only will larger ships be able to come into the harbor, but they will also be transiting
in the ocean where whales occur and along the coast with potential impacts on sensitive coral
reef ecosystems.

   f. The cumulative effects of numerous widening and deepening harbor projects must
      be evaluated.

The cumulative effects of connected widening and deepening must be evaluated in a full EIS.
The Corps’ evaluation and approval of widening and deepening ports throughout the coastal US
are connected actions that should be evaluated in a programmatic EIS. Cumulative
environmental effects can be defined as effects on the environment which are caused by the
combined results of past, current and future activities. 40 CFR §1508.7. There are numerous
feasibility studies occurring at ports and harbors throughout the United States to widen and
deepen navigation channels to allow larger vessels. These actions are all related and foreseeable.
Additionally, many will have impacts in multiple locations for species that migrate. Specifically,
with more of these larger vessels being able to go into numerous ports, this will increase vessel
traffic in the ocean that will be louder and more likely to collide with marine mammals.


   II.     The EA is inadequate to meet the Corps’ obligation to take a hard look at the
           environmental impacts.

The EA fails to consider important information and it makes conclusions that are contrary to fact.
There are several shortcomings in the EA, some of which are described in the above sections.

First, the agency’s reliance on a 150-meter buffer zone is inadequate and the recent information
from Port of Miami renders reliance on old analyses outdated and arbitrary. Corals have
beendocumente din the area. Sedimentation and water quality issues have been identified far
beyond 150-meters from similar dredging projects. Dredged materials will leak off of the vessel
taking them to the disposal area and affect listed corals. Thus, the impacts on ESA-listed corals
are underestimated.

Second, the agency concedes that seagrass habitat will be affected, but it fails to consider the
impact of losing seagrasses on manatees.



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Third, conclusion that noise will only temporarily increase is incorrect, because noise will
increase permanently because larger vessels are noisier. Moreover, the assumption that the
vessel calls are likely to decrease under the proposed action is flawed because shipping is likely
to continue to increase.

Fourth, the EA only analyzes the environmental impacts of construction, and fails to consider the
ongoing impacts of deepening and widening the channel. This will mean larger vessels that are
more likely to collide with marine mammals including whales and manatees.

Fifth, the EA fails to consider alternatives. It appears that the EA considers only the no action
and various depths of dredging. This is inadequate as all of the alternatives then have similar
effects. The Corps must analyze alternatives that will be environmentally beneficial, for
example mitigation for corals by outplanting, noise reduction of vessels by either speed limits or
requiring the best available noise reduction technology at the port, ship strike avoidance by
requiring approaching speed limits, education of mariners on avoiding striking manatees and
whales, limiting the number of vessels that may transit to ensure that there is not an increase in
vessel calls. There are numerous alternatives that would present an environmentally preferable
alternative.

And finally, the agency’s evaluation of cumulative effects is woefully inadequate. A conclusory
statement that “cumulative adverse impact will be appropriately minimized” fails to disclose
cumulative impacts.

   III.    The Corps must complete consultation under section 7 of the ESA because its
           action may affect listed species, and it must obtain a permit under the MMPA.

Section 7(a)(2) of the ESA requires federal agencies to “insure that any action authorized,
funded, or carried out by such agency . . . is not likely to jeopardize the continued existence of
any endangered species or threatened species or result in the adverse modification of habitat of
such species . . .determined . . . to be critical . . . .” 16 U.S.C. § 1536(a)(2); 50 C.F.R. §
402.14(a). To accomplish this goal, agencies must consult with the delegated agency of the
Secretary of Commerce or Interior whenever their actions “may affect” a listed species. 16
U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(a).

The ESA’s consultation requirement applies to Federal agencies taking any action. 16 U.S.C. §
1536(a)(2). “Action means all activities or programs of any kind authorized, funded, or carried
out, in whole or in part, by Federal agencies in the United States or upon the high seas” including
“the granting of licenses, contracts, leases, easements, rights-of-way, permits, or grants-in-aid.”
50 C.F.R. § 402.02 (emphasis added). The Supreme Court noted that ESA’s section 7 command
to Federal agencies “admits of no exception." Tenn. Valley Auth., 437 U.S. v. Hill, 437 U.S. 153,
173 (1978). See also Pacific Rivers Council v. Thomas, 30 F.3d 1050, 1054-55 (9th Cir. 1994).
(recognizing that Congress intended “agency action” to be interpreted broadly, admitting of no
limitations.) Moreover, the use of the word “shall” in a statute indicates Congress’ intent to
impose a mandatory duty. Bennett v. Spear, 520 U.S. 154, 172 (1997) (use of “shall” creates a
“categorical requirement”).



                                                10                                USACE_002316
                                                                      NEWS RELEASE
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For Immediate Distribution                                                                                Contact:
29 August 2017                                                                       Paul DeMarco at 904-232-1897
                                                                                   Paul.m.demarco@usace.army.mil


                       San Juan Harbor, Puerto Rico Integrated Feasibility
                              Study & Environmental Assessment

Jacksonville, Fl – The Jacksonville District, U.S. Army Corps of Engineers (Corps) has prepared a Draft Feasibility
Study and Environmental Assessment concerning navigational improvements to San Juan Harbor in San Juan,
Puerto Rico. The Corps presented results of this study including a Tentatively Selected Plan at a public meeting in
San Juan, Puerto Rico on Tuesday, August 22, 2017. The Puerto Rico Ports Authority (the project sponsor), Puerto
Rico Electric Power Authority, port users, U.S. Coast Guard, San Juan harbor pilots, environmental resource agency
representatives and other interested parties attended the meeting. Also at this meeting, the U.S. Coast Guard, San
Juan Sector, a cooperating agency, presented an overview of their rule making process for expansion of Anchorage
Area “F”.

   The Tentatively Selected Plan consists of deepening Cut-6 to 46 feet, widening the Army Terminal Channel by
100 feet and deepening the Anegado, the Army Terminal Channels and the Army Terminal Turning Basin to 44 feet
(see figure). In addition, the San Antonio Channel would be deepened to 36 feet. Lesser increments of widening and
deepening were also evaluated. The dredged material is expected to be suitable for placement in the Ocean
Dredged Material Disposal Site located a few miles from the harbor entrance. Some material may be suitable for
placement in dredged holes and other beneficial purposes.

    Pursuant to the National Environmental Policy Act and the U.S. Army Corps of Engineers Regulations (ER 200-2-
2), please find enclosed the Proposed Finding of No Significant Impact. This public notice (along with its enclosures
and referenced documents) also follows the public notice requirement of Section 404(a) of the Clean Water Act.
Evaluation of the impact of the proposed action on the public interest includes application of the guidelines
promulgated by the Administrator, U.S. Environmental protection Agency, pursuant to Section 404(b) of the Clean
Water Act (40 CFR part 230).

   The Corps invites public comments and questions on the Draft Feasibility Study and Environmental Assessment
and Proposed Finding of No Significant Impact. The comment period ends 30 days from the date this notice is
published. Questions and comments concerning this notice should be directed to Paul DeMarco, Corps of Engineers
– SAD, Jacksonville District, Planning and Policy Division, P.O. Box 4970 Jacksonville, FL 32232, or fax 904-232-
3442. A copy of the Environmental Assessment, high resolution drawings and other information is available on the
Corps’ website
<http://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-Branch/Environmental-Documents>




              U.S. ARMY CORPS OF ENGINEERS – Planning and Policy Division, Environmental Branch
                                  701 San Marco Blvd, Jacksonville, FL 32207
                                        http://www.saj.usace.army.mil/
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US Army Corps of Engineers
JACKSONVILLE DISTRICT




                     PROPOSED FINDING OF NO SIGNIFICANT IMPACT

                      SAN JUAN HARBOR, PUERTO RICO
                      NAVIGATION IMPROVEMENT STUDY
        INTEGRATED FEASIBILITY STUDY AND ENVIRONMENTAL ASSESSMENT

The U.S. Army Corps of Engineers, Jacksonville District (Corps), has conducted an
environmental assessment in accordance with the National Environmental Policy Act of 1969,
as amended. The Corps assessed the effects of the following actions in the Draft Integrated
Feasibility Report and Environmental Assessment (IFR/EA), dated August 2017 for the San
Juan Harbor Improvements Study, Puerto Rico. This integrated report is incorporated herein by
reference. The Preferred Alternative consists of the following:

   x    Widening
           o Widen Army Terminal Channel 50 feet on each side (100 feet total) from an
              existing width of 350 feet to provide a total width of 450 feet.
           o No additional widening justified at this time.

   x    Deepening
           o Deepen Cut-6 to project depth of 46 feet.
           o Deepen Anegado Channel to a project depth of 44 feet.
           o Deepen Army Terminal Channel to a 44-foot project depth.
           o Deepen Army Terminal Turning Basin to a 44-foot project depth.
           o Deepen the San Antonio Channels and Cruise Ship Basin East to a project depth
              of 36 feet.

   x    Dredged Material Placement Options
           o Base Plan - Place dredged material at the existing Offshore Dredged Material
              Disposal Site (ODMDS).
           o Estimate includes use of a mechanical clamshell dredge to excavate
              approximately 2,110,000 cubic yards of material into a bottom-dump barge for
              transport to the ODMDS. A hydraulic dredge could also be used.
           o Beneficial uses of dredged material under consideration include filling holes in
              Condado Lagoon to enhance sea grass planting and material placement islands
              with living shorelines.

In addition to the “no action” alternative, a final array of three alternatives with varying levels of
benefits and costs were evaluated, including the Preferred Alternative. The alternative with the
highest net-benefits (Preferred Alternative described above) has a BCR greater than 1.0 and it

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becomes the National Economic Development Plan. There is not a locally preferred plan. The
Preferred Alternative is also the environmentally preferable alternative.

I have reviewed the IFR/EA for the Preferred Alternative. This Finding incorporates by
reference all discussions and conclusions contained in the IFR/EA enclosed hereto.
Based on the information analyzed in the IFR/EA, which reflects pertinent information
obtained from agencies having jurisdiction by law and/or special expertise, I conclude
that the Preferred Alternative will not significantly affect the quality of the human
environment and does not require an Environmental Impact Statement. Reasons for
this conclusion are in summary:

           a. All practicable means to avoid and minimize adverse environmental effects have
              been incorporated into the Preferred Alternative. Environmental commitments as
              detailed in the IFR/EA will be implemented to minimize impacts.

           b. Pursuant to the Clean Water Act of 1972, as amended, any discharge of dredged
              or fill material associated with the TSP have been found to be compliant with
              section 404(b)(1) Guidelines (40 CFR 230). This evaluation can be found in
              Appendix J of the IFR/EA.

           c. The Puerto Rico Planning Board will review the federal consistency
              determination concurrently with the public review of the draft IFR/EA. As shown
              in Appendix I, the Corps determined the proposed action is consistent with the
              enforceable policies of the Puerto Rico Coastal Management Program, per the
              Federal Coastal Zone Management Act. A water quality certification pursuant to
              section 401 of the Clean Water Act will be obtained from Puerto Rico
              Environmental Quality Board prior to construction. All conditions of the water
              quality certification will be implemented in order to minimize adverse impacts to
              water quality.

           d. Pursuant to section 7 of the Endangered Species Act of 1973, as amended,
              coordination with the U.S. Fish and Wildlife Service and the National Marine
              Fisheries Service is ongoing and will be completed prior to approval of the final
              IFR/EA. The Corps agrees to maintain open and cooperative communication
              with the U.S. Fish and Wildlife Service and the National Marine Fisheries Service
              regarding actions necessary to complete the project.

           e. Pursuant to section 106 of the National Historic Preservation Act of 1966
              (NHPA), as amended, consultation has been initiated and is ongoing with the
              Puerto Rico State Historic Preservation Officer and the National Park Service in
              accordance with the National Historic Preservation Act and considerations given
              under the National Environmental Policy Act. No effect to historic properties are
              anticipated.

In view of the above, and the attached IFA/EA, and after consideration of public and agency
comments received on the project, I conclude that the Preferred Alternative would not result in a
significant effect on the human environment. This Proposed Finding of No Significant Impact
incorporates by reference all discussions and conclusions contained in the IFA/EA enclosed
herewith.


                                               II

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____________________________                      _______________
Jason A. Kirk, P.E.                        Date
Colonel, U.S. Army
District Commander




                                     III

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From:           Ruth Santiago
To:             Powell, Richard B Jr CIV USARMY CESAJ (US)
Subject:        [Non-DoD Source] LNG Deliveries to Puerto Rico
Date:           Friday, August 25, 2017 4:05:02 PM
Attachments:    ICSE Brief AOGP Aguirre Site Economic Analysis PREC 20170802164807565.pdf
                Arctas Final Substantive and Legal Brief August 2 2017 AOGP Aguirre Site Economic Analysis PREC.pdf
                AOGP PREPAS BRIEF ON SUBSTANTIVE AND LEGAL ISSUES WITH ATTACHMENT 8-2-2017 Aguirre Site
                Economic analysis PREC.pdf
                ELAC Numbered IEEFA Sommer Kunkel testimony 6-2 -2017 AOGP Aguirre Site Economic Analysis PREC.pdf
                SeaOne Caribbean, LLC to PROMESA Board.pdf
                ELAC Legal and Substantive Brief AOGP PREPA Aguirre Site Economic Analysis PREC.pdf


Hello Mr. Powell,

It was very nice to meet you this past Tuesday.

Attached are some of the documents I mentioned concerning LNG deliveries to Puerto Rico.
Please feel free to share them with your colleagues. Let me know if you have any questions or
require any further information.

Regards,

Ruth
--
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                       COMMONWEALTH OF PUERTO RICO
                       PUERTO RICO ENERGY COMMISSION

IN RE: AGUIRRE SITE ECONOMIC ANALYSIS     NO. CEPR-AP-2017-0001

                                          SUBJECT: PREPA’S BRIEF ON SUBSTANTIVE
                                          AND LEGAL ISSUES


                PREPA’S BRIEF ON SUBSTANTIVE AND LEGAL ISSUES




                                    August 2, 2017

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                                    Electric Power Authority




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publicly available documents have indicated viable alternatives to the construction of costly

permanent infrastructure such as the AOGP project that would tie Puerto Rico to fossil fuel

generation for the long term. The National Renewable Energy Laboratory recommends the siting

of utility scale solar energy facilities at closed landfills in Puerto Rico. These projects could also

be     developed      on      brownfields      and     other     previously      impacted      areas.

http://www.nrel.gov/docs/fy11osti/49237.pdf Furthermore, large-scale photovoltaic rooftop solar

projects have been recommended by the University of Puerto Rico’s Instituto Tropical de Energia,

Ambiente                          y                        Sociedad                          (ITEAS,

http://iteas.uprm.edu/).http://www.uprm.edu/aret/docs/Ch_1_Summary.pdf, págs. 1-13 al 1-14.

Schools and other government facilities that operate almost exclusively during daylight hours

would be good sites for rooftop solar installations without requiring large investments in battery

storage systems. PREPA and other Puerto Rico government agencies could facilitate the

implementation of solar energy projects. Greater integration of renewable energy as proposed by

PREPA in its Fiscal Plan requires reevaluating the viability of the AOGP project.


       During the public hearing in this case, there was testimony to the effect that the cost of

rooftop solar is close to 10 cents per kWh and goes down to 7-8 cents per kWh with the Renewable

Energy Fund and the Rural Energy for America Program. PREPA has not explained why the PPAs

with above market prices for renewable energy have not expired by virtue of Article 16 of the

contracts that established a cutoff date of December 2016 or earlier for commencement of

commercial operations.

       During the technical conference in this case, PREPA and other witnesses conceded that the

single most important factor in achieving greater penetration of renewable energy in the Puerto

Rico grid is the availability of rapid ramping or combined cycle units. In addition to fuel savings,

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fuel generation played an important role in Puerto’s electrification but it has come at a very high price.

The financial outlays for the existing fossil fuel infrastructure are a large part of PREPA’s crippling

debt. The public health and environmental impacts of fossil fuel generation are significant. Private

energy generation based on power purchase and operation agreements have not resolved Puerto Rico’s

electricity challenges. Traditional, fossil fuel-based generators must prioritize enabling the maximum

use of renewable energy. Replacement of fossil fuel-based generation should be within existing power

plants, in previously impacted sites and that provide some leverage to negotiate better agreements with

private investors. Electric infrastructure is essential for the socio-economic development of Puerto

Rico. The centralized generation model requires large financial investments. Years of deferred

maintenance and minimum investment in the transmission and distribution systems have resulted in

high electrical losses and frequent and severe blackouts. The Honorable Commission should proceed

with measures requiring PREPA to improve revenue and load estimates; to implement energy

efficiency, demand response and energy storage and to enhance emissions monitoring. Experts assert

that the modified IRP provision allowing for H-Class generation units are too large for the relative size

of the Puerto Rico grid. They posit that replacement generation must be agile and smaller than the units

to be replaced in order to maximize renewable energy use. Puerto Rico requires a new electric power

infrastructure that provides electric energy at reasonable cost, with greater efficiency, and with

minimum impact on the environment. As noted elsewhere in this brief, renewable energy is

economically competitive in Puerto Rico. Rooftop photovoltaic (PV) systems constitute a better

alternative than utility scale solar installations, which require large amounts of land, and are more

expensive than rooftop PV because they are based on power purchase agreements (PPA) for utility

scale solar with escalating costs during the life of the project. The declining energy demand, bars the

construction of large natural gas infrastructure that would tie the Puerto Rico electric grid and economy

to 40 years of continued fossil fuel dominance. Experts that have been working on Puerto Rico electric

grid issues for decades propose the development of citizen-owned, electric power system based on
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rooftop solar PV to take full advantage of local resources and innovative market-based opportunities.

“A rooftop solar-based electrical grid could leapfrog a centralized, hierarchical system to distributed

prosumer transactive energy market in which public policy facilitates citizens’investments in the

electric system mainly through rooftop solar, distributed energy storage and smart meter technology.”

The proposals are based on the examples in New York and Hawaii, the later has a goal of 100% clean

energy by 2045. The integration of renewable energy, conservation strategies, and efficiency measures

within solar communities can harness market forces in a transactive energy framework for the benefit

of consumers and investors. Puerto Rico will benefit from reduced dependence on fossil fuels, the

emergence of electricity markets (e.g., transactive energy), improved environmental quality, public

health and local socio-economic development. The cost of a clean, silent, inconspicuous, rooftop solar

PV residential generation system continues to drop with a U.S. national average of $3.16 per installed

Watt. In Puerto Rico, as in Florida and Colorado, the average cost is between $3 and $2.80 per installed

Watt. At $3 per installed Watt, the average solar rooftop electricity costs, without storage (with net

metering) in Puerto Rico is $0.11 per kWh. In recent months, the cost of electricity from the grid has

been around $0.20 per kWh, with a 98% dependence on fossil fuels (oil, natural gas or coal-based

generation). An increasing number of PREPA clients are privatizing their electric energy services,

individual families and businesses are installing PV systems or purchasing energy from private

companies. Implementation of Act 133-2016, will allow low-income communities to develop private

community solar systems. The Honorable Commission should promote that fossil fuel-based

generators prioritize enabling the maximum use of renewable energy. “With declining electricity

demand and cheaper rooftop PV, investors considering large, private power plants would face a high-

risk scenario: financing expensive facilities with no warranty of long-term sales to provide the payback

and rates of returns customarily generated in Puerto Rico. The business model of any organization that

seeks to be part of the electric energy sector in Puerto Rico must go beyond merely selling electricity;



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it must provide competitive energy services in support of an increased use of local resources:

conservation, efficiency and renewable energy”.




       D.      Applicable Law and Discussion


       In Magriz v. Empresas Nativas, 143 D.P.R. 63 (1997), the Puerto Rico Supreme Court

determined that the Uniform Administrative Procedure Act, (LPAU, Law No. 170 of August 12,

1988, 3 L.P.R.A. Sec. 2101 et seq., as amended) was enacted to provide citizens with efficient,

prompt and high quality public services under the protection of the basic guarantees of due process

of law. Pursuant to this purpose, various administrative agencies are granted quasi-judicial powers

to run an adjudication system that favors its efficient use by lay people. López et al. Asociacion

de Taxis de Cayey, 142 DPR 109 (1996). In order to guarantee the goal of doing justice to the

parties, both the Uniform Administrative Procedures Act, supra, 3 L.P.R.A. Sec. 2151, and the

associated jurisprudence have established that in issuing a resolution the administrative agency

must safeguard the right to timely and adequate notice, the right to be heard, the right to confront

witnesses, the right to provide oral and written evidence in its favor, and the right to an impartial

adjudicator, Henríquez v. Higher Education Council, 120 D.P.R. 194, 202 (1987); Ortiz Cruz

v. Junta Hipico, 101 D.P.R. 791, 795 (1973). The administrative decision must be informed with

knowledge and understanding of the evidence relevant to the case. A.D.C.V.P. V. Superior

Court, 101 D.P.R. 875, 883 (1974). Magriz v. Empresas Nativas, 143 D.P.R. 63, 69-70 (1997).


       As to the factual determinations of administrative agencies, Section 4. 5 of the LPAU

reflects the traditional standard of substantial evidence required for adjudication as reiterated by

the Puerto Rico Supreme Court and the United States Supreme Court. See, Metropolitana, S.E.

                                                                                                  20

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Secondly, PREPA has many aging and inefficient power plants that will require significant capital
expenditures to upgrade or replace. However, PREPA’s financial problems will continue to make it
difficult to incur more debt for modernization and efficiency improvement projects, thereby leaving
conversions to lower-cost gas as PREPA’s best solution for quickly reducing its rates and solving its
pollution problems. The use of fuel oil in most of its plants has made PREPA non-compliant with air
emissions regulations risking significant fines from the Environmental Protection Agency (EPA) but more
importantly affecting the health of hundreds of thousands of American citizens. The environmental issues
are particularly serious in the San Juan metropolitan area, where over 70% of Puerto Rico’s population is
located and pulmonary ailments are more prevalent than in the rest of the population.

For many years, PREPA has sought to bring natural gas to the San Juan region in order to gasify the existing
power plants in the area and new plants in the future. Without access to natural gas, the PREPA plants in
the North (San Juan & Palo Seco) have continued, and will continue, to burn diesel and heavy fuel oil.
PREPA is seeking to bring LNG into the south which also requires new generation and transmission lines
to bring the power to the north. The option for LNG in the south represents a very complex and expensive
path which only partially alleviates San Juan’s environmental issues.

THE SOLUTION
SeaOne’s project to deliver U.S. gas and NGLs (including propane, butane, LPGs and other gas liquids) to
Caribbean and Central American markets is ideal for Puerto Rico, providing access to cleaner and
significantly lower cost energy. SeaOne’s business is based upon three key tenets:

    (1) to provide the lowest cost gas and NGLs to Caribbean and Central American markets;
    (2) to deliver both gas and NGLs in a single cargo; and
    (3) to allow customers to have complete control of their gas and NGL purchases.

SeaOne’s project uses our patented Compressed Gas Liquids (CGL®) system which is the optimization of
long-existing gas processing equipment. Specifically, SeaOne will export gas and NGLs from its Export
Facility in the existing Port of Gulfport, Mississippi (see Exhibit 4) to its CGL Receiving Terminals in the
Caribbean and Central America including Puerto Rico (see Exhibit 5). SeaOne Puerto Rico, LLC will be
the owner and operator of the CGL Receiving Terminal being developed in the City of Guaynabo, near the
Port of San Juan. SeaOne will begin service to Puerto Rico (and other Caribbean markets) in the first
quarter of 2019.

Exhibit 4: CGL Production and Export Facility in the Existing Port of Gulfport, MS




                                                     3

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                               HEARING                         08/22/2017
SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY & ENVIR




 · ·SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING

 · · · · · INTEGRATED FEASIBILITY STUDY &

 · · · · · · ·ENVIRONMENTAL ASSESSMENT




 was held at the Puerto Rico Convention Center, 100
 Convention Boulevard, Room 103A, San Juan, Puerto
 Rico, on Tuesday, August 22, 2017, at 10:02 a.m.


 Reported By:· Derek L. Hoagland
 · · · · · · · California CSR No. 13445




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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY2 & ENVIR

 PRESENTERS:



 U.S. ARMY CORPS OF ENGINEERS
 JACKSONVILLE DISTRICT
 BY:· Brenda Calvente, Project Manager
 · · ·904.232.1694
 · · ·brenda.e.calvente@usace.army.mil

 -- AND --

 U.S. COAST GUARD
 SAN JUAN, PUERTO RICO
 BY:· EFRAÍN LÓPEZ
 · · ·787.289.2097
 · · ·efrain.lopez1@uscg.mil




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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY3 & ENVIR

 ·1· ·SAN JUAN, PUERTO RICO, TUESDAY, AUGUST 22, 2017
 ·2· · · · · · · · P R O C E E D I N G S
 ·3· · · · · · · MS. CALVENTE:· Good morning,
 ·4· · · · ·everybody.· Can you hear me?
 ·5· · · · · · · UNIDENTIFIED SPEAKER:· No.
 ·6· · · · · · · MS. CALVENTE:· No?· This is
 ·7· · · · ·better?
 ·8· · · · · · · UNIDENTIFIED SPEAKER:· All
 ·9· · · · ·right.· All right.
 10· · · · · · · MS. CALVENTE:· I am Brenda
 11· · · · ·Calvente.· I am the project manager
 12· · · · ·for the San Juan Harbor improvement
 13· · · · ·project with the Army Corps of
 14· · · · ·Engineers.· I can't hear myself.
 15· · · · · · · First, I am sorry.· I got sick
 16· · · · ·this weekend, so I have this funny
 17· · · · ·voice, so I hope hopefully you can
 18· · · · ·hear me and you can understand me.
 19· · · · ·If you don't understand me or I
 20· · · · ·need to, you know, elevate my
 21· · · · ·voice, just let me know.· I will do
 22· · · · ·my best.
 23· · · · · · · This presentation will be
 24· · · · ·provided in both languages, English
 25· · · · ·and Spanish.· In order to be


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 ·1· ·consistent, I will follow the
 ·2· ·scriptor, doing both presentations,
 ·3· ·so to make sure we are providing
 ·4· ·you the same information in English
 ·5· ·and Spanish.
 ·6· · · · After many months of study,
 ·7· ·including coordination with the
 ·8· ·Puerto Rico Port Authority,
 ·9· ·environmental resource agencies,
 10· ·port users, U.S. Coast Guard, and
 11· ·many other stakeholders, we present
 12· ·to you today the tentatively
 13· ·selected plan, or TSP, for
 14· ·navigation improvement at the
 15· ·San Juan Harbor.
 16· · · · The U.S. Coast Guard, as the
 17· ·coordinating agency in the study,
 18· ·will share with you today
 19· ·additional improvements proposed by
 20· ·the organization.
 21· · · · After each presentation, there
 22· ·will be a comment section for you
 23· ·to ask questions and to provide us
 24· ·with input.· Keep in mind the
 25· ·comment sections will be recorded


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY5 & ENVIR

 ·1· ·to ensure we accurately capture
 ·2· ·your questions and input.
 ·3· · · · For those of you who do not
 ·4· ·wish to speak today, comment forms
 ·5· ·are available for you to give
 ·6· ·input, and I am going to provide
 ·7· ·additional information before we
 ·8· ·start the open section.
 ·9· · · · We will have an informal poster
 10· ·section toward the end of the
 11· ·morning when project experts will
 12· ·be available to answer additional
 13· ·questions.
 14· · · · Any questions?
 15· · · · Before I begin, I would like
 16· ·the Corps of Engineers' project
 17· ·delivery team to stand up and
 18· ·introduce themselves.
 19· · · · MR. POWELL:· Dick Powell,
 20· ·Coastal Navigation Section of
 21· ·Planning.
 22· · · · MR. CONGER:· Steve Conger.               I
 23· ·am the engineering lead.
 24· · · · MS. JACKSON:· Courtney Jackson,
 25· ·economics.


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY6 & ENVIR

 ·1· · · · MS. MARINO:· Mary Marino,
 ·2· ·cultural Resources.
 ·3· · · · MS. SHALER:· I am Kristen
 ·4· ·Shaler, biologist standing in for
 ·5· ·Paul DeMarco, who is the project
 ·6· ·biologist.
 ·7· · · · MS. CALVENTE:· I also want to
 ·8· ·have the opportunity to introduce
 ·9· ·our court reporter.
 10· · · · THE REPORTER:· My name is Derek
 11· ·Hoagland.· I am a certified
 12· ·shorthand reporter.
 13· · · · MS. CALVENTE:· As mentioned
 14· ·previously, the purpose of this
 15· ·meeting is to discuss the TSP for
 16· ·San Juan Harbor navigation
 17· ·improvements and to provide you an
 18· ·opportunity to ask questions and
 19· ·provide us with your input
 20· ·regarding this draft plan.· Please
 21· ·note that the comment period
 22· ·regarding this draft plan ends
 23· ·September 2nd, 2017.
 24· · · · The Corps Engineer study
 25· ·includes several phases designed to


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY7 & ENVIR

 ·1· ·facilitate as much public,
 ·2· ·technical, and internal, and
 ·3· ·external agency input as possible
 ·4· ·during the process.
 ·5· · · · The last time we presented to
 ·6· ·you was in November of 2015 when we
 ·7· ·initiated our scoping or
 ·8· ·information-gathering phase of the
 ·9· ·study.
 10· · · · In January 2016, at our
 11· ·alternative milestone, our path
 12· ·forward for analyzing the harbor
 13· ·was approved by our agency
 14· ·leadership.
 15· · · · On June 30, 2017, we presented
 16· ·our TSP to our agency leadership
 17· ·and the Port Authority.· At that
 18· ·time we were approved to send a
 19· ·plan for public review and comment,
 20· ·which brings us to today's meeting.
 21· · · · We are proud of the successful
 22· ·collaboration that we believe has
 23· ·gathered an economically and
 24· ·environmentally sound TSP.· The
 25· ·cooperating agencies and other


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY8 & ENVIR

 ·1· ·participants have truly set a high
 ·2· ·standard and found ways to resolve
 ·3· ·concerns early in the study
 ·4· ·process.
 ·5· · · · Our remaining milestones and
 ·6· ·anticipated dates, including a
 ·7· ·final plan associated report and
 ·8· ·the Corps Engineer chief's report,
 ·9· ·are indicated on the slides.· The
 10· ·chief's report is the final step
 11· ·before the plan is delivered to the
 12· ·Assistant Secretary of the Army for
 13· ·submittal to Office of Management
 14· ·and Budget and Congress for
 15· ·consideration and authorization.
 16· ·And our schedule right now is for
 17· ·September 2018, about a year from
 18· ·now.
 19· · · · Federal interest in harbor
 20· ·modification was initially
 21· ·established in 1917.· Since that
 22· ·time the harbor has been modified
 23· ·in 1935 and from 2000-1999 to 2001.
 24· · · · The existing San Juan Harbor
 25· ·project includes channels and


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY9 & ENVIR

 ·1· ·turning basins ranging in depth
 ·2· ·from 30 to 56 feet.· Major
 ·3· ·commodities include
 ·4· ·petroleum-related products, bulk
 ·5· ·grains, and consumer goods serviced
 ·6· ·by tankers, bulkers, Panamax
 ·7· ·containers, and roll on, roll off
 ·8· ·vessels.
 ·9· · · · Any questions so far?
 10· · · · This project was authorized
 11· ·because of problems throughout the
 12· ·harbor that challenged the port and
 13· ·port users to efficiently serve the
 14· ·existing shipping fleet and future
 15· ·cargo volumes.
 16· · · · Difficult winds, currents, and
 17· ·waves at the entrance to the harbor
 18· ·challenge navigation.
 19· · · · Inadequate depths in the cruise
 20· ·turning basin east restrict cruise
 21· ·ship maneuvering.
 22· · · · Depth constraints for cargo
 23· ·vessels cause the existing fleet to
 24· ·light load, leading to more
 25· ·transits than necessary.


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       10 & ENVIR

 ·1· · · · Inadequate widths in the Army
 ·2· ·Terminal Channel prevent transition
 ·3· ·to a larger fleet, also leading to
 ·4· ·more transits than necessary.
 ·5· · · · Of course, facilitating
 ·6· ·navigational safety is always a
 ·7· ·priority in concert with the U.S.
 ·8· ·Coast Guard and harbor pilots.
 ·9· · · · As a result, there are
 10· ·opportunities to decrease
 11· ·transportation costs and
 12· ·inefficiencies and bring forecasted
 13· ·goods in fewer ships.
 14· · · · Deepening from the Anegado
 15· ·Channel to the Army Terminal
 16· ·Turning Basin will allow both
 17· ·existing medium-range and
 18· ·long-range petroleum tankers to
 19· ·more fully load with the potential
 20· ·to transition to large long-range
 21· ·tankers as well.
 22· · · · By 2026 the Puerto Rican
 23· ·Electrical Power Authority, or
 24· ·PREPA, anticipates transitioning to
 25· ·liquid natural gas, or LNG, a less


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       11 & ENVIR

 ·1· ·costly fuel for power generation.
 ·2· ·Widening of the Army Terminal
 ·3· ·Channel will allow PREPA to
 ·4· ·transition to LNG, potentially
 ·5· ·reducing power generation costs for
 ·6· ·the San Juan metropolitan area.
 ·7· · · · The largest cruise vessel
 ·8· ·class, the Oasis class, has been
 ·9· ·calling San Juan Harbor since 2016.
 10· ·Deepening improvements in the
 11· ·cruise basin will facilitate
 12· ·improved maneuverability of cruise
 13· ·vessels, saving time and fuel.
 14· · · · Container vessels provide all
 15· ·types of consumer goods to the
 16· ·island, and deepening needs were
 17· ·evaluated.
 18· · · · After the opportunities and
 19· ·existing and future fleet and
 20· ·commodity movements into and out of
 21· ·the port were confirmed, Corps
 22· ·Engineer staff, in coordination
 23· ·with the Corps Deep Draft
 24· ·Navigation Planning Center of
 25· ·Expertise, pursued a ship


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       12 & ENVIR

 ·1· ·simulation study.
 ·2· · · · For anyone not familiar with
 ·3· ·the ship simulation, it facilities
 ·4· ·optimizing dimensions for
 ·5· ·proposed channel widening and
 ·6· ·turning area modifications, these
 ·7· ·optimized improvements emerged from
 ·8· ·iterations of numerically scaled
 ·9· ·designed vessels that are guided by
 10· ·professional harbor pilots through
 11· ·a precisely scaled visual
 12· ·presentation of existing conditions
 13· ·and then the proposed improved
 14· ·harbor facility.
 15· · · · The professional harbor pilots
 16· ·of San Juan Harbor were invited
 17· ·early to be active participants in
 18· ·the ship simulation study.
 19· · · · Ship simulations confirmed the
 20· ·need for widening along the Army
 21· ·Terminal Channel and Army Terminal
 22· ·Basin improvements and verified the
 23· ·need for the full extent of the
 24· ·cruise ship basin to be deepened to
 25· ·its previously authorized depths of


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                                                                       13 & ENVIR

 ·1· ·36 feet to allow for efficient
 ·2· ·back-turn-and-go maneuvering.
 ·3· · · · Once a potential project
 ·4· ·footprint was determined through
 ·5· ·the ship simulation and analysis of
 ·6· ·deepening measures, archives of
 ·7· ·geotechnical borings were reviewed
 ·8· ·to determine the characterization
 ·9· ·of materials between the project
 10· ·footprint.· During preconstruction
 11· ·engineering and design, additional
 12· ·Corps borings will be taken to
 13· ·enhance information gathered during
 14· ·the feasibility study.
 15· · · · Knowledge of the potential
 16· ·project footprint, material, and
 17· ·shoaling information enables
 18· ·engineering staff to determine
 19· ·construction methodology, disposal
 20· ·of placement opportunities, and
 21· ·dredge quantities.
 22· · · · A navigation visibility study
 23· ·forecasts waterborne cargo volumes,
 24· ·traffic patterns, and vessel
 25· ·fleets, and evaluates the need for


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       14 & ENVIR

 ·1· ·navigation system improvements over
 ·2· ·a 50-year period of analysis.
 ·3· · · · It considers a wide range of
 ·4· ·structural and nonstructural
 ·5· ·measures within and near the
 ·6· ·harbor, addressing inefficiencies
 ·7· ·within the system.
 ·8· · · · Widening and deepening benefits
 ·9· ·and costs -- benefits and costs
 10· ·were analyzed independently and
 11· ·together to determine an
 12· ·alternative that maximized net
 13· ·benefits, identifying the
 14· ·tentatively selected plan.
 15· · · · As a result of the analysis,
 16· ·the TSP will:
 17· · · · Widen 50 feet on either side of
 18· ·the portion of the Army Terminal
 19· ·Channel, moving from 350 feet to
 20· ·450 feet in width to support
 21· ·petroleum product tankers and LNG
 22· ·vessels.
 23· · · · Deepen Cut-6 on the entrance or
 24· ·"bar channel" to a maximum of 46
 25· ·feet to maintain the existing


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       15 & ENVIR

 ·1· ·2-foot squat and wave allowance for
 ·2· ·Cut-6.
 ·3· · · · Deepen from 40 feet to a
 ·4· ·maximum of 44 feet from the start
 ·5· ·of the Anegado Channel to the Army
 ·6· ·Terminal Turning Basin to support
 ·7· ·petroleum product tankers.
 ·8· · · · Deepen the San Antonio Channel
 ·9· ·and Cruise Ship Basin to 36 feet to
 10· ·resolve turning inefficiencies for
 11· ·cruise ships.
 12· · · · Preliminary geotechnical
 13· ·investigations indicate there is no
 14· ·need for blasting.· It is likely a
 15· ·mechanical clamshell dredge will be
 16· ·used to excavate the materials, and
 17· ·barges will transport it to the
 18· ·open ocean disposal area.
 19· · · · As you can see, the project has
 20· ·a healthy BCR of 3.5 to 1.· Net
 21· ·benefits are primarily realized
 22· ·through reduced power generation
 23· ·costs for the Island of Puerto Rico
 24· ·with a fleet transition to LNG
 25· ·vessels and reduced transportation


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       16 & ENVIR

 ·1· ·costs related to petroleum product
 ·2· ·deliveries.· Federal investment is
 ·3· ·low compared to the non-federal
 ·4· ·investment to upgrade port
 ·5· ·facilities for the arrival of LNG
 ·6· ·vessels.
 ·7· · · · In the future, as an
 ·8· ·independent activity, the U.S.
 ·9· ·Coast Guard plans to expand and
 10· ·deepen Anchorage Area F to the
 11· ·approved depths in adjacent
 12· ·channels for safety purposes as a
 13· ·safety area for ships experiencing
 14· ·mechanical failures or other
 15· ·emergencies.· The Coast Guard will
 16· ·discuss this in their presentation.
 17· · · · And I don't know -- I would
 18· ·like to be more specific, the areas
 19· ·that will be improved with the
 20· ·project.
 21· · · · We have the Army Terminal
 22· ·Channel that it will be basically
 23· ·widened 50 feet each side.
 24· · · · And then here is Cut-6 that is
 25· ·going to 46, and then from Anegado


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       17 & ENVIR

 ·1· ·Channel all the way down to the
 ·2· ·Army Terminal Channel, it will go
 ·3· ·the maximum of 44.
 ·4· · · · And the other area that will be
 ·5· ·improved, it will be basically all
 ·6· ·the Cruise Ship Basin, that it will
 ·7· ·go to 36.
 ·8· · · · And these basically are the
 ·9· ·areas that we will have -- the
 10· ·Coast Guard will do improvements
 11· ·for safety.
 12· · · · The National Environmental
 13· ·Policy Act, or NEPA, enacted in
 14· ·1970 requires federal agencies to
 15· ·assess the environmental effects of
 16· ·their proposed actions prior to
 17· ·making decisions.· To implement
 18· ·NEPA's policies, Congress
 19· ·prescribed a procedure commonly
 20· ·referred to as the NEPA process,
 21· ·using environmental assessments and
 22· ·environmental impact statements to
 23· ·provide public officials with a
 24· ·hard look at the potential
 25· ·environmental consequences of each


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                                                                       18 & ENVIR

 ·1· ·proposed project.
 ·2· · · · A wide range of environmental
 ·3· ·considerations were analyzed during
 ·4· ·the San Juan Harbor study.· The
 ·5· ·most important ones were
 ·6· ·archeological-cultural resources,
 ·7· ·essential fish habitat, navigation,
 ·8· ·turbidity, wetlands.
 ·9· · · · Extensive environmental benthic
 10· ·surveys were conducted by both the
 11· ·Habitat Consideration Division and
 12· ·the Planning and Operations
 13· ·Division between and around the
 14· ·proposed project footprint through
 15· ·May 2017.· These surveys
 16· ·supplemented existing survey data
 17· ·available through NOAA.· Based on
 18· ·existing survey data and
 19· ·preliminary benthic surveys, the
 20· ·TSP would not result in direct
 21· ·impacts to resources of concern.
 22· · · · In addition, the TSP is not
 23· ·anticipated to indirectly impact
 24· ·these resources during construction
 25· ·dredging due to the separation


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 ·1· ·distance involved, greater than 492
 ·2· ·feet.
 ·3· · · · It is anticipated that
 ·4· ·additional benthic surveys will be
 ·5· ·required prior to construction to
 ·6· ·confirm the separation distances
 ·7· ·remain accurate.
 ·8· · · · Finally, approximately 230,000
 ·9· ·cubic yards of construction dredge
 10· ·material, if suitable, could be
 11· ·deposited in the artificial
 12· ·depression in Condado Lagoon with
 13· ·the intent of restoring sea grass
 14· ·habitat.
 15· · · · The area between the future
 16· ·Coast Guard Anchorage Area F
 17· ·expansion contains SAV and
 18· ·hardbottom resources, which could
 19· ·require mitigation pending Coast
 20· ·Guard rule making process approvals
 21· ·and NEPA documentation.
 22· · · · This slide summarizes the
 23· ·previous slide discussion, but also
 24· ·reiterates our commitment to our
 25· ·longstanding, cutting-edge


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 ·1· ·environmental protocols.
 ·2· · · · Regarding cultural resources,
 ·3· ·all portions of San Juan Harbor
 ·4· ·where widening and deepening were
 ·5· ·proposed were subject to a
 ·6· ·submerged cultural resources
 ·7· ·survey.· As a result of this
 ·8· ·survey, no historic properties were
 ·9· ·identified within the footprint of
 10· ·the TSP.
 11· · · · I need a translator.
 12· · · · Our anticipated project
 13· ·schedule is outlined on the slide.
 14· ·Of course, all dates are dependent
 15· ·on authority and funding.· And,
 16· ·basically, our schedule now is we
 17· ·are going to finish the visibility
 18· ·study next year in September.
 19· ·After that, we normally have three
 20· ·years for final design.· And after
 21· ·that, we are estimating three years
 22· ·for construction.· So the year that
 23· ·we will be basically receiving
 24· ·benefits for the project will be
 25· ·2026.


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 ·1· · · · This concludes our presentation
 ·2· ·and initiates our comment section.
 ·3· ·Please note that each individual is
 ·4· ·allowed two minutes to provide
 ·5· ·their input.
 ·6· · · · Again, should you not be
 ·7· ·prepared to speak today, please
 ·8· ·provide us your input via mail or
 ·9· ·email with comment forms in the
 10· ·back of the room or during our
 11· ·poster section toward the end of
 12· ·the morning.
 13· · · · Again, thank you for
 14· ·attendance.
 15· · · · We -- also, if you don't want
 16· ·to do it in English, you can do it
 17· ·in Spanish, but we need you to
 18· ·write it down when you are going to
 19· ·do it in Spanish, that way it gives
 20· ·us the opportunity to translate
 21· ·before we read it in front.
 22· · · · And, basically, that concludes
 23· ·the presentation.· Let me just go
 24· ·to the --
 25· · · · UNIDENTIFIED SPEAKER:· Brenda,


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 ·1· ·thank you very much, and
 ·2· ·congratulations on the dual
 ·3· ·language.
 ·4· · · · MS. CALVENTE:· I am working on
 ·5· ·it.
 ·6· · · · UNIDENTIFIED SPEAKER:· You were
 ·7· ·very good.
 ·8· · · · MS. CALVENTE:· This is my first
 ·9· ·time working with the two
 10· ·languages.· Thank you.
 11· · · · Any comments?· Any questions?
 12· · · · MR. POWELL:· Come on, guys.
 13· ·Don't be shy.
 14· · · · MS. CALVENTE:· (Instructions in
 15· ·Spanish to speaker.)
 16· · · · MR. F. LÓPEZ:· I am going to do
 17· ·it in English so it is a lot
 18· ·easier.· Félix López, U.S. Fish and
 19· ·Wildlife Service.· Our office is
 20· ·writing the Fish and Wildlife
 21· ·Coordination Act Report that we
 22· ·will submit to the Corps of
 23· ·Engineers, and we are also doing
 24· ·the Section 7 consultation for this
 25· ·project.


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 ·1· · · · Just a compliment to the Corps
 ·2· ·on reducing the impacts, because
 ·3· ·the first time we looked at, it was
 ·4· ·like dredging everywhere, and now
 ·5· ·it has gotten smaller.
 ·6· · · · Two concerns, and these will be
 ·7· ·coming out in writing on official
 ·8· ·letterhead later on, but just so
 ·9· ·you can start thinking about this:
 10· · · · The EA mentioned 24-hour
 11· ·operations, and our concern with
 12· ·that would be how do you maintain
 13· ·your manatee avoidance with an
 14· ·observer at the dredge if you are
 15· ·working at night?· So that's one
 16· ·thing you need to consider.
 17· ·Jacksonville has a lot of
 18· ·experience with manatees, so I am
 19· ·sure you have run into this before.
 20· · · · The other thing is the
 21· ·beneficial use of dredge soil.· We
 22· ·have pending mitigation from the
 23· ·previous dredging and now new
 24· ·mitigation for this dredging.· If
 25· ·the material is suitable, and I


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 ·1· ·guess you will do additional
 ·2· ·borings, do not take it to the
 ·3· ·offshore disposal site.· That
 ·4· ·material should be stored or
 ·5· ·somehow used immediately for the
 ·6· ·Condado Lagoon.
 ·7· · · · What we ran into in '98 was a
 ·8· ·lot of the good material was taken
 ·9· ·to the offshore disposal site, and
 10· ·as they worked into the harbor,
 11· ·they started thinking about
 12· ·mitigation, and all we had for
 13· ·material was fluff.· So the good
 14· ·stuff, don't take it offshore, out
 15· ·of the bay.
 16· · · · And you have to work here your
 17· ·mitigation into your cost/benefits
 18· ·analysis, because if you are going
 19· ·to be hauling material to Condado
 20· ·Lagoon as part of the project, you
 21· ·need to look at that, because
 22· ·usually mitigations kind of like
 23· ·kicks things differently.
 24· · · · So that's it.· It will come out
 25· ·in the cards anyway, but, you know,


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 ·1· ·to give you a heads-up and start
 ·2· ·thinking about it.
 ·3· · · · MR. POWELL:· Thank you so much.
 ·4· · · · MS. CALVENTE:· Thank you.
 ·5· · · · MR. F. LÓPEZ:· All right.
 ·6· · · · MS. CALVENTE:· Do you want to
 ·7· ·provide feedback now or we --
 ·8· · · · MR. POWELL:· Share --
 ·9· · · · MS. CALVENTE:· Basically, two
 10· ·comments, the first one is about
 11· ·the --
 12· · · · MR. F. LÓPEZ:· Manatees.
 13· · · · MS. CALVENTE:· The 24 hours.
 14· ·We are evaluating that.· We are
 15· ·already working with different
 16· ·agencies to determine what would be
 17· ·safest for protecting nature.· And
 18· ·I think that one I will not answer
 19· ·right now because we are going
 20· ·through the process.· I don't want
 21· ·to say something that later
 22· ·actually will not be approved or it
 23· ·will not happen.
 24· · · · But we are aware and it is part
 25· ·of the -- basically the last few


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 ·1· ·permits that we are going to be
 ·2· ·working with the different
 ·3· ·agencies.
 ·4· · · · The second one is about
 ·5· ·using -- beneficial use of the
 ·6· ·material.· We are evaluating the
 ·7· ·Condado Lagoon and we actually
 ·8· ·visited two possible parts.· It is
 ·9· ·not that easy to justify and do,
 10· ·but we -- this time we put it in
 11· ·our mind and it is part of the
 12· ·process.· And so we are doing
 13· ·everything we can to make sure when
 14· ·we get to the construction phase we
 15· ·can make better use of that
 16· ·material.· Okay?· And more to come
 17· ·because it is based on
 18· ·authorization and the requirements
 19· ·in order to get that authorization.
 20· · · · Dick, do you want to add
 21· ·anything else?· Or that covers
 22· ·everything?
 23· · · · MR. POWELL:· I think you
 24· ·covered it well.· And it is
 25· ·definitely part of that assessment


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 ·1· ·process, trying to make the best
 ·2· ·use of material that we do have
 ·3· ·there.
 ·4· · · · And as Brenda pointed out, the
 ·5· ·hard part is finding the least-cost
 ·6· ·beneficial use, to use an analogy.
 ·7· ·So we have looked at some and you
 ·8· ·will see in the report that right
 ·9· ·now using the dredging methodology
 10· ·that we currently estimate, it is
 11· ·not a least-cost alternative taking
 12· ·material there.
 13· · · · But we are going to continue to
 14· ·evaluate that and hopefully come up
 15· ·with a least-cost alternative to be
 16· ·able to try and do something.
 17· ·That's definitely one of the things
 18· ·we will continue to evaluate.· So
 19· ·appreciate your thoughts.
 20· · · · MR. F. LÓPEZ:· All right.
 21· · · · MS. CALVENTE:· Any other
 22· ·comments?· Questions?· Concerns?
 23· ·Next person?
 24· · · · MR. BAUZÁ:· Good morning, thank
 25· ·you for the presentation.· I am


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 ·1· ·going to try to do my best with the
 ·2· ·English, so please stop me if you
 ·3· ·don't get the message.
 ·4· · · · I am Dr. Jorge Bauzá, the
 ·5· ·scientist for the San Juan Bay
 ·6· ·Study, and I am going to talk on
 ·7· ·behalf of the San Juan Bay Study.
 ·8· · · · I am going to be echoing the
 ·9· ·words of Félix about using the
 10· ·beneficial use of dredge material
 11· ·and note that that is a big
 12· ·challenge over there.· But the
 13· ·San Juan Bay Study is more than
 14· ·willing to talk about alternatives.
 15· · · · And, also, I have a concern
 16· ·regarding the ocean disposal site,
 17· ·and it is the transportation of
 18· ·sediment to the site.· I would like
 19· ·to -- that you have a monitor
 20· ·system to see that you don't have
 21· ·spilling of sediment material
 22· ·during the transportation from the
 23· ·dredge area to the ocean disposal
 24· ·site.· There are many sensitive
 25· ·benthic communities in the way, so


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 ·1· ·I want to present that you monitor
 ·2· ·that, that component of the system.
 ·3· · · · MR. POWELL:· Thank you so much.
 ·4· · · · MS. CALVENTE:· Any comments?
 ·5· · · · MR. POWELL:· Not unless
 ·6· ·engineering has a thought there
 ·7· ·about transportation of material
 ·8· ·offshore.
 ·9· · · · You are right, that is a
 10· ·concern, and we need to try to do
 11· ·the best we can as far as
 12· ·monitoring the barges that go
 13· ·offshore.· And, you know, we
 14· ·understand your concern about it.
 15· · · · MR. CONGER:· Just real quick,
 16· ·we have in recent years instituted
 17· ·something called a dredge quality
 18· ·management program, and basically
 19· ·what it is -- it was originally
 20· ·called Silent Inspector because
 21· ·that's kind of really what it is.
 22· · · · It is instrumentation that is
 23· ·placed on board the scow to monitor
 24· ·whether there are any open doors,
 25· ·any draft loss, and -- basically


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 ·1· ·trying to make sure that there is
 ·2· ·no change in condition from that
 ·3· ·scow from the time it leaves the
 ·4· ·dredge to the time that it deposits
 ·5· ·material in the OMBS.
 ·6· · · · And if there is an exorbitant
 ·7· ·amount of draft loss, we will take
 ·8· ·that scow out of service and have
 ·9· ·it looked at to try to determine
 10· ·what's going on with that one and
 11· ·not put it back in service until it
 12· ·is --
 13· · · · MR. BAUZÁ:· Thank you.
 14· · · · THE REPORTER:· And your name
 15· ·was, sir?
 16· · · · MR. CONGER:· Steve Conger,
 17· ·C-o-n-g-e-r.
 18· · · · MS. CALVENTE:· Another
 19· ·question, comment or concern?
 20· · · · Anyone else?
 21· · · · MR. ELSTROM:· Captain Jacob
 22· ·Elstrom, San Juan Pilots.
 23· · · · Am I to understand that the
 24· ·area between Buoys 7, 9 and Puerto
 25· ·Nuevo 1 are not going to be -- they


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 ·1· ·are going to remain in the same
 ·2· ·area, that they are not going to be
 ·3· ·shaved off or changed?· Or what's
 ·4· ·the plan there?
 ·5· · · · MR. POWELL:· Yeah.· And I am
 ·6· ·going to kind of defer to Steve
 ·7· ·Conger again here.· But I will
 ·8· ·start off.· I know you are
 ·9· ·referring to a structural measure,
 10· ·and let's see if we can get back
 11· ·maybe to one of the slides here
 12· ·that kind of shows that area there.
 13· ·But he is talking about Buoys 5, 7
 14· ·and 9.
 15· · · · MR. ELSTROM:· Bottom left, Army
 16· ·Terminal Turning Basin.
 17· · · · MS. CALVENTE:· Army Terminal.
 18· · · · MR. CONGER:· Oh, you are not
 19· ·talking about the interchange?
 20· · · · MR. ELSTROM:· Yeah.· No, the
 21· ·transition from the turning basin
 22· ·to Puerto Nuevo Channel.
 23· · · · MR. CONGER:· That's correct.
 24· · · · MR. ELSTROM:· We had at length
 25· ·discussed shaving that, even though


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 ·1· ·there is a shoal there and possible
 ·2· ·mitigation issues, but that's an
 ·3· ·issue.· What is the plan?
 ·4· · · · MR. CONGER:· Okay.· So --
 ·5· · · · MR. ELSTROM:· Is it going to
 ·6· ·stay the same?
 ·7· · · · MR. CONGER:· Yes, for the most
 ·8· ·part, that is anticipated to stay
 ·9· ·the same.· That was predicated on
 10· ·the location of the LNG vessel at
 11· ·berth.· We have a couple of
 12· ·different scenarios where we have
 13· ·that vessel slid further to the
 14· ·northeast along Puerto Nuevo, in
 15· ·which case we would to have had
 16· ·implemented the additional widening
 17· ·measures that you are referring to
 18· ·in the relative shoal location
 19· ·there.
 20· · · · However, since then we have
 21· ·been working with PREPA to
 22· ·determine where that vessel would
 23· ·be actually berthed, and since they
 24· ·have slid it back over to the west,
 25· ·there are no additional widening


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 ·1· ·measures anticipated at this time.
 ·2· · · · MR. ELSTROM:· And what is the
 ·3· ·safety zone considered now?
 ·4· · · · MR. CONGER:· Well, there is 150
 ·5· ·feet from the Coast Guard.· I will
 ·6· ·let the Coast Guard respond, but it
 ·7· ·is a 150-foot buffer around the
 ·8· ·vessel at berth.· I think it's the
 ·9· ·same while it's in transit or --
 10· · · · MR. POWELL:· It is 300 in
 11· ·transit.
 12· · · · MR. E. LÓPEZ:· 300 in transit.
 13· · · · MR. CONGER:· 300 in transit,
 14· ·150 at berth.· And the bow of the
 15· ·vessel --
 16· · · · MR. ELSTROM:· 300 from where?
 17· · · · MR. CONGER:· 300, I presume,
 18· ·from the extent of the vessel
 19· ·itself.
 20· · · · MR. E. LÓPEZ:· From the vessel
 21· ·itself.
 22· · · · MR. ELSTROM:· So a ship is
 23· ·coming in, how much on either side
 24· ·do you have between the buoy and
 25· ·the safety zone?


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 ·1· · · · MR. E. LÓPEZ:· You have a
 ·2· ·radius of 300 that goes with the
 ·3· ·vessel around.
 ·4· · · · MR. CONGER:· We are talking two
 ·5· ·different things, so I think you
 ·6· ·are talking about the moving
 ·7· ·radius.· As the vessel moves
 ·8· ·around, the buffer is 300 feet, the
 ·9· ·buffer is 150.· What you are asking
 10· ·for are the dimensions of the
 11· ·vessel all the way to the edge of
 12· ·the widener.· I would have to give
 13· ·you detail on that.· I can follow
 14· ·up with an answer on that when I
 15· ·get back to my computer and give
 16· ·you that exact dimension, but I am
 17· ·pretty sure it is probably 400 feet
 18· ·or something like that.
 19· · · · MR. ELSTROM:· Okay.· I mean,
 20· ·there is no position where the ship
 21· ·is going to be?
 22· · · · MR. CONGER:· Not on here.
 23· · · · MR. ELSTROM:· At least on this?
 24· · · · MR. CONGER:· Right.· I have
 25· ·other drawings that we can show


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 ·1· ·you.
 ·2· · · · MR. ELSTROM:· Okay.
 ·3· · · · MR. CONGER:· We can talk about
 ·4· ·it at the poster session.
 ·5· · · · MS. CALVENTE:· Ma'am?
 ·6· · · · MS. SANTIAGO:· Hi, everyone.
 ·7· ·My name is Ruth Santiago.                 I
 ·8· ·represent community and
 ·9· ·environmental groups.
 10· · · · And I just am wondering whether
 11· ·there is any kind of summary of any
 12· ·of the materials in Spanish and
 13· ·whether that can be disseminated.
 14· · · · MR. POWELL:· Well, we have the
 15· ·presentation.
 16· · · · MS. CALVENTE:· We have certain
 17· ·aspects in Spanish.· We don't have
 18· ·the whole report in Spanish, but I
 19· ·can provide the presentation.· And,
 20· ·actually, I decided to just go by
 21· ·the script to make sure I am
 22· ·consistent with what I am saying in
 23· ·English and in Spanish.· So I can
 24· ·provide that to you.· I will just
 25· ·need to go to my OC to make sure


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 ·1· ·there is nothing that needs to
 ·2· ·be -- like needs to be deleted.
 ·3· · · · But based on it right now, I
 ·4· ·presented and I basically read what
 ·5· ·I wrote, so I don't think I am
 ·6· ·going to have any issue.· That will
 ·7· ·be basically the Spanish
 ·8· ·information we will provide.
 ·9· · · · MS. SANTIAGO:· Thank you.
 10· · · · MS. CALVENTE:· And if you
 11· ·basically fill out a commentary
 12· ·form with your name and address, we
 13· ·will make sure to get it to you.
 14· · · · MS. SANTIAGO:· Thank you.
 15· · · · MS. CALVENTE:· Anyone else?
 16· · · · And, also, just adding, if
 17· ·there is any aspect that you would
 18· ·like to get in Spanish, we do have
 19· ·people, like certain team members
 20· ·that speak both languages, and they
 21· ·have master's degree, both like in
 22· ·Puerto Rico and in the U.S., so we
 23· ·can translate anything as needed.
 24· · · · I cannot tell you the whole
 25· ·report, because we are talking


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                                                                       37 & ENVIR

 ·1· ·about how many inches right now?
 ·2· · · · MR. POWELL:· Like this
 ·3· ·(indicating).
 ·4· · · · MS. CALVENTE:· So not the
 ·5· ·complete report, but I think for
 ·6· ·information to the community, they
 ·7· ·don't need like the economic
 ·8· ·analysis.· They are looking more
 ·9· ·for impact, like what's the impact
 10· ·to the community so we can
 11· ·determine any information that can
 12· ·be translated.
 13· · · · Anyone else?· Anything?
 14· · · · Okay.· We need to take just a
 15· ·five-minute break because we need
 16· ·to change presentations, but please
 17· ·do not forget the Coast Guard needs
 18· ·to do their part.· But it is just
 19· ·five minutes.· Go to the bathroom,
 20· ·have some water, and then we can
 21· ·get switched.
 22· · · · (A recess transpires.)
 23· · · · MR. E. LÓPEZ:· Good morning,
 24· ·everybody.· Efraín López from U.S.
 25· ·Coast Guard Waterways Management


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                                                                       38 & ENVIR

 ·1· ·Division.· We are here to talk
 ·2· ·about the San Juan Harbor
 ·3· ·Anchorage F expansion.· I missed
 ·4· ·that.· Sorry about that.
 ·5· · · · All right.· So we have two
 ·6· ·types of anchorage regulations that
 ·7· ·we have in the San Juan Harbor.
 ·8· ·Special anchorage, which is the one
 ·9· ·designated as a special area.· It
 10· ·is exempting vessels from less than
 11· ·65 feet, federal requirements of
 12· ·exhibiting anchor lights, and
 13· ·sounding signals while anchored in
 14· ·its designated anchorage area.
 15· · · · Concerning state or local
 16· ·regulations within these areas has
 17· ·been longstanding practice which
 18· ·the U.S. Coast Guard has encouraged
 19· ·and one the courts have upheld.· So
 20· ·one of those that we have over here
 21· ·is explosive anchorage, and we have
 22· ·the regular anchorage.· So echo and
 23· ·foxtrot.
 24· · · · And we have the regular
 25· ·anchorage grounds, which is the --


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                                                                       39 & ENVIR

 ·1· ·a general anchorage is an area not
 ·2· ·designated specifically for
 ·3· ·anchoring for special purposes,
 ·4· ·such as quarantine, lightering or
 ·5· ·transporting explosives.· So
 ·6· ·everything else that's not those
 ·7· ·three, those anchorage can be used
 ·8· ·for.
 ·9· · · · So those are the ones we have
 10· ·here in San Juan.· We have echo and
 11· ·foxtrot.· The one that we are doing
 12· ·the change for, the expansion that
 13· ·we are asking for is the
 14· ·restructuring anchorage foxtrot,
 15· ·which is the one that serves as an
 16· ·additional general anchorage area
 17· ·in cases of where temporary
 18· ·anchorage is full, and as an
 19· ·explosives anchorage, which is the
 20· ·special anchorage as well.
 21· · · · Next slide.
 22· · · · So here is the expansion.· Took
 23· ·a little piece of your presentation.
 24· · · · So the expansion is going to be
 25· ·in this area towards the bottom of


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       40 & ENVIR

 ·1· ·the channel.· This area right here.
 ·2· · · · So for that to be possible --
 ·3· ·next slide -- we will have a
 ·4· ·regulatory process.· We will
 ·5· ·commence by doing a notice of full
 ·6· ·rule making, which is a regulation,
 ·7· ·an announcement of the analysis of
 ·8· ·what's the changes of the expansion
 ·9· ·of the anchorage foxtrot.· That
 10· ·will have the positions.· It will
 11· ·have the dimensions.· It will have
 12· ·all the details of what changes are
 13· ·we proposing to make.
 14· · · · It will be published in the
 15· ·Federal Register, that would be
 16· ·federalregister.gov.
 17· · · · We will conduct at least one
 18· ·public meeting, like in this forum
 19· ·or -- like this forum.
 20· · · · So I expect to conduct two
 21· ·public meetings, because the
 22· ·anchorage itself for us, this is --
 23· ·the anchorage in San Juan is the
 24· ·most important in the area of
 25· ·responsibility that we have.


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                                                                       41 & ENVIR

 ·1· · · · And, actually, the anchorages
 ·2· ·don't get approved by the captain
 ·3· ·of the port.· They get approved by
 ·4· ·the admiral from District 7.· So it
 ·5· ·is a higher authority.
 ·6· · · · We will give a 30-to-45-day
 ·7· ·comment period because of the --
 ·8· ·depending on what the public wants.
 ·9· ·And once we receive the public
 10· ·comments via email, regular mail,
 11· ·federalregister.gov, which we will
 12· ·have all the information there with
 13· ·the docket number, or in person, we
 14· ·will address those comments with
 15· ·the public.· We will discuss what
 16· ·are the benefits of those -- of
 17· ·implementing those comments -- or
 18· ·those changes into the regulation.
 19· · · · After that, we will have -- we
 20· ·will implement the final rule,
 21· ·which will -- well, it is the final
 22· ·rule for the anchorage that will
 23· ·determine the changes, and the
 24· ·changes will be implemented.· And
 25· ·then we will be publishing in the


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                                                             USACE_002498
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                                                                       42 & ENVIR

 ·1· ·Federal Register.
 ·2· · · · But in that process, we will
 ·3· ·have -- we will need environmental
 ·4· ·information as well, which is being
 ·5· ·provided by the U.S. Army Corps of
 ·6· ·Engineers with their environmental
 ·7· ·assessment, so we will piggyback
 ·8· ·from that information, the
 ·9· ·environmental information, and we
 10· ·will include it in our report as
 11· ·well.
 12· · · · Next slide.· And that's it.
 13· · · · Do you have any questions?
 14· ·Concerns?
 15· · · · It looks simple.· The process is
 16· ·not simple.· But the regulation
 17· ·itself will have all the information
 18· ·you need to determine -- to give to
 19· ·determine all the -- it will provide
 20· ·all the changes in the -- for
 21· ·anchorage foxtrot, and it will bring
 22· ·out questions from you guys to us.
 23· · · · But the process, it takes
 24· ·approximately 120 days, just for
 25· ·the process itself, for the


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SAN JUAN HARBOR, PUERTO RICO PUBLIC MEETING INTEGRATED FEASIBILITY STUDY
                                                                       43 & ENVIR

 ·1· ·regulatory process.
 ·2· · · · So any questions?· Concerns?
 ·3· · · · MR. F. LÓPEZ:· Félix López with
 ·4· ·the Fish and Wildlife Service
 ·5· ·again.· Just a couple of questions.
 ·6· · · · The Coast Guard will piggyback
 ·7· ·on the Corps of Engineers' dredging
 ·8· ·projects, since they are going to
 ·9· ·have the dredge down here.· So U.S.
 10· ·Coast Guard will provide funding to
 11· ·the Corps?· Or how is that going to
 12· ·work?· Because if I am writing a
 13· ·card to you, I guess I would keep
 14· ·this in the Coordination Act Report
 15· ·as something that may happen, but,
 16· ·you know, depending on funding or
 17· ·something like that.· I don't want
 18· ·to pull it out and then have to
 19· ·come back later and put it back in.
 20· · · · MR. POWELL:· Yeah, that's
 21· ·something that would have to be
 22· ·worked out between the Coast Guard
 23· ·and the Corps.· And I don't know if
 24· ·it is going to be a memorandum of
 25· ·understanding or what the legal


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                                                             USACE_002500
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                                                                       44 & ENVIR

 ·1· ·document would be, but we would
 ·2· ·probably have -- let's let Brenda
 ·3· ·address that.· She can probably
 ·4· ·answer that better than I can.
 ·5· · · · MS. CALVENTE:· We basically
 ·6· ·would go through the same process
 ·7· ·that we have to go through with the
 ·8· ·Port Authority.· We sign an
 ·9· ·agreement with the U.S. Coast
 10· ·Guard.· But right now we have been
 11· ·partnering, coordinating
 12· ·everything.· The Coast Guard has
 13· ·been very valuable support for us
 14· ·during this --
 15· · · · MR. POWELL:· There are official
 16· ·signed-in cooperating agencies.
 17· · · · MR. F. LÓPEZ:· All right.
 18· · · · MS. CALVENTE:· It has been
 19· ·great working with the Coast Guard,
 20· ·so our plan is to continue going
 21· ·through the process together,
 22· ·environmental and permits as much
 23· ·as we can.
 24· · · · We understand that the funding
 25· ·process is different from our


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                                                                       45 & ENVIR

 ·1· ·funding process, but our plan is to
 ·2· ·continue supporting each other.
 ·3· ·And there will be a moment when
 ·4· ·they get the authorization they can
 ·5· ·sign with us, they will sign.· And
 ·6· ·hopefully it will be at the same
 ·7· ·time we are ready to go into
 ·8· ·construction.· And that basically
 ·9· ·would be the coordination we have
 10· ·to do with the Coast Guard.
 11· · · · If for any reason that doesn't
 12· ·happen, the plan that we have in
 13· ·mind, then --
 14· · · · MR. E. LÓPEZ:· The Coast Guard
 15· ·will handle it definitely.
 16· · · · MS. CALVENTE:· -- we will
 17· ·handle it at that moment.
 18· · · · MR. E. LÓPEZ:· And District 7,
 19· ·in reality, is the one that will be
 20· ·working with the Jacksonville
 21· ·office, because the admiral, that's
 22· ·his office.· That's where the
 23· ·funding will come from.· It is not
 24· ·from sector San Juan itself,
 25· ·because he is the one that approves


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                                                                       46 & ENVIR

 ·1· ·anchorages.
 ·2· · · · MR. F. LÓPEZ:· So then
 ·3· ·archaeological and everything, the
 ·4· ·Corps already has that.
 ·5· ·Mitigation, though, would be on the
 ·6· ·Coast Guard's dime.
 ·7· · · · MR. E. LÓPEZ:· Correct.
 ·8· · · · MR. F. LÓPEZ:· So you have to
 ·9· ·fold that into your cost analysis
 10· ·again, because that area has never
 11· ·been dredged, so that area is one
 12· ·of the few areas that still has
 13· ·remnant marine habitats that
 14· ·haven't been impacted by previous
 15· ·dredging activities.
 16· · · · So unlike some of the Corps of
 17· ·Engineers, you know, deepening,
 18· ·hence, that's already -- that's
 19· ·been impacted before.· So the Coast
 20· ·Guard will have to look at
 21· ·environmental, you know, mitigation
 22· ·a little bit more seriously than
 23· ·what the Corps of Engineers has to
 24· ·look at for some parts of their
 25· ·dredging project.


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                                                                       47 & ENVIR

 ·1· · · · MS. CALVENTE:· And we will.
 ·2· · · · MR. E. LÓPEZ:· And we will
 ·3· ·piggyback from the information we
 ·4· ·have from the Corps, but we will
 ·5· ·have to do studies as well.
 ·6· · · · MR. POWELL:· Thank you so much.
 ·7· · · · MR. E. LÓPEZ:· And then my next
 ·8· ·slide is my information.· If you
 ·9· ·have any questions or concerns,
 10· ·there is my two numbers and my
 11· ·email.· Fax is still there.               I
 12· ·don't use it that much.· But that's
 13· ·my information, so please call me
 14· ·if you have any questions or
 15· ·concerns.
 16· · · · MS. SANTIAGO:· Ruth Santiago
 17· ·again.
 18· · · · So can you tell us what area --
 19· ·the specific area you're talking
 20· ·about and what specific things you
 21· ·are proposing or will be proposing
 22· ·within that proposed rule making,
 23· ·can that also be available in
 24· ·Spanish?· And do you know offhand
 25· ·if it impacts the local communities


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                                                                       48 & ENVIR

 ·1· ·in addition to, you know, the
 ·2· ·environmental things that you --
 ·3· · · · MR. E. LÓPEZ:· That will be all
 ·4· ·addressed in the proposal we are
 ·5· ·making.· I will make the effort to
 ·6· ·do it in Spanish, because this is
 ·7· ·the first time I have done it in
 ·8· ·Spanish, a notice of rule making,
 ·9· ·but I will do my best and talk to
 10· ·District 7 to see if the lawyers
 11· ·can have a review at it before it
 12· ·comes out.
 13· · · · But that's all -- all those
 14· ·concerns are going to be addressed
 15· ·in there.· It addresses the
 16· ·economic impact, business/economic
 17· ·impact.· It addresses the tribal.
 18· ·It addresses a lot of stuff that,
 19· ·obviously, I don't have right now,
 20· ·but I will provide you a copy of
 21· ·the notice of rule making once it
 22· ·is ready.· It is in the works.· So
 23· ·I will have a copy of that for you,
 24· ·and the rest of the economic
 25· ·output, and the Federal Register as


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                                                                       49 & ENVIR

 ·1· ·well.
 ·2· · · · MS. SANTIAGO:· When do you
 ·3· ·anticipate that?
 ·4· · · · MR. E. LÓPEZ:· I would like to
 ·5· ·have it in 30 days, but it is
 ·6· ·getting decided by the admiral, so
 ·7· ·the process is a little bit longer.
 ·8· ·If it was for the captain of the
 ·9· ·port, I could walk into the
 10· ·captain's office and get it signed
 11· ·in 30 days.
 12· · · · Now, it all depends on -- you
 13· ·know, on District 7, in reality.
 14· ·So I can't tell you -- 30 to
 15· ·90 days?· That would be a ballpark.
 16· · · · MS. SANTIAGO:· Okay.
 17· · · · MR. E. LÓPEZ:· Any more
 18· ·questions?· Pilots?· Anything?
 19· · · · You will have a chance to --
 20· ·once the regulation comes out with
 21· ·all the details of the dimensions
 22· ·and what have you, what's being
 23· ·impacted, all the information
 24· ·there, you will have a chance of 30
 25· ·to 45 days to comment on that


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                                                                       50 & ENVIR

 ·1· ·information.· This is a preview of
 ·2· ·what's going to be done.· I just
 ·3· ·wanted to give a heads-up now that
 ·4· ·we are here in this meeting.· Okay.
 ·5· · · · MR. POWELL:· Thank you, Efraín.
 ·6· ·Appreciate it.
 ·7· · · · MR. E. LÓPEZ:· Sorry it was so
 ·8· ·short, straight to the point.
 ·9· · · · MS. CALVENTE:· Basically we now
 10· ·are going to have like an open
 11· ·section, so if you want to have an
 12· ·additional opportunity with the
 13· ·technical team, we have the full
 14· ·posters so you can make more
 15· ·questions.· But you can have the
 16· ·opportunity to take one of the
 17· ·forms outside and write down your
 18· ·comments, give it to us, or you can
 19· ·take it with you and submit it by
 20· ·mail or email.· It is up to you.
 21· ·Thank you.
 22· · · · (The proceeding concluded
 23· · · · at 11:27 a.m.)
 24
 25


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                                                                       51 & ENVIR

 ·1· · · · · · · · ·REPORTER'S CERTIFICATE

 ·2

 ·3· · · · ·I, DEREK L. HOAGLAND, Certified Shorthand

 ·4· ·Reporter #13445, State of California, do hereby

 ·5· ·certify that the foregoing is a true and correct

 ·6· ·transcript of the proceedings had in the

 ·7· ·within-entitled cause on the date hereinbefore set

 ·8· ·forth; and I do further certify that the foregoing

 ·9· ·transcript has been prepared under my direction.

 10

 11

 12

 13· · · · ·__________________________
 · · · · · · · · ·DEREK L. HOAGLAND
 14

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From:               Powell, Richard B Jr CIV USARMY CESAJ (US)
To:                 rstgo2@gmail.com
Cc:                 DeMarco, Paul M CIV USARMY CESAJ (US); Mitchell, Ricki L CIV (US)
Subject:            FW: Requested Letters (UNCLASSIFIED)
Date:               Monday, August 14, 2017 4:23:11 PM
Attachments:        - SJH-NOA&MEETING_INVITATION_wMAPS_SignedEnglish.pdf
                    - SJH-NOA&MEETING_INVITATION_wMAPS_SignedSpanish.pdf




Ms. Santiago,

The attached letters provide the link to the notice of availability of the integrated draft report and environmental
assessment for the San Juan Harbor Improvement Study listed below. Note the comment period began on August 8,
2017 and ends on September 7, 2017. Paste the following link into your browser.

http://www.saj.usace.army.mil/About/DivisionsOffices/Planning/EnvironmentalBranch/EnvironmentalDocuments/

Under the "Environmental Documents (not by county)" heading select "Puerto Rico".

Under County/Project scroll down to "San Juan Harbor Navigation Project"

Select Executive Summary and Draft Report for integrated Environmental Assessment.

Select Appendices F1 through L to view additional environmental documentation.

We sent the attached letters to the following address.

Ruth Santiago, J.D., L.L.M.
P.O. Box 518
Salinas, PR 00751

Thank you for your interest.

Richard B. Powell
U.S. Army Corps of Engineers CESAJ-PD-PN

Richard.B.Powell@usace.army.mil
Phone: 904-232-1694
Fax: 904-232-3442


-----Original Message-----
From: Mitchell, Ricki L CIV (US)
Sent: Monday, August 14, 2017 3:17 PM
To: Powell, Richard B Jr CIV USARMY CESAJ (US) <Richard.B.Powell@usace.army.mil>
Cc: DeMarco, Paul M CIV USARMY CESAJ (US) <Paul.M.DeMarco@usace.army.mil>
Subject: Requested Letters (UNCLASSIFIED)

CLASSIFICATION: UNCLASSIFIED

Attached are the letters you requested....

The address corresponding with the letters sent to Ruth Santiago, J.D., L.L.M. is as follows:

Ruth Santiago, J.D., L.L.M.
P.O. Box 518
Salinas, PR 00751


                                                                                                 USACE_002514
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Please let me know if there is anything else I can help you with.

Thank you,

Ricki Mitchell
Student Trainee
Ext: 2081


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                                DEPARTMENT OF THE ARMY
                             JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                      701 San Marco Boulevard
                                 JACKSONVILLE, FLORIDA 32207-8175
            REPLY TO
            ATIENTION OF



Planning and Policy Division
Environmental Branch                                              "6(




To Whom It May Concern:

     This office has prepared a Draft Feasibility Study and Environmental Assessment
concerning navigational ·improvements to San Juan Harbor in San Juan, Puerto Rico.
The Tentatively Selected Plan consists of deepening Cut-6 to 46 feet, widening the
Army Terminal Channel by 100 feet and deepen Anegado and Army Terminal Channels
and the Army Terminal Turning Basin to 44-feet (see enclosed figure). Lesser
increments of widening and deepening were also evaluated. In addition, the San
Antonio Channel would be deepened to 36-feet. The dredged material is expected to
be suitable for placement in the Ocean Dredged Material Disposal Site located a few
miles from the harbor entrance. Some material may be suitable for placement in
dredged holes and for other beneficial purposes.

     Pursuant to the National Environmental Policy Act and U.S. Army Corps of Engineers
Regulation (ER 200-2-2), this letter constitutes the Notice of Availability of the enclosed
Draft Finding of No Significant Impact. This letter (along with its enclosures and
referenced documents) also follows the public notice requirement of Section 404(a) of the
Clean Water Act. Evaluation of the impact of the proposed action on the public interest
includes application of the guidelines promulgated by the Administrator, U.S.
Environmental Protection Agency, pursuant to Section 404(b) of the Clean Water Act (40
CFR part 230). Any person may request, in writing, within the comment period specified
herein, that a public hearing be held to consider the proposed action (which involves the
placement of dredged or fill material into wetlands or other waters of the United States).
Requests for a public hearing shall state, with particularity, the reasons for holding a public
hearing.

    The comment period ends 30 days from the date of this notice. Questions and
comments concerning this letter should be directed to Paul DeMarco, Environmental
Branch, at the letterhead address, 904-232-1897, or fax 904-232-3442. A copy of the
Environmental Assessment, high resolution drawings, and other information is available on
our Environmental Documents web page
<http://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-
Branch/Environmental-Documents/>.




                                                                                USACE_002516
    Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 225 of 285




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     A public meeting to present the Tentatively Selected Plan will be held on August 22,
2017, in the Puerto Rico Convention Center, 100 Convention Boulevard, San Juan,
Puerto Rico at 9:00 am. Additional information is available on our Environmental
Documents Web Page at
<http://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-
Branch/Environmental-Documents/>.

    If you have any questions, contact Mr. Paul DeMarco at 904 232-1897 or at
paul.m.demarco@usace.army.mil.

                                             Sincerely,




                                                                   Ph.D.


Enclosure




                                                                           USACE_002517
SAN JUAN HARBOR, PUERTO RICO INTEGRATED
           Case 1:22-cv-02430-CJN       FEASIBILITY
                                  Document 30-4 FiledSTUDY & ENVIRONMENTAL
                                                      05/05/23 Page 226 of 285 ASSESSMENT



                            CUT 1   56’

              BAR CHANNEL                   800’


                            CUT 2   53’
                                                   ODMDS


                                    51’


                                      48’

                                           48’

                                              42’ 46’
                                                                                                                             RORO
                                                                                                                                                   Puerto Rico
                                                                        U.S.                                                                       Ports Authority
 PALO SECO                                                             COAST            36’                                                        Channel
POWER PLANT                                                                                                                               36’
                                                           40’         GUARD                                                                       Extension         Condado
                                                                 44’                                                                               Expansion          Lagoon
                            SAN JUAN                                                                                                               & Deepening

                             HARBOR                                                                             AIRPORT




                                                 U.S. Coast Guard                                     ANCHORAGE
                                                                                                        AREA E
                                                      Expansion &
                                                                          30’                             36’
 #   MAXIMUM DEEPENING                           Deepening to be
                                                   maintained by                                                                          SAN JUAN GAS
     50’ WIDENING                                     USACE once
                                                       constructed                                                                                       30’
     DEEPENING FOOTPRINT                                                                                                   36’
                                                                                                                                                    GRAVING DOCK
     AUTHORIZED DEPTH                                                                                                                               TURNING BASIN

     AUTHORIZED VS.
     CONSTRUCTED DEPTH                                                                                                                                 PUERTO NUEVO
                                                                                                                                                       TURNING BASIN
     BUOYS                                                                                      40’
                                                                                                                                                         39’
                                                                                                    44’
     CONTAINER TERMINALS
                                                                                                                                                           RORO

     PETROLEUM TERMINALS                                                           SABANA
                                                                                  APPROACH
                                                                                  CHANNEL
      LPG BY TRUCK                                                                            32’                                   39’

     LNG (TRANSITION)                                                                                                                             TOTE & OTHERS
                                                          PAN AMERICAN GRAIN                       ARMY TERMINAL
     RORO                                 N                                               40’ 44’’   TURNING
                                                                                                      BASIN
                                                                               PUMA
     CRUISE                                                                                                               PREPA
     BULK                                                                                                                                        SAN JUAN
                                          Not to Scale                         TRAILER BRIDGE              TOTAL/COD                            POWER PLANT

MAXIMUM PROPOSED WIDENING
 Widen Army Terminal Channel from 350’ to 450’
MAXIMUM PROPOSED DEEPENING (counterclockwise)
 Cut 6 to 46’
 Anegado Channel to 44’
 Army Terminal Channel to 44’
 Army Terminal Turning Basin to 44’
 San Antonio Channel to 36’
 Cruise Ship Basin East to 36’
CONSTRUCTION
 Mechanical clamshell dredge with bottom-dump barge transport
  to offshore Ocean Dredged Material Disposal Site (ODMDS)
 ~ 2.1M cubic yards of material                                                                                                          USACE_002518
     Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 227 of 285

                                DEPARTMENT OF THE ARMY
                             JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                      701 San Marco Boulevard
                                 JACKSONVILLE, FLORIDA 32207-8175
            REPLY TO
            ATIENTION OF



Planning and Policy Division
Environmental Branch                                              "6(




To Whom It May Concern:

     This office has prepared a Draft Feasibility Study and Environmental Assessment
concerning navigational ·improvements to San Juan Harbor in San Juan, Puerto Rico.
The Tentatively Selected Plan consists of deepening Cut-6 to 46 feet, widening the
Army Terminal Channel by 100 feet and deepen Anegado and Army Terminal Channels
and the Army Terminal Turning Basin to 44-feet (see enclosed figure). Lesser
increments of widening and deepening were also evaluated. In addition, the San
Antonio Channel would be deepened to 36-feet. The dredged material is expected to
be suitable for placement in the Ocean Dredged Material Disposal Site located a few
miles from the harbor entrance. Some material may be suitable for placement in
dredged holes and for other beneficial purposes.

     Pursuant to the National Environmental Policy Act and U.S. Army Corps of Engineers
Regulation (ER 200-2-2), this letter constitutes the Notice of Availability of the enclosed
Draft Finding of No Significant Impact. This letter (along with its enclosures and
referenced documents) also follows the public notice requirement of Section 404(a) of the
Clean Water Act. Evaluation of the impact of the proposed action on the public interest
includes application of the guidelines promulgated by the Administrator, U.S.
Environmental Protection Agency, pursuant to Section 404(b) of the Clean Water Act (40
CFR part 230). Any person may request, in writing, within the comment period specified
herein, that a public hearing be held to consider the proposed action (which involves the
placement of dredged or fill material into wetlands or other waters of the United States).
Requests for a public hearing shall state, with particularity, the reasons for holding a public
hearing.

    The comment period ends 30 days from the date of this notice. Questions and
comments concerning this letter should be directed to Paul DeMarco, Environmental
Branch, at the letterhead address, 904-232-1897, or fax 904-232-3442. A copy of the
Environmental Assessment, high resolution drawings, and other information is available on
our Environmental Documents web page
<http://www.saj.usace.army.mil/About/Divisions-Offices/Planning/Environmental-
Branch/Environmental-Documents/>.




                                                                                USACE_002530
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    A public meeting to present the Tentatively Selected Plan will be held on August 22,
2017, in the Puerto Rico Convention Center, 100 Convention Boulevard, San Juan,
Puerto Rico at 9:00 am. Additional information is available on our Environmental
Documents Web Page at
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     If you have any questions, contact Mr. Paul DeMarco at 904 232-1897 or at
paul.m.demarco@usace.army.mil.

                                             Sincerely,




                                                                  Ph.D.


Enclosure




                                                                          USACE_002531
     Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 229 of 285


From:              DeMarco, Paul M CIV USARMY CESAJ (US)
To:                Rivera, Marelisa
Cc:                Edwin Muniz; Spinning, Jason J CIV USARMY CESAJ (US); Ralph, Gina P CIV USARMY CESAJ (US); Powell,
                   Richard B Jr CIV USARMY CESAJ (US); Scerno, Deborah H CIV USARMY CESAD (US)
Subject:           San Juan Harbor Improvements Biological Assessment
Date:              Tuesday, August 1, 2017 3:40:49 PM
Attachments:       Appendix_F2-USFWS_Biological_Assessment.pdf




Good afternoon Marelisa, attached please find our biological assessment and cover letter for the San Juan Harbor
Improvements project. The hardcopy will be sent via FedEx today. Please let me know if you have any questions.

Paul DeMarco
Biologist
Corps of Engineers - SAD
Jacksonville District
Planning and Policy Division
701 San Marco Blvd - P.O. Box 4970
Jacksonville, FL 32232
904-232-1897 (phone)
904-232-3442 (fax)
Paul.M.DeMarco@usace.army.mil




                                                                                                       USACE_002538
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                                DEPARTMENT OF THE ARMY
                           JA.CKSONVILLE DISTRICT CORPS OF ENGINEERS
                                     701 San Marco Boulevard
                                JACKSONVILLE, FLORIDA 32207-8176




                                                                   AUG 0 I 2U11
Planning and Policy Division


Mr. Edwin E. Muniz
u.s. Fish and Wildl~e Service
Post Office Box 491
Boquer6n, Puerto Rico 00622-0491

Dear Mr. Muniz:

      The U.S. Army Corps of Engineers, Jacksonville District (Corps), proposes to
widen, deepen and maintain the San Juan Harbor Federal navigation project. This
project is currently being evaluated in a Draft Feasibility Study and Environmental
Assessment. Completion of the dredging project may employ a hopper dredge,
clamshell dredge, or cutterhead dredge. The dredging will remove approximately 2.1
million cubic yards of material. The Tentatively Selected Plan consists of deepening
Entrance Channel Cut-6 to 46 feet, widen ing the Army Terminal Channel by 100 feet
and deepening Anegado and Army Terminal Channels and the Army Terminal Tuming
Basin to 44-feet. Lesser increments of widening and deepening were also evaluated.
In addition, the San Antonio Channel would be deepened to 36-feet. The dredged
material is expected to be suitable for placement in the Ocean Dredged Material
Disposal Site but some material may be suitable for placement in dredged holes and for
other beneficial purposes.

     listed species or designated critical habitat within the action area under the
jurisdiction· of the U.S. Fish and Wildlife Service (USFWS) includes the endangered
Antillean manatee_

     Enclosed please find the Corps' biological assessment of the effects of the
proposed project on listed species under USFWS purview in the action area. We
request initiation of informal consultation under section 7 of the Endangered Species
Act of 1973, as amended, concerning potential effects of the proposed activities oh the
Antillean manatee.

    After reviewing the status of the species in the action area and the special
conditions placed in our specifications, the Corps determines that the widening and
deepening of the San Juan Harbor may affect, but is not likely to adversely affect, the



                                                                           USACE_002539
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Antillean manatee. The Corps requests written concurrence of our determination within
60 days of the date of this letter.

  If you have any questions, please contact .Mr. Paul DeMarco at 904-232-1897 or by
email atPauI.M.DeMarco@usace.armY.mil.


                                       Sincerely,




Enclosure




                                                                      USACE_002540
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           ENDANGERED SPECIES ACT
            BIOLOGICAL ASSESSMENT
         SAN JUAN HARBOR, PUERTO RICO
     EXPANSION AND MAINTENANCE DREDGING


PREPARED FOR THE U.S. FISH AND WILDLIFE SERVICE




                                                              JULY 2017
                                                          USACE_002541
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1   BACKGROUND/HISTORY
The purpose of this Biological Assessment (BA) is to address the potential effects of the
construction and operations and maintenance (O&M) dredging of the San Juan Harbor Federal
navigation project on species listed as threatened or endangered under the Endangered Species Act
(ESA) of 1973, as amended and their designated critical habitat. The U.S. Army Corps of
Engineers, Jacksonville District (Corps) is seeking authorization for the expansion of the Federal
project, however, O&M of the existing federal navigation channel is was authorized by Section
301 of WRDA of 1996.

The project includes construction and maintenance dredging with material placement in the ocean
dredged material disposal site (ODMDS). Some of the construction material may be suitable for
placement in dredged holes and for other beneficial purposes. Because of the nature of the project,
it has the potential to affect the following ESA-listed species under the purview of the U.S. Fish
and Wildlife Service (USFWS): Antillean manatee (Trichechus manatus manatus).

Currently there are navigational constraints within the existing channel and harbor, which cause
loading inefficiencies, in-port delays and increased maneuvering times. For example, existing
cargo shippers experience increased operation costs due to light loading, vessel size limitations,
and congestion delays. The Puerto Rico Electric Power Authority (PREPA) experiences increased
power generation costs in northern power plants due to inability to reliably bring Liquefied Natural
Gas (LNG) by ship to its proposed San Juan Harbor terminal given the world fleet of available
LNG tankers. Existing cruise vessel operators experience increased in-port maneuvering costs due
to channel and turning basin width and depth constraints. Existing Liquefied Petroleum Gas (LPG)
importers on the island of Puerto Rico experience increased operating costs due to transporting
LPG to San Juan from the southern coast by truck rather than by ship direct to San Juan Harbor.

Therefore, petroleum tankers and LNG tankers transiting the Army Terminal Channel and cruise
vessels utilizing the cruise docks north of the San Antonio Approach Channel are the main sources
of project benefits (See Figure 1). Measures considered in the Draft Feasibility Study and
Environmental Assessment allow larger tanker and LNG vessels to call San Juan Harbor, allow
these larger vessels to use San Juan Harbor more efficiently through increased vessel loading,
allow existing medium ranger (MR) tanker vessels to use San Juan Harbor more efficiently through
increased vessel loading, reduce cruise vessel transit times within the port, and allow use of
waterway transportation of LPG direct to San Juan rather than trucking of the product from the
island’s southern coast.




                                                 3



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1.1   Project Authority

A list of authorizations and authorizing documents for San Juan Harbor is provided below.
        ACTS                        WORK AUTHORIZED                           DOCUMENTS
     8 Aug 1917       Anchorage (inner harbor) area of 206 acres and San House Document
                      Antonio Channel to 30-foot.                          865/63/2
     22 Sep 1922      Substitution of a 68-acre area 30 feet deep, along Specified in Act
                      south-easterly side of anchorage area, for one 25
                      acres in extent and of same depth extending easterly
                      from eastern end of the San Antonio project channel.
      3 Jul 1930      Modified conditions of local cooperation.            House Document
                                                                           45/71/2
    30 Aug 1935       Entrance channel across outer bar 38 feet deep and Rivers & Harbors
                      800 feet wide, and thence across bay to Harbors Comm. Doc. 38/74/1
                      anchorage area (Anegado Reach Channel) 30 feet
                      deep and 700 feet wide and increasing anchorage
                      area to 239 acres to a 30-foot depth.
    26 Aug 1937       Widening Anegado Reach Channel and increasing Rivers & Harbors
                      anchorage area to 329 acres.                         Comm. Doc. 42/75/1
     17 Oct 1940      Removal to 8-foot depth of Anegado, Largo, and House Document
                      Capitanejo Shoals, and dredging to a 30-foot depth 364/76/1
                      the entrance channel and turning basin to the
                      Graving Dock.
     2 Mar 1945       Maintenance of the 30-foot depth entrance channel Specified in Act
                      and turning basin to the Army Terminal.
      3 Jul 1958      Deepening portions of the entrance, the approach House Document
                      channels, and basins to Army Terminal and San 38/85/1
                      Antonio Pier area to 35-45 feet; new 32-foot depth
                      Puerto Nuevo Channel; and new 36-foot depth
                      anchorage.
    17 Nov 1986       Centerline shifted 350 feet west and Bar Channel Public Law 99-662
                      deepened to 48 feet over maximum width of 800
                      feet; deepened Anegado Channel to 46, 43, and 40
                      feet from the Bar Channel over a bottom width of
                      800 feet; deepen Army Terminal and Puerto Nuevo
                      Channels to 40 feet and widen to 450 feet; Deepen
                      Graving Dock Channel to 36 feet and widen to 450
                      feet; extend San Antonio Channel 1500 feet and
                      deepen to 36 feet over minimum width of 500 feet;
                      deepen Cruise Ship Basin to 36 feet; provide Sabana
                      Approach Channel with depth of 32 feet over width
                      of 250 feet; deepen Anchorage Area E to 38 feet and



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       ACTS                        WORK AUTHORIZED                                  DOCUMENTS
                       provide six mooring dolphins; provide 22 acres of
                       shallow bay bottom for mitigation.

In addition, the Corps initiated the feasibility study at the request of the Puerto Rico Ports Authority
(PRPA), the project’s non-Federal Sponsor (NFS), under the authorization provided by House Report
109-738 - 109th Congress (2005-2006) December 29, 2006, As Reported by the Transportation and
Infrastructure Committee documents the resolution approving the navigation study.

“WATER RESOURCES SURVEY RESOLUTIONS APPROVED BY THE COMMITTEE ON
TRANSPORTATION AND INFRASTRUCTURE Mr. Fortuno: San Juan Harbor, PR, Docket
number: 2764, Date filed: February 23, 2006 (navigation project). September 20, 2006. Resolution
adopted by the Committee on Transportation and Infrastructure.”

2   DESCRIPTION OF PROPOSED ACTION & ACTION AREA
San Juan Harbor is located on the north coast of Puerto Rico and is the island’s principal port (Figure
1). The majority of the commonwealth’s waterborne cargo and cruise ships pass through the harbor,
handling more than 60 percent of the Commonwealth’s non-petroleum waterborne commerce. San
Juan Harbor provides the only natural harbor offering all-weather protection to shipping along the
entire north coast of Puerto Rico.

This BA addresses the potential environmental effects on Antillean manatee associated with
expansion, maintenance dredging and placement of dredged material either within the ODMDS as
well as beneficial placement of materials (Condado lagoon) from the widening and deepening of
the San Juan Harbor Federal Navigation Channel. The proposed project consists of deepening
Entrance Channel Cut-6 to 46 feet, widening the Army Terminal Channel by 100 feet and
deepening Anegado and Army Terminal Channels and the Army Terminal Turning Basin to 44-
feet. In addition, the San Antonio Channel would be deepened to 36-feet (Figure 1). The dredging
will remove approximately 2.1 million cubic yards of material which is expected to be suitable for
placement in the ODMDS. However, some material may be suitable for placement in dredged
holes and for other beneficial purposes.




                                                   5



                                                                                     USACE_002546
Figure 1: Map showing the proposed improvements to the San Juan Harbor Federal Project.
                                                                                                         Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 238 of 285




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2.1   Dredging Techniques

The Corps does not normally specify the type of dredging equipment to be used due to restrictions
associated with the Competition in Contracting Act (10 US Code 2304 and 41 US Code 253). The
decision regarding equipment used during construction is generally left to the dredging industry
contractors, allowing them to offer the most appropriate and competitive equipment available at
the time. Nevertheless, certain types of dredging equipment are considered more appropriate
depending on the type of material, the depth of the channel, the depth of access to the disposal or
placement site, the amount of material, the distance to the disposal or placement site, the wave-
energy environment, etc. A more detailed description of types of dredging equipment and their
characteristics can be found in Engineer Manual, EM 1110-2-5025, “Engineering and Design –
Dredging and Dredged Material Disposal.”

Dredging equipment uses either hydraulic or mechanical means to transport material from the
substrate to the surface. Hydraulic dredges use water to pump the dredged material as slurry to
the surface and mechanical dredges use a bucket-type device to excavate and raise the material
from the channel bottom. The most common hydraulic dredges include cutterhead-suction and
hopper dredges; the most common mechanical dredges include clamshells, backhoes, and marine
excavator dredges. Public Law 100-329 requires dredges working on U.S. government projects to
have U.S. built hulls, which can limit the options for equipment types if a new type of dredge is
developed overseas.

Various project elements influence the selection of the dredge type and size. These factors include
the type of material to be dredged (rock, clay, sand, silt, or combination); the water depth; the
dredge cut thickness, length, and width; the sea or wave conditions; vessel traffic conditions;
environmental restrictions; other operating restrictions; and the required completion time. In
addition, all of these factors impact dredge production and, as a result, costs. Multiple dredges of
the same or different types may be used to expedite work or to accommodate varying conditions
within the dredging areas. Finally, regardless of the type of dredge, operations would continue 24
hours per day.

2.1.1 Hopper Dredge
The hopper dredge, or trailing suction dredge, is a self-propelled ocean-going vessel with a section
of the hull compartmented into one or more hoppers. Fitted with powerful pumps, the dredges
suck sediment from the channel bottom through long intake pipes, called drag arms, and store it in
the hoppers. Normal hopper dredge configuration has two dragarms, one on each side of the vessel.
A dragarm is a pipe suspended over the side of the vessel with a suction opening called a draghead
for contact with the bottom (Figure 2). Depending on the hopper dredge, a slurry of water and
sediment is generated from the plowing of the draghead “teeth,” the use of high pressure water
jets, and the suction velocity of the pumps. The dredged slurry is distributed within the vessels
hopper allowing for solids to settle out and the water portion of the slurry to be discharged from



                                                 7



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the vessel during operations through its overflow system. When the hopper attains a full load,
dredging stops and the ship travels to an in-water disposal site, where the dredged material is
discharged through the bottom of the ship by splitting the hull. Some hopper dredges are capable
of pumping the material back out of the vessel and through a series of shore-pipe to a designated
placement/disposal location.

Hopper dredges are well suited to dredging heavy sands. They can maintain operations safely,
effectively, and economically in relatively rough seas and because they are mobile, they can be
used in high-traffic areas. They are often used at ocean entrances and offshore, but cannot be used
in confined or shallow areas. Hopper dredges can move quickly to disposal sites under their own
power (maximum speed unloaded - ± _    L   - ± _Z  |, but since the
dredging stops during the transit to and from the disposal area, the operation loses efficiency if the
haul distance is too far. Based on the review of hopper dredge speed data provided by the Corps’
Silent Inspector program, the average speed for hopper dredges while dredging is between 1-3
knots, with most dredges never exceeding 4 knots (Jay Rosatti, ERDC; personal communication).
Hopper dredges also have several limitations. Considering their normal operating conditions,
hopper dredges cannot dredge continuously. The precision of hopper dredging is less than other
types of dredges; therefore, they have difficulty dredging steep side banks and cannot effectively
dredge around structures. Finally, hopper dredges are unable to dredge rock and highly
consolidated materials. Therefore, they could not be used to perform the proposed expansion
dredging but could be used to perform the proposed maintenance dredging.




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Figure 2: Hopper dredge and turtle deflecting draghead schematics




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2.1.2 Pipeline and Cutter Suction Dredge
Pipeline dredges are designed to handle a wide range of materials including clay, hardpan, silts,
sands, gravel, and some types of rock formations without blasting. They are used for new work
and maintenance in projects where suitable placement/disposal areas are available and operate in
an almost continuous dredging cycle resulting in maximum production, economy, and efficiency.
Pipeline dredges are capable of dredging in shallow or deep water and have accurate bottom and
side slope cutting capability. Limitations of pipeline dredges include relative lack of mobility,
long mobilization and demobilization, inability to work in high wave action and currents, and are
impractical in high traffic areas.

Pipeline dredges are rarely self-propelled and; therefore, must be transported to and from the
dredge site. Pipeline dredge size is based on the inside diameter of the discharge pipe which
commonly ranges from 6” to 36.” They require an extensive array of support equipment including
pipeline (floating, shore, and submerged), boats (crew, work, survey), barges, and pipe handling
equipment. Most pipeline dredges have a cutterhead on the suction end. A cutterhead is a
mechanical device that has rotating teeth to break up or loosen the bottom material so that it can
be sucked through the dredge. Some cutterheads are rugged enough to break up rock for removal
(Figure 3).

During the dredging operation a cutterhead suction dredge is held in position by two spuds at the
stern of the dredge, only one of which can be on the bottom while the dredge swings. There are
two swing anchors some distance from either side of the dredge, which are connected by steel
cable to the swing winches. The dredge swings to port and starboard alternately, passing the cutter
through the bottom material until the proper depth is achieved. The dredge advances by “walking”
itself forward on the spuds. This is accomplished by swinging the dredge to the port, using the
port spud and appropriate distance, then the starboard spud is dropped and the port spud raised.
The dredge is then swung an equal distance to the starboard and the port spud is dropped and the
starboard spud raised.

Cutterhead pipeline dredges work best in large areas with deep shoals, where the cutterhead is
buried in the bottom. A cutterhead removes dredged material through an intake pipe and then
pushes it out the discharge pipeline directly into the placement site. Most, but not all, pipeline
dredging operations involve upland placement of the dredged material. Therefore, the discharge
end of the pipeline is connected to shore pipe. When effective pumping distances to the placement
site become too long, a booster pump is added to the pipeline to increase the efficiency of the
dredging operation.




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Figure 3: Cutterhead pipeline dredge schematic and representative close-up photographs

2.1.3 Clamshell Dredges

Clamshell dredges are the most common of the mechanical dredges. Clamshell dredges use a
number of different bucket types for mud, gravel, rock, or boulders. The clamshell dredging
operation cycle lowers a bucket in the open position to the bottom surface; penetrates the bottom
sediments with the weight of the bucket; closes the bucket, and raises the bucket above hopper
level, swinging forward to dump the material into the scow; and then the bucket swings back to
repeat the entire process. The dredging depth is limited by the length of the wire used to lower the
bucket and production depends upon the bucket size, dredging depth, and type of material.
Clamshell dredges are able to work in confined areas, can pick up large particles, and are less
sensitive to sea (wave) conditions than other dredges. Their capacity, however, is low and they
are unable to dig in firm or consolidated materials, such as rock. Therefore, they could not be used
to perform the proposed expansion dredging but could be used to perform the proposed
maintenance dredging.



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Clamshell dredges require a tug to move to and from the dredge and disposal locations. In
unconsolidated sediments, the primary environmental impact of clamshell dredges is increased
turbidity due to the re-suspension of sediments as the bucket moves through the water column.
Operational controls such as a reduction in bucket speed may reduce impacts, as would the use of
a closed bucket system. Silt curtains may be deployed around the dredge if water quality standards
cannot be met using operational controls. The reduction in bucket speed would also reduce
potential impacts to swimming animals (sea turtles, manatees, dolphins) which could be in the
construction area and possibly be missed by the required observers. Mechanical dredges require
dedicated and qualified marine animal observers during operations to prevent impacts to these
species. In addition, for nighttime dredging lighting must illuminate the water’s surface
sufficiently for observation of the bucket’s entry and exit from the water. In addition, the dredge
lighting must be sufficient for the observers to monitor a 50-foot radius for manatees.




Figure 4: Mechanical Dredging with Clamshell.

2.1.4 Backhoe Marine Excavator

A backhoe dredge is a back-acting excavating machine that is usually mounted on pontoons or a
barge. The backhoe digs toward the machine with a bucket penetrating the surface from the top
of the cut face. The operation cycle is similar to the clamshell dredge, as are the factors affecting
production. Backhoe marine excavators have accurate positioning ability and are able to excavate
firm or consolidated materials. However, they are susceptible to swells and have low to moderate
production. Backhoe marine excavators could be used to excavate unconsolidated overburden,



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fractured rock, and possibly some unfractured rock. The dredge requires a tug to move the dredge
to and from a location and to move the dredged material scow to and from the disposal location.

Environmental impacts from backhoe marine excavator dredging in unconsolidated sediment are
similar to those of a clamshell dredge, as are the operational controls to reduce that impact. Slowing
the movement of the bucket through the water is an example of an operational control.
Environmental impacts are significantly less for a backhoe marine excavator dredge removing
fractured (blasted) rock as the volume of fine-grained sediment is significantly less in fractured
rock than unconsolidated sediment and as a result the potential for sediment re-suspension is
reduced. The same operational controls can be applied to fractured rock as to unconsolidated
sediment, such as slowing the bucket speed in the water. Finally, as for clamshell dredges,
dedicated and qualified marine animal observers are required during operations to prevent impacts
to swimming animals (sea turtles, manatees, dolphins) and the dredge lighting requirements are
also the same as discussed above for clamshell dredges.

3   LISTED SPECIES & CRITICAL HABITAT IN THE ACTION AREA
Listed species under the purview of the USFWS which may occur in the vicinity of and may be
affected by the project include: the endangered West Indian manatee (Trichechus manatus).

4   ENVIRONMENTAL BASELINE CONDITIONS

4.1 Antillean Manatee
The Antillean manatee (Trichechus manatus manatus) is a subspecies of the West Indian manatee
(Trichechus manatus) and can be found throughout the Caribbean, including in the project area.
The Antillean manatee inhabits the coastal waters of Puerto Rico, and has been documented both
feeding and traveling in the San Juan Bay and Harbor. Seagrass and other submerged aquatic
vegetation (SAV) in the Bay provide suitable foraging habitat for the species. Furthermore, the
location of the Condado lagoon provides suitable shelter for the species (SJBEP, 2011). The
USFWS has jurisdiction for protection of the manatee under ESA, and has jurisdiction under the
Marine Mammal Protection Act. This species is also protected by Law Number 241 (Wildlife
Law of the Commonwealth of Puerto Rico) and Regulation Number 6766, which regulates the
management of threatened and endangered species in Puerto Rico.

The existing literature suggests that manatees in Puerto Rico are more commonly observed in
coastal areas from San Juan, eastward to the east coast, (and including Culebra and Vieques
Islands) and then south and west, past Jobos Bay, to the west coast, and then about as far to the
northwest as Rincon. Manatees are concentrated in several “hot spots” including Ceiba, Vieques
Island, Jobos Bay and Boquerón Bay, and are less abundant along the north coast, between Rincón
and Dorado (West of San Juan). Aerial surveys to estimate the population size have been
completed and current preliminary results estimate a mean population size of 532 individuals with
a 95% confidence interval of 342 to 802 (Pollock et al. 2013). The Antillean manatee population
in Puerto Rico is considered stable (USFWS 2016).



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Manatees have been reported within the SJB from Isla de Cabras (at the mouth of SJH) to the Rio
Puerto Nuevo channel (upstream of the port) mostly from public reports, dredging and construction
project monitoring reports, USCG anecdotal reports from their dock area, and mortality reports.
From August 16 to August 18, 2006, four males and one female adult Antillean manatees were
found dead in the SJB area. The cause of death for these animals was determined to be human
related due to a large boat impact. Dead manatees showed signs of blunt trauma and large boat
propeller scars. When a single female is associated to a group of males, they are forming a mating
herd and the manatees are extremely active and thus making themselves more visible. This event,
although unfortunate, serves as part of the evidence that manatees do use the San Juan Bay area.
This accident may have been prevented by following idle speed zones within the San Juan Bay
and/or by having an observer on board while transiting in that area (USFWS 2017).


5     EFFECTS OF THE ACTION

5.1    West Indian Manatee

5.1.1 Effects of Dredging and Disposal
The USACE has determined that dredging and disposal operations for the proposed project would
not directly affect existing mangrove wetlands or SAV. In addition, temporary indirect effects from
elevated turbidity levels during construction are also not anticipated since these resources are
greater than 150m from the deepening and widening footprint. Therefore, the proposed San Juan
Harbor expansion would have negligible effects on manatee foraging habitat.

In addition, the channel improvements would allow for the current shipping fleet to fully load their
vessels and/or for fewer, larger ships to call on the port, both of which would reduce the number
of port calls and reduce the potential for vessel strikes to manatees. During dredged material
disposal operations in the ODMDS or Condado lagoon, observers would be required to monitor
for the presence of Antillean manatees. Per section 6 below, operations would be shutdown should
a manatee come within 50-feet or closer to in-water operations.

Therefore, expansion and maintenance dredging, including ODMDS dumps and Condado lagoon
pipeline discharge, is not likely to adversely affect the manatee. This determination is consistent
with prior consultation for the maintenance dredging of SJH with Condado lagoon placement
(FWS/R4/CESFO/72127-002, May 5, 2014) and is contingent upon the implementation of
appropriate conservation measures. Therefore, to insure manatees are not harmed by construction
equipment during dredging and disposal operations, the USFWS Standard Manatee Protection
Measures for In-Water Work will be incorporated into the plans and specifications for the project
(see below).




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6   ENVIRONMENTAL COMMITMENTS
Efforts to eliminate or significantly reduce the potential impacts associated with dredging activities
will be addressed by implementing the following actions:

    a. Prior to the commencement of construction activities, the contractor will instruct all personnel
       associated with the project on which endangered species may be in the area, and on the civil
       and criminal penalties for harming, harassing, or killing them.

    b. Construction access and staging areas will be identified in the contract plans and specification.
       Contractor vehicles, construction equipment, and storage facilities will be required to stay
       within the identified construction area.

    c. Any incident involving the death or injury of any listed threatened or endangered species
       described in this Biological Assessment shall be immediately reported to the U.S. Army Corps
       of Engineers (Jacksonville) and the U.S. Fish and Wildlife Service (Boquerón).

    d. All personnel associated with the project shall be instructed about the presence of manatees
       and manatee speed zones, and the need to avoid collisions with manatees. Construction
       personnel shall be advised that there are civil and criminal penalties for harming, harassing,
       or killing manatees, which are protected under the Marine Mammal Protection Act, the
       Endangered Species Act, and the Florida Manatee Sanctuary Act.

    e. All vessels associated with the construction project shall operate at "Idle Speed/No Wake”
       at all times while in the immediate area and while in water where the draft of the vessel
       provides less than a four-foot clearance from the bottom. All vessels will follow routes of
       deep water whenever possible.

    f. Siltation or turbidity barriers shall be made of material in which manatees cannot become
       entangled, shall be properly secured, and shall be regularly monitored to avoid manatee
       entanglement or entrapment. Barriers must not impede manatee movement.

    g. All on-site project personnel are responsible for observing water-related activities for the
       presence of manatee(s). All in-water operations, including vessels, must be shutdown if a
       manatee(s) comes within 50 feet of the operation. Activities will not resume until the
       manatee(s) has moved beyond the 50-foot radius of the project operation, or until 30
       minutes elapses if the manatee(s) has not reappeared within 50 feet of the operation.
       Animals must not be herded away or harassed into leaving.

    h. Any collision with or injury to a manatee shall be reported immediately to the FWC Hotline
       at 1-888-404-FWCC. Collision and/or injury should also be reported to the U.S. Fish and
       Wildlife Service in Jacksonville (1-904-731-3336).




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    i. Temporary signs concerning manatees shall be posted prior to and during all in-water
       project activities. All signs are to be removed by the permittee upon completion of the
       project. Awareness signs that have already been approved for this use by the Florida Fish
       and Wildlife Conservation Commission (FWC) must be used (see MyFWC.com). One
       sign which reads Caution: Manatee Habitat must be posted. A second sign measuring at
       least 8 ½" by 11" explaining the requirements for “Idle Speed/No Wake” and the shutdown
       of in-water operations must be posted in a location prominently visible to all personnel
       engaged in water-related activities.

In addition to these standard conditions, for mechanical dredging these additional measures would be
implemented:

    j. Two dedicated, qualified manatee observers will be present during mechanical dredging
       work.

    k. To reduce the risk of a vessel crushing a manatee, the Permittee shall install and maintain the
       proposed wharf fenders to provide sufficient standoff space of at least four (4) feet under
       maximum designed compression. Fenders or buoys providing a minimum standoff space of
       at least four (4) feet under maximum designed compression shall also be utilized between two
       vessels that are moored together such as, but not limited to, the mooring of the scow and
       dredge barges.

    l. During clamshell operations, the dredge operator shall gravity-release the clamshell bucket
       only at the water's surface, and only after confirmation that there are no manatees within the
       50-foot safety distance during the day or the 75- foot distance during nighttime operations.
       The observers shall notify the dredge operator if manatees enter within the designated safety
       distances.


7   CONCLUSIONS
In conclusion, due to the inclusion of USFWS Standard Manatee Protection Measures the Corps
has determined that the proposed action may affect, but is not likely to adversely affect, Antillean
manatee. Based on this determination, the USACE requests that the USFWS concur with our
determination for the Antillean manatee.




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                                       SAN JUAN HARBOR
                                            PUERTO RICO
                                         DRAFT INTEGRATED FEASIBILITY
                                          STUDY AND ENVIRONMENTAL
                                                        ASSESSMENT

                                              EXECUTIVE SUMMARY
                                             and MAIN REPORT with
                                                  APPENDICES A-L
                                                                  August, 2017




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            SanJuanHarborDraftIntegratedFeasibilityReport/EnvironmentalImpactStatement
                              ExistingandFutureWithoutProjectConditions


2.4.14. Air Quality

ExistingCondition
PuertoRicoisaU.S.territorywithcommonwealthstatus.TheUSEPA,Region2andtheEQBregulate
air quality in Puerto Rico.  The Clean Air Act (CAA) gives USEPA the responsibility to establish the
primary and secondary National Ambient Air Quality Standards (NAAQS) that set acceptable
concentration levels for seven criteria pollutants; particulate matter, fine particulate matter, sulfur
dioxide,carbonmonoxide,nitrousoxides,ozone,andlead.Short9termstandards(19,89,and249hour
periods) have been established for pollutants contributing to acute health effects, while long9term
standards (annual averages) have been established for pollutants contributing to chronic health
effects.Onthebasisoftheseverityofthepollutionproblem,nonattainmentareasarecategorizedas
marginal, moderate, serious, severe, or extreme.  Each state has the authority to adopt stricter
standards;howevertheCommonwealthofPuertoRicohasacceptedtheU.S.FederalStandards.
USEPA regulations designate Air9Quality Control Regions (AQCRs) in violation of the NAAQS as
nonattainmentareas.USEPAregulationsdesignateAQCRswithlevelsbelowtheNAAQSasattainment
areas.  Maintenance AQCRs are areas previously designated nonattainment areas that have
subsequentlybeendesignatedattainmentareasforaprobationaryperiodthroughimplementationof
maintenanceplans.
San Juan Harbor is located within the Puerto Rico AQCR,, which is comprised of the entire
CommonwealthofPuertoRicoandsurroundingislands,Viequesandsurroundingislands,andCulebra
andsurroundingislands(40CFR§81.77).TheCommonwealthofPuertoRicohasadoptedtheNAAQS
establishedbytheUSEPAandhasdevelopedaStateImplementationPlanundertheCAACAACAAthat
incorporates permitting and regulatory requirements for stationary and mobile sources of air
pollution.AllareaswithintheAQCRareinattainmentorunclassifiable(duetolackofdata)forNAAQS
forthefollowingcriteriapollutants:ozone,carbonmonoxide,nitrogendioxide,sulfurdioxide,PM2.5,
and lead (USEPA 2008).  The municipality of Guaynabo is identified as being in moderate non9
attainmentoftheNAAQSforparticulatematterwithadiameterof10micrometersorless(USEPA
2008).
TheSanJuanHarborexperiencesnearlyconstanton9shoretradewindsandseabreezes.Theharboris
surrounded by the municipalities of San Juan, Guaynabo, and Cataño.  In 1995 the municipality of
Guaynabowasnon9compliantwithPuertoRicoairqualitystandardsforparticulatematter(PM910).
Non9compliancewasduetopollutionfrompowerplants,industrialfacilities,motorvehicles,andmajor
SanJuanemitters.In2010themunicipalityofGuaynabobecamecompliantairqualitystandards.In
2011 USEPA provided a Grant the Polytechnic University of Puerto Rico with $886,095 to install
pollution9reduction technology on 72 heavy9duty trucks and replace 10 old heavy9duty trucks with
2010ornewerloweremissionsdieseltrucksinthePortofSanJuan.Theseupgradesreducedtheair
emissions of fine particles (particulate matter, (PM)), nitrogen oxides (NOx), and carbon monoxide
fromdieselenginesoperatingintheport.




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          2017 Cultrual Resources Survey Area
                                                 511et
    - - Exisllng Channel and Basins
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                                        Miles

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Figure2 11.NRHPpropertiesinthevicinityofSanJuanHarbor
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                             ExistingandFutureWithoutProjectConditions




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Figure2.18.EnvironmentalJusticeCommunitiesofSanJuanHarbor
Basedonthesizeoftheproposedproject,theregionofinterestforenvironmentaljusticeanalysis
wasdeterminedtobetheareawithinaone9mileradiusoftheproject.Thedemographic
characteristicsofpersonslivingwithinthebufferwereidentifiedandsummarizedusingthedigital
CensusblockgrouplayersfortheSanJuanmunicipality.Ageospatialanalysistoolwasusedto
createaone9milebufferfromthecenterlineoftheSanJuanMunicipality.Asummaryofthe
populationdemographics(racialandsocioeconomicdata)forpersonslivingwithintheone9mile
bufferispresentedinTable2917.

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                                                       PlanFormulation

NED benefits include origin9to9destination benefits, reduced congestions and turning time efficiencies, and power
generationbenefits.Origin9to9destinationbenefitsareprimarilyderived“at9sea”basedontheabilitytoutilizedifferent
vesselsortoloadmorecargoontothembasedondifferingharborconditionscenarios.Fordeepeningalternatives,most
origin9to9destinationbenefitsresultfromefficienciesrelatedtotheabilitytousetheadditionaldrafttodeploylarger,
moreefficientvesselsand/ortotransportmorecargoonthesamevesselsandreducingthetotalnumberoftripsneeded
totransportagivenvolumeofcargo.Congestionreductionandturningtimeefficiencybenefitsarederivednearand
withintheharborandresultfromareductionintransittimesneededtonavigatetheharborandturningbasins.These
benefitsarenormallysmallerthantheassociatedorigin9to9destinationbenefitsandareattributabletoincreasedflexibility
ofharboroperationsresultingfromlessconcentratedtrafficduetoincreaseddepthsofavailableturningbasins,which
allowsmoreaccesstodeeperdraftvesselsandanexpandedmaneuveringarea.Powergenerationbenefitsresultfrom
wideningArmyTerminalChannel,whichallowslargeLNGtankerstoprovideamoreefficientandcleanerburningfuel
thanthecurrentdieselfuelandbunker“C”fuelusedintwoSanJuan,PuertoRicopowerplants.WithLNGthetwopower
plantsproducemoreelectricityoutofthesamenumberofmetrictonsoffuel.

3.3     Assumptions
Tofacilitateanalysisandscreening,thisfeasibilitystudyutilizedtwosetsofassumptions:(1)standardUSACEdeepdraft
navigation assumptions, and (2) project9specific assumptions.  The assumptions related to the future without9project
conditionsdescribedintheUSACEPlanningGuidanceNotebook(ER1105929100)foralldeepdraftnavigationfeasibility
studiesinclude:
    A. Nonstructural measures within the authority and ability of port agencies, other public agencies, and the
       transportation industry to implement are assumed occur.  These measures consist of reasonably expected
       changesinmanagementandtheuseofexistingvesselsandfacilitiesonlandandwater.Examplesarelightering,
       tugassistance,useoffavorabletides,splitdeliveries,topping9off,alternativemodesandports,andtransshipment
       facilities,suchastheUSCG’srelocationofbuoystoareasofexistingdeepwater.
    B. Alternativeharborandchannelimprovementsavailabletothetransportationindustryovertheplanningperiod
       includethoseinplaceandunderconstructionatthetimeofthestudy,andthoseauthorizedprojectsthatcan
       reasonablybeexpectedtobeinplaceovertheplanningperiod.
    C. Authorizedoperationandmaintenanceisassumedtobeperformedintheharborsandchannelsovertheperiod
       ofanalysisunlessclearevidenceisavailablethatmaintenanceoftheprojectisunjustified.
    D. In projecting commodity movements involving intermodal movements, sufficient capacity of the hinterland
       transportationandrelatedfacilities,includingportfacilities,isassumedunlesstherearesubstantivedatatothe
       contrary.
    E. Areasonableattemptshouldbemadetoreflectadvancingtechnologyaffectingthetransportationindustryover
       theperiodofanalysis.However,benefitsfromimprovedtechnologyshouldnotbecreditedtothenavigation
       improvementifthetechnologicalchangewouldoccurbothwithandwithouttheplan.
Thefollowingstudy9specificassumptionswerealsodevelopedfortheSanJuanHarborfeasibilitystudy:
    A. WithoutaFederalproject,nochanneldeepeningorwideningwouldoccur.
    B. The assumption of underkeel clearance required for a vessel will be based on actual practices, not on USACE
       clearancestandards.

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                                                                                                      USACE_002672
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                                DEPARTMENT OF THE ARMY
                           JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                  701 SAN MARCO BOULEVARD
                               JACKSONVILLE, FLORIDA 32207·0019

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           ~T'TENHONO F




Planning and Policy Division
Environmental Branch
                                                                  JUl , 4 ilIll


Mr. David Bernhart
Assistant Regional Administrator
Protected Resources
National Marine Fisheries Service
263 13th Avenue South
st. Petersburg , Florida 33701-5505
Dear Mr. Bernhart:

      In accordance with provisions of Section 7 of the Endangered Species Act, as
amended, the u.s. Army Corps of Engineers (Corps), Jacksonville District is hereby
initiating formal consultation with National Marine Fisheries Service on the proposed
deepening and widening of the Federal San Juan Harbor navigation project in Puerto
Rico (Figure 1). The Corps has conducted a National Environmental Policy Act
assessment to evaluate potential effects on the human environmental associated with
this proposed action . Currently, the tentatively selected plan (TSP) consists of widen ing
and deepening to 44 feet (plus 1-foot required and 1-foot allowable overdepth) with
placement of approximately 2.0 million cubic yards of dredged material in the existing
Ocean Dredged Material Disposal Site (refer to enclosure for details) . The widening (50
feet on either side) would occur along the Army Terminal channel. Completion of the
dredging project may employ hydraulic hopper andlor cutterhead dredges andlor
mechanical clamshell/excavator dredges.

      Enclosed please find the Corps biological assessment of potential effects of the
proposed project on listed species under your purview in the action area. In addition to
ou r request for formal consultation for sea turtles, we also request written concurrence
with our may effect, not likely to adversely affect determinations for whales, fish, and
corals.

     Pursuant to the Endangered Species Act, as amended , please indicate within 30
days of the date of this letter your determination of completeness of the biological
assessment. In addition , the Corps requests a copy of the draft biological opinion for
review as allowed under 50 CFR 402.14(g)(5) within 90 days of determination of
completeness and delivery of the final biological opinion 45 days later.




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                            Figure 1 - Existing Project Components

Transportation inefficiencies occur when existing channels and maneuvering areas
cannot efficiently accommodate the existing vessels using the harbor. The existing fleet
is constrained by channel depths, under-sized turning areas and strong wind and wave
conditions at the harbor entrance. This requires many of the ships to light load,
preventing them from using the full capacity of the vessel and thus increasing the
number of vessel calls into the harbor. Navigation concerns include three main types of
problems: difficult wind and wave conditions, limited channel and turning basin widths,
and insufficient Federal channel depths.

SJH is known to have many groundings, allisions and collisions. Some of these
groundings have occurred at the mouth of the entrance channel where there is the
potential for hardbottom resources to be present (Figure 2 and Figure 3). The entrance
channel also presents significant navigational challenges including bar channel winds
and waves causing ships to roll and heel and winds, waves and currents in the entrance
channel cause ships to alter their speed resulting in squat and sinkage. Changes in the
entrance channel proposed by this project will help to improve these conditions for
vessels transiting the entrance channel.


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NMFS has previously consulted on this action, making a determination that the
restoration “may affect, but is not likely to adversely affect” listed species under NMFS
jurisdiction in the project area (NMFS 2014c). The Corps incorporates this determination
into this consultation and no additional analysis regarding this aspect of the project will be
included with this Biological Assessment.

Transportation Methodology – Hopper Dredges, Tugs/Scows, and Barges
Depending on the dredging and disposal site conditions, as a component of hydraulic and
mechanical dredging operations, accompanying equipment such as tugs and barges
(hopper, scow, spider barge, etc.) may be used in association with dredging activity in
order to transport the dredged material to the pre-determined disposal sites. Methods of
transporting dredged material to disposal sites include self-propelled transport via hopper
dredges or towing/pushing of loaded barges to disposal sites via tugboats. Tugboats are a
component of all dredging operations and may be used to move immobile equipment into
place as well as towing loaded barges to the disposal sites. Hopper dredges or bucket and
barge operations are often used when disposal areas are beyond the pumping distance of
pipeline dredges considering that hopper dredges and barges can transport material over
long distances to the placement/disposal sites. Depending on a myriad of factors such as
the type of dredged material, cubic yardage to be dredged, barge capacity, overflow
capability, distance of the placement/disposal site, weather, etc., there may be types of
dredges that consistently rotate from the dredge site to the placement/disposal site to
achieve maximum efficiency and productivity. The number of hopper loads or barges
towed, the transport interval, and the speed to the placement/disposal site will vary
depending on these factors.

Hopper/scow locations are monitored at all times via the Dredging Quality Management
(DQM) system and the contractor can be penalized for violating the specifications. The
ullage (loaded draft) of each scow is recorded approximately every 30-seconds to
determine if there is any loss of material from the scow during transit. This data is
reviewed after each load by the contractor and the Corps/EPA and if a barge has a net
loss of more than one foot in draft between the dredge site and disposal site(s)
(averaged between the bow and stern monitoring locations), this serves as a “red flag”
to conduct an investigation as to why the draft loss occurred. If the draft loss can be
determined due to high seas and sloshing of material, no other action is required.
However, if the loss is not as a result of high seas and sloshing, the barge is temporarily
removed from the rotation and has the seals tested and repaired (if necessary). If a
particular barge demonstrates a trend of material loss that does not resolve itself after
seal testing and repair, the barge is removed from the dredging operation. One-foot of
loss has been determined by Corps and EPA to be a good threshold for notification,
because all barges have some amount of draft loss through leakage or water sloshing
out of the barge due to sea conditions and weather, although the amount is typically
minimal.
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Hopper dredge and scows will be loaded with dredged material and taken to the
ODMDS or approved Condado Lagoon beneficial use of dredged material/seagrass
restoration site at the end of the San Antonio Channel and then pumped into the Lagoon
via pipeline. As part of the Corps’ standard environmental protection specifications
(cited below), the vessels are required to remain in the marked channel until passing the
outer buoy to prevent any accidental release of material from the scow/hopper that
might settle on adjacent reef habitats.

    “Due to the presence of hardbottom reefs adjacent to the channel, the Contractor
    shall stay within the marked entrance channel while in transit from the dredging area
    to the ODMDS, and on the return trip, until past the last channel marker.”

Hopper dredge and disposal tug/scow transit tracks will be recorded by the Contractor
and reviewed within 24-hours of the transit to the disposal site to ensure the vessel
remained in the marked channel or approved corridor to the Condado Lagoon beneficial
use of dredged material/seagrass restoration site. If the dredge/tug and scow leaves the
channel or approved corridor, the location will be marked and recorded in a Geographic
Information System database, water depths of the location will be determined by
reviewing existing surveys and, draft of the vessel will be determined by the DQM
system. If it is determined that the potential exists for an effect to have occurred as a
result of the vessel leaving the channel or approved corridor, a survey team will be
deployed to assess any effect that may have occurred and conduct immediate
remediation. Remediation work will be conducted immediately after the survey by the
survey crew. Remediation activities may follow the guidelines developed by the state of
Florida "Rapid Response and Restoration for Coral Reef Injuries in Southeast Florida,
Guidelines and Recommendations" dated June 2007, if applicable.

Split Hull Barge
A split hull barge (Figure 11) has two hulls connected with hinges at the front and back.
The two-door hinged configuration, allows the hulls to swing apart, opening at the
bottom to allow dredged material to fall from the barge. This provides a rapid disposal
of dredged material, which, as a result, is placed within a small area. The rapid descent
of material through the water column reduces the potential for resuspension of
sediments into the water column during disposal. Such a barge may be used for ODMDS
disposal. A rubber seal (similar to a gasket or weather-stripping on a door), is pinched
between the two doors, limiting the leakage from the barge of water and dredged
material. This seal does not prevent 100% of water and dredged material from leaking;
however it minimizes it to the maximum extent practicable.




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     DRAFT FISH AND WILDLIFE
    COORDINATION ACT REPORT
                              For
 San Juan Harbor Improvement Study
        San Juan, Puerto Rico




            U.S. Fish and Wildlife Service
       Caribbean Ecological Services Field Office



                                                          USACE_003566
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Draft Fish and Wildlife Coordination Act Report, San Juan Harbor Navigation Project


Manatee Conservation Measures
Both the Service and the Corps have developed manatee conservation measures to avoid and
minimize potential in-water project effects on the manatee. In-water project effects may include,
but not limited to: vessel and construction equipment strikes with manatees; manatee harassment
by construction activities; seagrass habitat impacts; possibility of a spill; post-construction
increase in commercial boat traffic; blasting impacts and noise. These technical assistance
measures can be used for the proposed project as appropriate. Some example measures include:
minimize vessel speeds, minimize work in shallow areas close to the shore, manatee observers
before and during construction, manatee awareness, appropriate signage, blasting exclusion
zones, bubble curtains, among others. However, in the specific case of the SJB, water turbidity
minimizes an observer’s detection of a manatee. It is critical that the conservation measures
account for this limitation. For example, conservation measures can be adjusted to increase the
amount of observers, provide high observation points, and potentially use innovative measures
such as drones. Please see Appendix A and Appendix B for manatee standard conditions.

In addition there exist opportunities under Section 7(a)(1) of the Endangered Species Act for the
Corps to help further the conservation of the manatee. These measures can be offsite or even out
of the project area as long as these measures increase or protect the population or threatened
habitat.

•      Develop and implement navigational aids (manatee speed buoys) for SJB focused on
       avoiding and minimizing watercraft threats to the manatees.

•      Support ongoing efforts to study manatee use within the SJB. The Service has a project
       with the PR Manatee Conservation Center and the DNER to assess the health of manatees
       within the SJB and track manatees to study movement patterns and habitat use within the
       SJB.

•      Develop a manatee specific education campaign using existing and new alternatives and
       media sources.

Once a Tentatively Selected Plan is chosen by the Corps the consultation process under Section7
of the Endangered Species Act can commence. Recommendations made in this DCAR can be
considered technical assistance under the ESA to help the Corps in making their plan selection.
In order to facilitate the consultation process, we recommend that species conservation measures
be included in the documentation for the Tentatively Selected Plan.

5.1    Mitigation for Environmental Effects
The various mitigation measures using dredge spoil were discussed above. The Corps has not
yet developed a comprehensive mitigation plan, for all aspects of this project. Additional
mitigation in the form of transplanting impacted SAV in the expansion of Anchorage F should
also be considered. A transplant technique for Halophila has been developed in the U.S. Virgin

May 2017                                                                                        25
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       APPENDIX J - SECTION 404(b) (1) EVALUATION




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7.1.3 Effects on Aquatic Food Web

Aside from temporary and localized effects of turbidity, no appreciable effects on the aquatic
food web are anticipated. As stated previously, coordination with other agencies will identify
means to minimize impacts to aquatic resources by standard actions such as devoted observers
for listed species, turbidity monitoring, and boat operation restrictions.

7.1.4 Effects on Special Aquatic Sites

The Isla Verde Marine Protected Area (MPA) is located approximately 4.5 miles east of the
entrance to Condado lagoon. In-water disposal of dredged sediments at identified alternative
locations are far removed from this MPA.

7.1.5 Sanctuaries and Refuges

The dredging project area (including dredging template, potential disposal areas, and potential
effects area) does not include any Sanctuaries or Refuges.

7.1.6 Submerged Aquatic Vegetation and Wetlands

Identified sediment disposal locations (ODMDS, Condado lagoon) generally do not include
submerged aquatic vegetation (SAV) (sites are too deep) or wetlands. However, SAV and
mangrove wetlands do occur within SJH but distant enough from the action area that no direct or
indirect impacts to these resources are anticipated.

7.1.7 Threatened and Endangered Species

A number of listed species may be found in the affected area. In or near the affected area are
critical habitat Acroporid corals, Antillean Manatee habitat, nesting and foraging habitat for sea
turtles. A Biological Assessment (BA) has been prepared for the deepening and widening of
portions of San Juan Harbor and continued operation and maintenance of the San Juan Harbor
Navigation Project. The BA concluded that the proposed project may affect swimming green,
hawksbill, and loggerhead sea turtles. The BA also stated that the proposed action may affect but
is not likely to adversely affect the Antillean manatee, whales, and stony corals. Finally, the BA
concluded that the proposed project would have no effect on the giant manta ray, scalloped
hammerhead shark, and Nassau grouper.

7.1.8 Other Wildlife

The USACE will as appropriate and necessary propose and coordinate to develop specific plans
for protection of SAV, wetlands, benthic macroinvertebrates, and fisheries associated with the
proposed deepening.

7.2 Actions to Minimize Impacts




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                                DEPARTMENT OF THE ARMY
                           JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                    701 San Marco Boulevard
                               JACKSONVILLE, FLORIDA 32207-8175

           REPLY TO
           ATTENTION OF


CESAJ-PD-EC (ER 200-2-2)                                               22 March 2017


MEMORANDUM FOR THE RECORD

SUBJECT: Determination of Appropriate National Environmental Policy Act (NEPA)
documentation for the San Juan Harbor Improvements Feasibility Study, San Juan,
Puerto Rico

Project Location:

The project is located on the north coast of the island of Puerto Rico, about one-third of
the distance west along the coast from the northeast corner. San Juan Harbor provides
the only natural harbor offering all-weather protection to shipping along the entire north
coast.

Project Description:

The study area encompasses the Federal channels within the harbor, bar channel, as
well as any shorelines and extensions of the water bodies that are potentially impacted
by channel enlargement alternatives as well as an ocean dredged material disposal site.
The study also defines the routes and locations of waterborne traffic affected by study
alternatives but only to the extent needed to develop transportation costs based on
distribution portioned distances.

Project Need and Purpose:

The purpose of the feasibility study involves recommending a comprehensive group of
navigation modifications to reasonably maximize, consistent with protecting the
environment, San Juan Harbor’s contribution to National Economic Development (NED)
benefits (transportation cost savings), which address existing physical constraints and
inefficiencies. The need for the modifications to the Federal system of channels results
from difficult winds, waves, and currents, limited turning basin widths, and insufficient
channel depths which limit the system’s ability to safely and efficiently serve the existing
shipping fleet and future cargo volumes.

The feasibility study forecasts waterborne cargo volumes, traffic patterns and vessel
fleets, and evaluates the need for navigation system improvements over a 50-year
period of analysis. It considers a wide range of structural and some non-structural
measures within and near the harbor that could address inefficiencies within the system.




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SUBJECT: Determination of Appropriate National Environmental Policy Act (NEPA)
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Puerto Rico


However, it concentrates on potential changes to water-based transportation system
components that are within the scope of the study authority described above.
Throughout this study, the main factors influencing the total cargo throughput of San
Juan Harbor revolve around land-based factors such as population growth, industrial
and manufacturing changes, and regional maritime shipping trends limited by the
capacity of the land-based infrastructure to process it.

Authority:

House Report 109-738, 109th Congress (2005-2006) December 29, 2006, as reported
by the Transportation and Infrastructure Committee contains the study authority for the
San Juan Harbor Improvements study
(https://www.congress.gov/109/crpt/hrpt738/CRPT-109hrpt738.pdf). On page 210 of
the pdf (or page 156 of the report), it states:

WATER RESOURCES SURVEY RESOLUTIONS APPROVED BY THE

COMMITTEE ON TRANSPORTATION AND INFRASTRUCTURE

Specifically, on page 172/210 of the pdf (or page 158 of the report), the report has a line
item for San Juan Harbor that states:

Mr. Fortuno: San Juan Harbor, PR, Docket number: 2764, Date filed: February 23, 2006
(navigation project). September 20, 2006. Resolution adopted by the Committee on
Transportation and Infrastructure.

Previous NEPA Documents: The following is a list of environmental documents
related to the San Juan Harbor Federal Navigation Project:

   x    San Juan Harbor, Puerto Rico Submerged Aquatic Vegetation Mitigation
        Environmental Assessment (USACE 2015).

   x    San Juan Harbor Federal Navigation Project Limited Reevaluation Report and
        Environmental Assessment (USACE 2002).

   x    San Juan Harbor Navigation Improvement General Reevaluation Report and
        Environmental Assessment (USACE 1994).


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   x    Phase 1 General Design Memorandum and Supplement to Final Environmental
        Impact Statement, San Juan Harbor, Puerto Rico. Survey Review Report –
        Navigation (USACE 1982).

   x    Final Environmental Impact Statement, San Juan Harbor, Puerto Rico. Survey
        Review Report – Navigation (USACE 1975).

Analysis Pursuant to NEPA:

NEPA requires an analysis of impacts using a Categorical Exclusion, an EA when the
project would not “significantly” affect the quality of the human environment, or an
Environmental Impact Statement (EIS) when the project would “significantly” affect the
quality of the human environment. Development of an EIS must result in analytical,
rather than encyclopedic, documents that emphasize real issues, while deemphasizing
insignificant ones. Both an EIS and an EA evaluate a range of alternatives, determine
the least environmentally damaging practicable alternative for the project purpose, and
allow for public input.

In determining whether an EA or EIS is appropriate to supplement a prior NEPA
document, agencies should consider substantial changes to the proposed action
relevant to the human environment or significant new circumstances or information
relevant to environmental concerns and bearing on the proposed action or its impacts
(40 CFR 1502.9). In addition, “proposed changes in projects which increase size
substantially or add additional purposes” normally require preparation of an EIS (ER
200-2-2). The paragraphs that follow summarize the NEPA analysis of significance to
determine the need for an EA or EIS for review of the San Juan Harbor Improvements
Feasibility Study.

Review of Impacts on the Human Environment (40 CFR 1508.27):

An EIS is appropriate to evaluate the impacts of a project if the action would have a
“significant” impact on the quality of the human environment. “Significantly,” as used in
NEPA, requires consideration of context, as well as an evaluation of the intensity; the
degree of severity, controversy, or uncertainty, of the potential impacts on ten factors.
Context means that the significance of the action must be analyzed in several contexts,
such as on society as a whole (human, national), the affected region, the affected
interests, and the locality.

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Puerto Rico


Significance varies with the setting of the proposed action. For instance, in the case of
a site-specific action, significance would usually depend upon the local effects rather
than on the world as a whole. Both short- and long-term effects are relevant.

Impact Intensity: For this analysis, the intensity or severity of the impact is defined as
follows:

   x    Low-Degree: The impact is localized, temporary, able to be mitigated, or is not
        significant.

   x    Moderate-Degree: The impact is clearly detectable and could have appreciable
        effect, or the impact is perceptible and measurable throughout the project area or
        immediate region.

   x    High-Degree: The impact would have a substantial, highly noticeable influence;
        the impact is of great magnitude, duration, geographic extent, and/or frequency.

The following ten factors were considered in evaluating the significance of potential
impacts on the human environment of the proposed study:

   1. Impacts that may be both beneficial and adverse. A significant effect may exist
      even if the Federal agency believes that on balance the effect will be beneficial
      (High-Degree/Moderate-Degree/Low-Degree):
      Moderate-Degree. As mentioned above, the project objective is to develop a
      comprehensive group of navigation modifications (management measures) to
      reasonably maximize San Juan Harbor’s contribution to National Economic
      Development (NED) benefits (transportation cost savings), which address
      existing physical constraints and inefficiencies. Harbor expansion dredging may
      cause impacts to sparse (25% cover) patchy [<0.4 ha(<1 ac)/bed] Halophila
      decipiens and macroalge habitat located in one of the proposed management
      measures (Anchorage F expansion); however, the project proposes to mitigate
      habitat functions lost by filling artificial depressions (dredged holes) in Condado
      lagoon. Restoration of sea grass beds in Condado Lagoon would support a goal
      of the San Juan Bay Estuary Program’s Comprehensive Conservation and
      Management Plan.



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Puerto Rico


      Approximately 4 acres of the 32 acre depressions are already approved to
      receive 46,000cy of dredged material as yet to be constructed mitigation for
      impacts to approximately 1.2 acres of sparse patchy H. decipiens and
      macroalgae from widening the Puerto Nuevo Channel in San Juan Harbor in
      2001. Therefore, approximately 28 acres remains available to receive an
      additional 184,000cy of dredged material for any additional compensatory
      mitigation/beneficial use of dredged material from the proposed harbor
      improvements. Beneficial effects would include transportation cost savings.

   2. The degree to which the proposed action affects public health or safety. (High-
      Degree/Moderate-Degree/Low-Degree):

      Moderate-Degree. A moderate beneficial effect to public health and safety is
      anticipated. The construction of the project would improve navigational safety in
      San Juan Harbor for commercial vessels. The project may have a temporary
      impact to recreational boating and other waterborne recreational activities during
      the period of construction. The proposed Condado lagoon mitigation would
      increase seagrass habitat and improve water quality in the high-recreational use
      area.

   3. Unique characteristics of the geographic area, such as proximity to historical or
      cultural resources, park lands, prime farmlands, wetlands, wild and scenic rivers,
      or ecologically critical areas (High-Degree/Moderate-Degree/Low-Degree):

      Low-Degree. The greater San Juan Bay estuary contains habitat for corals,
      other hard grounds, sea grass and other submerged aquatic vegetation (SAV)
      and mangroves which support (or potentially could support) associated
      sport/commercial fish, spiny lobster, fighting conch, and aquarium trade species;
      however, in the project footprint, only the proposed Anchorage F expansion area
      contains quality habitat. Extensive dredge and fill in Condado lagoon has left
      deep depressions or dredge holes which impair the lagoon's water quality and
      living resources. The District is currently conducting a Cultural Resources survey
      to identify any potential affect (see 8 below).




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   4. The degree to which the effects on the quality of the human environment are
      likely to be highly controversial (High-Degree/Moderate-Degree/Low-Degree):

      Low-Degree. During project scoping and subsequent meetings, there has not
      been significant public or agency comment opposing the approval of the project.
      Federal and state agencies with jurisdiction over, and expertise concerning,
      resources in the project area have reviewed proposed management measures
      and the benthic survey results, and they have not expressed significant concerns
      about the project.

   5. The degree to which the possible effects on the human environment are highly
      uncertain or involve unique or unknown risks (High-Degree/Moderate-
      Degree/Low-Degree):

      Low-Degree. Preliminary benthic surveys used to determine the presence or
      absence of significant aquatic resources have indicated that only the proposed
      anchorage F expansion measure contains SAV requiring compensatory
      mitigation. Since there is always some level of uncertainty with using side-scan
      sonar and towed video, prior to initial construction in-water diver based surveys
      may be required of specific areas of interest identified in the preliminary surveys.
      In addition, although no scleractinian corals have been identified in the expansion
      footprint, there is potential for temporary effects to listed corals adjacent to the
      entrance channel from turbidity and sedimentation during dredging and transport
      of dredged material to the ODMDS. However, significant additional aquatic
      resources within the project footprint are not anticipated.

   6. The degree to which the action may establish a precedent for future actions with
      significant effects or the degree to which it represents a decision in principle
      about a future consideration (High-Degree/Moderate-Degree/Low-Degree):

      Low-Degree. Navigational improvements to San Juan Bay have been ongoing
      since 1917. Dredged material disposal has evolved from side-casting (la
      Esperanza) to Ocean Dredged Material Disposal. USACE is currently promoting
      the use of navigation channels as sand sources through a process called
      Regional Sediment Management (RSM). Using RSM principles reduces costs
      associated with dredging, allows navigation channels to remain open, and
      manages adjacent erosional hot spots and areas susceptible to sea level rise.
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      In addition, all navigation projects are evaluated under NEPA and appropriate
      documentation is developed depending on the unique circumstances of each
      project. In fact the 1994 GRR and 2002 LRR for previous San Juan Harbor
      improvements were both evaluated under NEPA using an EA. Therefore, an EA
      for this feasibility study will not set a precedent for other navigation projects.

   7. Whether the action is related to other actions with individually insignificant, but
      cumulatively significant impacts. Significance exists if it is reasonable to
      anticipate a cumulatively significant impact on the environment. Significance
      cannot be avoided by terming an action temporary or by breaking it down into
      small component parts (High-Degree/Moderate-Degree/Low-Degree):

      Low-Degree. The integrated feasibility study and NEPA document will evaluate
      secondary and cumulative impacts resulting from larger ships calling on the port
      (emissions/boat wake erosion/ship strikes) and from infrastructure changes
      needed to accommodate new and/or additional port throughput. In addition,
      there is a possibility the San Antonio channel could be extended by the Cruise
      Ship industry after the Federal channel expansion is complete. However,
      although significant seagrass habitat does occur at the eastern end of the San
      Antonio channel, no significant resources were found within the Cruise Ship
      channel extension. Therefore, at this time no significant cumulative impacts are
      anticipated.

   8. The degree to which the action may adversely affect districts, sites, highways,
      structures, or objects listed or eligible for listing in the National Register of
      Historic Places (NRHP), or may cause loss or destruction of significant scientific,
      cultural, or historic resources (High-Degree/Moderate-Degree/Low-Degree):

      Moderate-Degree. Significant cultural resources, including both underwater and
      terrestrial resources, are present in the vicinity of the project. Preliminary
      scoping and coordination has occurred with the National Park Service and the
      Puerto Rico State Historic Preservation Officer. The USACE preliminary
      determination is that the channel widening is not likely to adversely affect
      significant resources located within San Juan Harbor. However, past San Juan


                                             7




                                                                            USACE_003842
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CESAJ-PD-EC (ER 200-2-2)
SUBJECT: Determination of Appropriate National Environmental Policy Act (NEPA)
documentation for the San Juan Harbor Improvements Feasibility Study, San Juan,
Puerto Rico

      Harbor channel widening projects required the recovery of one historic shipwreck
      and the recordation of a second historic vessel within the Channel. Therefore, a
      submerged cultural resource survey of the proposed management measures is
      currently in process. At this time no rock pre-treatment (confined blasting) is
      anticipated.

   9. The degree to which the action may adversely affect an endangered or
      threatened species, or its habitat, which has been determined to be critical under
      the Endangered Species Act of 1973 (High-Degree/Moderate-Degree/Low-
      Degree):

      Low-Degree. The project is being coordinated with the resource agencies with
      jurisdiction over species in the project area. The project will adhere to, or obtain,
      applicable biological opinions. Conditions are implemented to avoid and
      minimize impacts to species during construction. Biological opinions have been
      issued for past San Juan Harbor expansion projects which included rock pre-
      treatment through blasting. However, at this time no rock pre-treatment
      (confined blasting) is anticipated. The project mitigation would have a beneficial
      effect on overall sea turtle and manatee habitat in Condado lagoon through
      restoration of seagrass beds.

   10. Whether the action threatens a violation of Federal, state, or local law, or
       requirements imposed for the protection of the environment (High-
       Degree/Moderate-Degree/Low-Degree):
       Low-Degree. The project must comply with all applicable laws and regulations
       that may legally assert jurisdiction over the Federal government, or more
       specifically, the U.S. Army Corps of Engineers (Corps) Civil Works Water
       Resource projects.

Conclusion and Determination:

Based on the coordination conducted to date, primary public and agency concerns are
related to dredge noise, ship strikes, turbidity and sedimentation impacts to corals
during dredging and disposal, and increased wave action and costal erosion. No other
significant concerns have been raised either by other state and Federal agencies or by
the public at this time.


                                            8




                                                                           USACE_003843
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CESAJ-PD-EC (ER 200-2-2)
SUBJECT: Determination of Appropriate National Environmental Policy Act (NEPA)
documentation for the San Juan Harbor Improvements Feasibility Study, San Juan,
Puerto Rico


Pursuant to ER 200-2-2, District Commanders may consider the use of an EA for these
types of actions if early studies and coo rdination show that a particular action is not
likely to have a significant impact on the quality of the human environment.

As a whole, the proposed project is not expected to have a significant effect on the
quality of the human environment. Previous NEPA analysis addressed the effects of
channel expansion through the use of an EA The Corps' analysis to date and its
administrative record indicate that the harbor improvements would not have a significant
impact on the quality of the human environment; therefore , the project can be evaluated
in an EA. If, upon preparation of an EA, the Corps concludes the project would have a
significant effect on the quality of the human environment, it will proceed to prepare an
EIS.




                                            9




                                                                         USACE_003844
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                               DEPARTMENT OF THE ARMY
                          JACKSONVILLE DISTRICT CORPS OF ENGINEERS
                                    701 San Mart:o Boulevard
                               JACKSONVILL.E, FLORIDA 32207-8175

           REPlYTO
           .~~




Planning and Policy Division
Plan Formulation Branch                                                o7 JUN ZOi6


Mr. Efrain Lopez
U.S. Coast Guard Sector San Juan
Prevention Department
#5 Calle La Puntilla
San Juan, PR 00901-1819

Dear Mr. Lopez ,

     The U.S. Army Corps of Engineers (CORPS), Jacksonville District, requests your
review of the enclosed drawing, which contains proposed widening and deepening
measures for San Juan Harbor, Puerto Rico. Please provide a response by Jun 10,
2016.

     The Corps received the initial recommendation for the attached widening measures
from the Puerto Rico Ports Authority , the San Juan Bay Pilots, and U.S. Coast Guard
representatives at a Planning Charrette on Nov 4, 2015 for San Juan Harbor
Improvements study at the Puerto Rico Convention Center. Subsequent coordination
with terminal operators and the U.S. Coast Guard San Juan Sector resulted in the
enclosed drawing. We plan to use this drawing as the with-project condition for ship
simulation testing pending your comments. Also , please provide any Coast Guard
regulations that apply to Liquefied Natural Gas (LNG) ships transiting the channel and
docking as shown in the drawing . This includes transit speed limitations , closest point
of approach, under keel clearance reqUirements, and other applicable rules.

   We appreciate the assistance provided at the Planning Charrette and the detailed
PowerPoint presentation illustrating casualty incidents and the need for widening
measures.




                                                                         USACE_003907
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From:               Lopez, Efrain CIV
To:                 Powell, Richard B SAJ
Cc:                 Lehmann, Paul D CIV; Randolph, Marc A LCDR; Espino-Young, Janet D CDR; Benson, Kailie J CDR
Subject:            [EXTERNAL] RE: San Juan Harbor - Proposed Widening and Deepening Measures
Date:               Thursday, June 9, 2016 2:29:54 PM
Attachments:        MSIB 32-12 Under Keel Clearance (Final).pdf
Importance:         High




Hello Mr. Powell,

As previously communicated by email, I sent you an email on 02JUN16, but it did not go through for some
unknown reason. Additionally, I'm away from Puerto Rico and won't be returning until next Monday. Please find
my evaluation below:

I do not have any recommendations or changes to the enclosed drawing. I believe all concerns have been addressed.
LNG safety zones are covered by 33 CFR 165, and we utilize 100 yards while the vessel enters and departs the SJ
Harbor (moving safety zone), and 50 yards while the vessel is docked to the terminal or facility (fixed safety zone).
The regulation has other information, but we are in the process of updating the rule to the information mentioned
above. The guidance for under keel clearance for the SJ Harbor is 1 FT for double-hull vessels and 2 FT for single-
hull vessels. We have communicated this via a Marine Safety Information Broadcast (MSIB 32-12) which I have
included in this email. We are also in the process of updating our MSIB's for the Sector San Juan (Puerto Rico and
USVI), the SJ Harbor will not be affected by any of these changes.

Let me know if you have any questions and please accept my apologies for the email mix-up.

Thanks!

Best Regards,

Mr. Efrain Lopez, MNCM
Marine Information Specialist
Waterways Management Division
Prevention Department
USCG Sector San Juan
5 La Puntilla Final
San Juan, PR 00901
  : (787) 289-2097
Fax: (787)729-2377
24 HR: (787)289-2041
e-mail: efrain.lopez1@uscg.mil

"All our dreams can come true, if we have the courage to pursue them."
Walt Disney

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                                                                                                        USACE_003910
SAN JUAN HARBOR, PUERTO RICO
INTEGRATED FEASIBILITY STUDY AND ENVIRONMENTAL ASSESSMENT
TENTATIVELY SELECTED PLAN (TSP) MILESTONE PRESENTATION
Presented by:
                237      217   200           80      252
Tim Murphy 237           217   200           119     174
Deputy District 237
                Engineer217    200           27      .59
Dick Powell
Planning         0
      255 Technical  Lead163   131   239     110     112      62         102   130
      255        0       163   132   65      135     92       102        56    120
U.S. Army
      255 Corps0         163   122   53      120     56       130        48    111
of Engineers
Jacksonville District
June 30, 2017
                                                                                                    Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 274 of 285




                                           NON-FEDERAL
                                              N FEDERAL SPONSOR
                                           Puerto Rico Ports Authority

                                                                                     USACE_004036
               ADDITIONAL FUTURE-WITHOUT PROJECT CONSIDERATIONS
               OTHER HARBOR IMPROVEMENTS
               COAST GUARD
                Facilitate safety/reduce congestion
                Coast Guard funded
                Included in USACE                      1
                 Environmental Assessment (EA)
                No benefits claimed by USACE
                 1) Move Buoys 7 & 9 to the east
                    (non-structural widening measure)
                 2) Move Buoys R2 & G3 in Army
                    Terminal Channel (non-structural            2
                    widening measure)                       3
                 3) Expand & deepen Anchorage
                    Area F to depth of Anegado
                    Channel (USACE-constructed
                    pending Coast Guard rule-making
                    & funding)
                                                                        Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 275 of 285




USACE_004044
                                                                    9
               CHARRETTE &
               SCOPING MEETING
               November 4-5, 2015
               ~63 Charrette participants from
               USACE, port authority, port users,
               & resource agencies (Spanish
               & English)
                                                         Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 276 of 285




USACE_004045
                                                    10
               PLAN FORMULATION: ALTERNATIVES MILESTONE MEETING (AMM)
               1/7/16       6/30/17


                AMM          TSP           ADM    CWRB    STATE/AGENCY   CHIEF’S      ASA/OMB       PED       CONSTRUCT    MAINTENANCE
                             WE                               REVIEW     REPORT        REVIEW
                           ARE HERE

               MEASURES                              AMM RESULTS                                   APPROVED PATH FORWARD
                                                     Initial array of alternatives (Phases 1 – 3   9 Vertical Team approval of
               NON-STRUCTURAL MEASURES               & combinations of measures)                     design vessels
                No-Action
                                                                                                   9 Ship simulation for optimized
                Non-Structural Measures
                                                                                                     Federal channel footprint
                  ¾ Relocation of buoys (#7&9)
                  ¾ Operational measures –                                                         9 Environmental & cultural surveys
                   change traffic patterns                                                         9 Approval of environmental
                  ¾ Use another port                                                                 model for mitigation costs
               STRUCTURAL MEASURES                                                                 9 Real estate administrative costs
                Deepen/widen                                                                        (no lands)
                Expand turning basins                                                             9 Dredging quantities & costs for
                 anchorage areas                                                                     the alternative
                                                                                                     deepening/widening plans
               INITIAL SCREENING CRITERIA:
                Project Objectives                                                                9 Commodity & fleet forecasts
                Project Constraints
                                                    AMM DECISION LOG
                                                                                                   9 HarborSym economic model for
                    ¾   Underkeel clearance          Initial array of alternatives endorsed         deepening/widening benefits
                    ¾   Safety clearances
                    ¾   Environmental resources      Path forward for continued                   9 Net benefits for alternative
                    ¾   Cultural resources               evaluation & comparison endorsed            deepening/widening plans
                    ¾   Landside infrastructure
                                                     Federal interest confirmed                   9 Tentatively Selected Plan (TSP)
                                                                                                                                              Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 277 of 285




USACE_004046
                                                                                                                                         11
                                                                                                 ENGINEERING: SHIP SIMULATION
                                           56’

                                                   800’                                          & POTENTIAL PROJECT FOOTPRINT
                                                          Move Buoys 7&9
                                           53’
                                                          eastward




                             BAR CHANNEL
                                                          (non-structural measure
                                                                                                                                                                                     DESIGN VESSELS
                                                          by Coast Guard)
                                           51’
                                                                                                                                                                                      Large Panamax Container
                                                 48’                                                                                                                                   965’ LOA 106’ Beam
                                                   48’
                   SAN JUAN                              42’                                                                                                                          LR2 Tanker (Future)
                    HARBOR                                                                                                             RORO                                            800’ LOA 138’ Beam
                                                                                                                36’ 35’

                                                                      U.S.
                                                                    COAST
                                                                    COAST                  36’                                                       36’                              LNG (Future)
               Deepen Cruise Ship                                   GUARD                                                                                  30’
                                           40’                                                                                                                                         928’ LOA    146’ Beam
               Terminal - recommended
               to increase maneuverability                                                    30’
                                                                               36’                                                                                                    Cruise (Existing & Future)
               and decrease wait times for                                           35’   36’
                                                                                                                                                                                       1181’ LOA 154’ Beam
               other port users
                                                                                                    ANCHORAGE
                                                                                                      AREA E                                   Widen 50’
                                                                             30’
                                                                                                                  36’
                                                                                                                                               For Large
                                                                                                                                                Panamax                                      BUOYS
                                                                Safety                                                                          Vessels               30’
                                                                                                                                       36’                                                   CONTAINER TERMINALS
                                                                                                                                                                 GRAVING DOCK
                                                                                                                                                                 TURNING BASIN

                                              Bank Suction Effects                                                                                                                          PETROLEUM TERMINALS
                                                                                                                                                                     PUERTO NUEVO
                                              Strong prevailing                                                                                                     TURNING BASIN
                                                                                                    40’                            100’ Wideners                                             LPG
                                               northeasterly winds                                                                                                    39’
                                              Widen 50’ to west & east                                                                 Widen 50’                                            LNG
                                              Needed for LR2 Tankers                                                                                                                 RORO
                                                                                                                                                                       RORO                  RORO
                                               and LNG Vessels
                                                                                SABANA
                                                                               APPROACH                                                                                                      CRUISE
                                                                                CHANNEL
                                                                                        32’                                                    39’
                                                                                                                                                                                             BULK
                                                                                                                                                                                                                         Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 278 of 285




                                                                                                          40’
                                                                                                                                               Widen 50’ + Wideners                          AUTHORIZED DEPTH
                                                                                                 ARMY TERMINAL




USACE_004047
               N                                                                                 TURNING BASIN                                 for Large Panamax                             AUTHORIZED VS.
                                                                                                                                               Vessels                                       CONSTRUCTED DEPTH
                   Not to Scale                                                                                     300’ Safety Zone
                                                                                                                    around LNG                                                                                      12
               ENGINEERING: GEOTECH | DISPOSAL | SEA-LEVEL RISE
                                                 Geotechnical Analysis
                                                  Sand and clay with limited
                       1     Offshore              areas of limestone
                             ODMDS               Disposal Options
                                                 1) Offshore Ocean Dredged
                                                    Material Disposal
                                                    Site (ODMDS) – sufficient
                                                    capacity
                                                 2) Beneficial Use of
                                                    Dredged Material: Living
                                           3        Shoreline if rock available
                                                    from dredging
                                                 3) Beneficial Use of Dredged
                               2                    Material: Condado Lagoon
                                                    seagrass bed restoration
                                                 4) Current O&M ~ every 5 – 7
                                                    years
                                                 Historic Sea-level Rise Rate
                                                  0.0068+/-0.001 feet/year
                                                   (2016 update)
                                                                                       Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 279 of 285




USACE_004048
                                                                                  13
               ECONOMICS: MODELING PHASES BASED ON VESSEL FLEET TRANSITION & CONGESTION
                                                      56’

                                                              800’


                                                      53’




                                        BAR CHANNEL
                                                      51’


                                                            48’
                                                              48’

                                                                    42’
                                                                                                                                        36’       RORO
                                  43’-47’
                                                                                                                             36’ 35’
                                                                                      U.S.                                                                       36’
                                                                                    COAST
                                                                                    COAST
                                                       41’-45’                      GUARD             36’                                                              36’
                                                                                                                                                                 30’
                                                                              40’


                         HARBORSYM PHASES                                                                      30’
                                                                                                                               5
                                                                                              36’                             36’      AIRPORT
                                                                                                    35’     36’
               43’-47’                                                    2
                         DEEPENING
                                                                                                                     ANCHORAGE
                         50’ WIDENING                                                                                  AREA E
                                                                                             30’
                                                                                                                               36’               37’-45’
                      BUOYS

                      CONTAINER TERMINALS                                                                                                                3                    30’             39’-45’
                                                                                                                                                 36’
                                                                                                                                                                       GRAVING DOCK
                                                                                                                                                                       TURNING BASIN
                      PETROLEUM TERMINALS
                      (FUTURE WITH LR2)
                                                                                                                                                                             PUERTO NUEVO
                                                                                                                                                                             TURNING BASIN
                      LPG (FUTURE)                                                                               40’                                                                           40’-45’
                                                                                                                                                                              39’
                                                                                                    1
                      LNG (FUTURE)                                                       41’-45’
                                                                                                                                                                                RORO
               RORO
                      RORO
                                                                                                SABANA
                                                                                               APPROACH                                                                             40’-45’
                      CRUISE                                                                    CHANNEL
                                                                                                               32’                                         39’
                      BULK                                                               34’-45’
                                                                                                                                                                                                                                 Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 280 of 285




                                                                                                                       40’
                      AUTHORIZED DEPTH                                                   41’-45’                                                                 4
                                                                                                                ARMY TERMINAL




USACE_004049
                                                                                                                                                                                                                        N
                      AUTHORIZED VS.                                                                            TURNING BASIN
                                                                                                                            N

                      CONSTRUCTED DEPTH                                                                                                                                                                  Not to Scale
                                                                                                                                                                                                                            14
                       ECONOMIC MODELING APPROACH

               Phase 1: Army Terminal Channel widening
               (50 feet on each side) Æ Transition of fleet to
               LR2 petroleum tankers & LNG design vessels
                        Phase 1 selected plan
                        becomes FWOP for Phase 2

               Phase 2: Deepening in 1-foot increments
                Cut 6 (43-47 feet)
                Anegado Channel (41-45 feet)
                Army Terminal Channel (41-45 feet)
                Army Terminal Turning Basin (41-45 feet)
                                                                      Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 281 of 285




USACE_004050
                                                                 15
                           ECONOMIC MODELING APPROACH
                        Phase 2 selected plan becomes FWOP for Phase 3

               Phase 3: Deepening Graving Dock Turning Basin
               (36-45 feet) & deepening Graving Dock Channel
               (40-45 feet)

                        Phase 3 selected plan becomes FWOP for Phase 4
                        Awaiting LPG terminal operations data

               Phase 4: Deepening Puerto Nuevo Channel (40-45 feet)
               Historical information indicated lack of depth-constrained calls by
               any vessel & very few large Panamax container vessels
                Existing fleet is not width or depth constrained
                Wideners, widening, nor deepening needed

                         Phase 2
                         Phase 4 selected plan becomes FWOP for Phase 5
               Phase 5: Deepening Cruise Ship Turning Basin South of
               San Antonio Channel & San Antonio Channel to 36 feet
                                                                                          Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 282 of 285




USACE_004051
                                                                                     16
                      ECONOMIC MODELING ASSUMPTIONS
                                                       BASE YEAR: 2026


                                                        ONLY AREA FOR VESSEL MEETING: Between Coast Guard station
                                                         & Crowley dock), 2 vessels may meet while transiting the channel
                NO OVERTAKING EVER                      simultaneously (1 inbound & 1 outbound vessel)
                 in any part of the harbor
                 (i.e., no passing in same
                 direction)
                                                                             300-ft security zone around cruise vessels in transit
                                                                             Cruise ships have priority on both arrival & departure



                                           Anchorage F Coast Guard
                                            improvements not included
                                            in modeling




                Puma Caribe, COD East & COD West docks                               PREPA Docks A & B are
                 (petroleum tankers) are combined into a                                aggregated in modeling
                 single dock in modeling
                                                                                                                                            Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 283 of 285




                                                                                      300-ft safety zone
                COD East & West docks will have depth of 40 feet                      around LPG/LNG
                                                                                       tankers in transit




USACE_004052
                 (equal to Army Terminal Channel & Turning Basin depths) by 2026

                                                                                                                                       17
                                       PLAN FORMULATION
                                       INCREMENTAL ANALYSIS
                                       Tentatively Selected Plan (TSP): Widening of Army Terminal Channel by 100 feet + Deepening of
                                       Cut 6 to 46 feet + Anegado through Army Terminal to 44 feet + Deepening of cruise ship Turning
                                       Basin East + San Antonio Approach Channel to 36 feet

                      PRELIMINARY ECONOMIC ANALYSIS SUMMARY –
                                                                                          EXPECTED VALUE BENEFITS, COSTS, & NET BENEFITS
                               TSP FOR SAN JUAN HARBOR
                                                                                                                                     AAEQ NET
                 PHASE            DESCRIPTION               ALTERNATIVE         COSTS          AAEQ BENEFITS       AAEQ COSTS                     BCR
                                                                                                                                      BENEFITS
                           Alt 1:Army Terminal Channel      100-foot Army
                Phase-1    100-foot Widening @ Existing   Terminal Channel     $ 531,460,000       $ 73,364,000      $ 20,168,000    $ 53,196,000 3.6
                                   40-foot Depth*             Widener
                                                               41 feet         $ 10,300,000
                                                                                                   $    247,000      $    391,000    $   (144,000) 0.6

                           Alt 2: Deepen Cut-6 to 2' >         42 feet         $ 13,890,000
                                                                                                   $    633,000      $    527,000    $     106,000 1.2
                             Project Depth, Deepen
                Phase-2                                        43 feet         $ 17,050,000
                            Anegado, Army Terminal                                                 $   1,042,000     $    647,000    $     395,000 1.6
                           Channel and Turning Basin           44 feet         $ 22,270,000
                                                                                                   $   1,270,000     $    845,000    $     425,000 1.5
                                                               45 feet         $ 27,170,000
                                                                                                   $   1,287,000     $   1,031,000   $     256,000 1.2
                            Alt 7: Cruise Ship Basin East &
                Phase-5         San Antonio Channels              36 feet      $ 10,280,000        $   1,464,000     $    390,000    $   1,074,000 3.7
                                      Deepening
                           Cut-6 @ 46 feet; Anegado @ 44 feet; 100-foot Army
                TSP - Full Terminal Channel Widener, 44-foot Army Terminal
                                                                               $ 576,390,000       $ 75,988,000       $ 21,873,000   $ 54,115,000 3.5
                  Plan          Channel Deepening; 36-foot San Antonio
                                    & Cruise Ship Basin East Deepening*
               * Power generation benefits included
                                                                                                                                                              Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 284 of 285




USACE_004053
                                                                                                                                                         18
                                                                                                                                                          TENTATIVELY SELECTED PLAN
                              56’

                                      800’       ODMDS
                                                                                                                                                          WIDENING
                              53’
                                                                                                                                                           Widen Army Terminal Channel from
                                                                                                                                                            350’ to 450’ maximum




               BAR CHANNEL
                              51’
                                                                                                                                                          DEEPENING (counterclockwise)
                                                                                                                                                           Cut 6 to 46’
                                48’                                                                                                                        Anegado Channel to 44’
                                     48’                                                                                                                   Army Terminal Channel to 44’
                                       42’ 46’                                                                                                             Army Terminal Turning Basin to 44’
                                                                                                                    RORO
                             Cut 6                                                                                                                         San Antonio Channel to 36’
                                                                U.S.                                                                                       Cruise Ship Basin East to 36’
                                                              COAST
                                                              COAST                36’
                                                  40’         GUARD                                                                             Condado
                                                        44’                                                                                      Lagoon
                                                                                                                                                          COAST GUARD ANCHORAGE
                                                                                                        AIRPORT
                                                                                                                                                          AREA F EXPANSION
                   SAN JUAN                                                                                                                                A Future Without-Project Condition
                    HARBOR                                                                                                                                  that will be maintained by USACE
                                                                                             ANCHORAGE
                                                                                               AREA E                                                       once constructed
                                                                       30’                        36’
               #               DEEPENING
                                                                                                                                                          CONSTRUCTION
                               50’ WIDENING
                               DEEPENING FOOTPRINT                                                                                      30’
                                                                                                                                                           Mechanical clamshell dredge with
                                                                                                                  36’                                       bottom-dump barge transport to
                                                                                                                                    GRAVING DOCK
                               AUTHORIZED DEPTH                                                                                     TURNING BASIN           offshore Ocean Dredged Material
                               AUTHORIZED VS.                                                                                                               Disposal Site (ODMDS)
                               CONSTRUCTED DEPTH                                                                                      PUERTO NUEVO
                                                                                                                                      TURNING BASIN        ~ 2.1M cubic yards of material
                               BUOYS                                                     40’
                                                                                                                                        39’
                                                                                            44’
                               CONTAINER TERMINALS                                                                                                         TOTAL COST: $ 553,198,000
                                                                                                                                         RORO
                                                                                                                                                           Total Federal Cost: $ 34,000,000
                               PETROLEUM TERMINALS                            SABANA
                                                                             APPROACH                                                                      Total Non-Federal Cost: $ 519,000,000
                                                                              CHANNEL
                                    LPG BY TRUCK                                      32’                                  39’
                                                                                                                                                           AAEQ NET BENEFITS: $ 54,115,000
                               LNG (TRANSITION)
                                                                                                                                                                                                        Case 1:22-cv-02430-CJN Document 30-4 Filed 05/05/23 Page 285 of 285




                                                                                                                                                           AAEQ Benefits: $ 75,988,000
               RORO
                               RORO                                                           ARMY TERMINAL
                                                                                                    TERMINAL                                               AAEQ Costs: $ 21,873,000
                                                                                     40’ 44’’ ARMY
                                                                                                TURNING
                                                                                                 TURNING                                              N




USACE_004054
                                                                                                  BASIN
                                                                                                  BASIN
                               CRUISE                                                                                                                      BCR: 3.5 at 2.875%
                               BULK                                                                                              Not to Scale
                                                                                                                                                                                                   19
